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           EXHIBIT 13
                         [Part 3]
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       o2.. fl1I0I 2Ofl 15717"                                          71j             tF)i        2IL
         j2} ILI                o,- 7o
                 IrJ'-. QOI7OI AHAF                             "7F° m7I
                                                                )I                      I±         SDI/OEC/PH 2
                                                            tF.                                ,                               7
                             ?kq 7I?±      7UF)I
       oCF      CDT GSM AI?j: 2/24 2                     2:00 (2). j±: Áf OEC A[±. MO1IM 3/25
             Ê1 D)UGreen MeetThg)                   )I         2ÏJ1            t2jJ                            (±* t-83.tt)

       <SDI>
           LG: 4        W@!) -* 5 days 17/15"
           ORION: 4 daysftP) -* 7               O.K.
           SIS: 7 days(5)                                                                                      (±k 1I4-27tt)



166                a]   ]9]è                   1]A1                     SDISI 'J.!', 4]AA,               t].®®, a]aA, LGi
      42] ]uu, o]fl, La4Mb, J©©,                                    l21                        Q],            it;
      2]      ¿3i±Jim Smith), z1]1 (Jerry Lin), .]ufl01 ]-?-(Limay Liu),                                               t}E]
            -#fti i, ì-e i+, i-e         -4J   k-7]-    Ù}c o}
                                                           ,                                                        tfl2] '
                          tM SDI o12]                          +11 2]

       © 2000\4 2-            24V 44] 2]


167                       J]AJO]& 14", 15", 17", 19" CDTSI '±-&                                          1]   17I 4p1]
           *7flE5i n }°1                            tfl°1 *z1]ji 92A                                          Î14. n          iï}

      AJjt flfl                                %'        SDI,     2a]-&, LG.J4 - tjf']A}%o] tJ2]7]-z4
      4                 ea              £4               FVU°II CDT                     W--ÇFoll     44 tLi- £B
      #&I 7F24'?Jt]- 2J4                            A}Ö])         rfl          *fl '117]i Af0i                  S14. Ö], üJ-f

      i1I 717H°1 4     ]AJo]o  Afl tfl4 ]2] tF* MVY%                                                                i71Ì )JoflA}
      S]        3 $nJJ7}.oJ w flflS] 2]rfl-'t1fl* V- +                                                                flL F-°fl
                    CDT14 fa] ]42]                                             fl4        V- 12     9j        «t-uk= tJ2]
             411 1iS] CDT                      -J-        ]2]ófl                oÌ]A1          ]j ]2]f
             }c}.                  J-9J-&                -QJ       °1]        200O\     37}74- 15"                   66-6Th1, 1
      7"       89--90E'LTh.                tfV+2+ Ft}01 2000\ 30 15"
                                        ]-7]    tF
      10V, 17"            5t. tF7]. ¶1-IM%4. fl. 1-']']2]* Th& 1 31 25V A1*01]
                    SDI   t* *P-* 7Jt}OI 747]..                                                t}c]-.


                                                               - 84 -
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       l3Hd Ld9                  Vh3 o1vD& *Al2                                iH    tilvIw                  pj i-i     IFOt$- tÛ_w
       uilli tr                       Iolv[                 1Go PJ*1vftï                               F&I            io i3H2
                          IoI                   l3lICftY                                                                 kIIo-i
       Iofl tEtJY t
       io figIp                      43         iB                                                     W4    IaIk       lUid
                                          DD4 tMni to (*IoW/0VL                                                   *?) (*98-Efr
                    &       R±- IOV1SD Ivt                               EI2         lHd Ido r0ix a m a io
                                t IoIvIh
                                                                                                                                       s-
       1131V                                                                   1J
                          iv 5ît                                          "to
                                                                     ., -,W                                   Ñ- kvIIoII E
       tL
          t      I0{3 110In 1oInIoc
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                                                                               IFIFoi%F
                                                                                                       I2
                                                                                                       &Iv                      3]g
                                                                                                                     rk) (98-g[[*
                                                                                                                                              g



          II IY?1 1510P1 iI*q I3 'IIo                                      2    tOEklC IYIvIIo               fir1J          I0. Ic1g
          tiIgJ ,91- 99/L9 $Sfl LL 68/06 $Sfl
        t42° :b 000 2 II 14ç-4
             LI-   '9     91    0L
                                                                               IE4        0            J1!6
                                                                                                                      1) (4c98-Cfr
            Fr            (&)9UE kIW 1c10S s±
       y'4V      :OE:LL-OE:8 I-Mr
       kw 0O:gi. :&Iy jC                   Í3                                                                        -f*)      (*gs-g

891                  [Q     k[        k'[b* [wft'                        -E*ir[ lao        'kIs[ji                     P-4-     Islas
      't YV[k 'VV[o [{4r)q                              [c   '(DD[)A5 [Q '([o)YS ir
      W            '(@®1) -25                                    .
                                                                     'Ç)1ff               '(ïUS                         (AUflhiTfljct

                                Uflz[ '(4w11S La[1                       £uaf)f '(Ufl         4    1ff t:*                       -[
      '-s-                {'* j%                       [o            [flfl ¡F- i*                              è?Y42        '[yrg.4k,
                                                                     M%              'k?W.4' YÑ- [GIGS VV[Q
            $*        * 1* 1
        © Pnooz *W                              n     fr42


691                 p.000g     flV k% '1(15 '{4UI                              '4 'fl&                       ik{         42 [&{Y            LEvW


       LL    kLQ-&& -,,9T LT              iao frt&'Y                      *[fl-tv*                IJ         n k1 'ir*&
      lx [jv         [oW[        &a Ln'Mv                    z           oi4k T'**iL *-kFO                            r*Jò
      [orjv         -[2f LQ      3         M'        4? lUS IM2My                        *Lc                 [Lj&J R-E*          %W           jm

                          6Jkfl *fti                   My% [&                        kofl[Vivl±                R-[
                 Case 4:07-cv-05944-JST Document 2969-6 Filed 11/07/14 Page 4 of 88




                   15" CMT A,t -W-2!] & 4k)- IJ3 2OOO1d 4                                                (X1O)
                   j        CPTX6                  SDflXSj                           LGX4                  ORIOÑX2JS                     ?HILIPSM$
                                ?.q                        1$4             e:
            Sn          CfI.))                 S,swo.s«4              Caatwo,, hM3Í5                 XuanCt
            4/I           «2.                 PIInt«316                                                  ESA
                        CPfl13                 Wsia4G                                                ?.t*2,ü2                      U I ?)
                        cwn
            5w,         CPIT.fl               Suwco*4                      Xu,,íOi                   I(,mi 09                      Cbip3,4.S
            -1/2          à2                  Ptnjr3/6                                                  ESA
                        CPTYM3                                             W,1,4)                    MCCC                          UIi)
                        CPt)4i4
           Mt,,        CnTt2                  Slnvo,#4                CbntnH3-B                                                    Çp-J 43
            -4-S       CPfl73                 Pn,ê3í5                      t)
                       CP11ttS                                                                                                     OIi)
                        cPWwP
            Tin        us4&ìe2
            44         Cfl1ft3
                       CPThIS
       Wd              CPU.))                P,tgn.)3/6
           4J          CPTYk3                                                                                                       (man to
                       CPThfM                                                                               .
        1h,            CPIT8P
           4/5         cprya3                                                                                                      (
           Fit
                       CPfltba
                       CPTrAt)
                                                                                -                                                  _im)
        4f?            CPTTWS                                                               .



                                                                                                                              UI)
        Sn
            4
                       CP1TW2

                       cpm514.
                                             F!I)          PH                                       Xt
                                                                                                     ESA
                                                                                                           Ç9                  Chwpc-3.4,$


       Se              CflTjg2               Sutwatj       P.9         K,,tâsG)aG                   Xu    C9                Chupe3 4S
       4.-e            CPfl3                 P%/6                     anrro.t H3S                                           C2M               UF
                       CPTM«S

       Mon             CPTVkJ                ?IScM/6       PM         CsmiH3Ji5-                                              Ch            3 45
        'tO        CPT)SS                                                  0.54n;




      © 20O0\                     5-    26      t}z}] a]

170                              r]AJo1%a. ofl$ za-o] vìA7]z1oÌ] t]t]] Ja]8}3L                                            -A]           5iYflOflI]] 7}7
      il-fl --MI- Ù}jL, AA                                                      4*4 fl 5']-2J---& 15" + 17" CDT tI
      #114 ]± 6° o]%                                             t-]-7]-        ia]t1-3i fl B 5-W                         3O1-Z1        71P4 1]*s1-71
       .      'I4]QJfl ]a]Q] i]°d*i-- -9N} W- 4P-1-HM 4 A+@ 2-3
                t]-%t]
          %t}7]. t]-31, ]-7] S]- 4P i 6- 20°                  i]                                                                                   t$
      7t}7]. -s-]t}4 ofl=- tFY-1-21 flflA-]'af 1fb] %fl II44 -t
                   R]°Ì] '?1 tfl-g-                              S4

            )F24                     I 0 00 , °e
                         )94 JtF04, A'?F                                              llAF2I )EOfl LFI1                            7F                   2j
      Qfl          fa4Xg rjg                               LjE4.
      +AI: 2000-07-01
      +JFZI 7IJ: 15" MPRII:$67 (!j §-:$66), 17" MPRII:$88 (!*J J: $87)
      19" 7F      OftjS] J9j 7FS W71I 2)F         Ef      0I Ll1BE4.
            g                          ° ll70
                                          "ie l:H)
                                               as 7                  0I2] %jaJ AIf                               -5481]            j-Øfl7fl d)ELOI  I loa
           -JI           &F01,         AI    I2j JF          21 jj2Ofl7fl I1J 0IE4.                                                 (±3t 113-89t*)

                                  MLSS
                                 0J Ia Ew OIA2j HI2± LQI
      - 17"                      15" 44 l± 6 5 30FXi )4      ,                                  X                                    (dSk ;113-891t)

                                                                                - 86 -
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            Mr. XflE           GSM Ii LOI                      9iOfl -I)I HEOU 2g                    Fou7u fl
            9I         ±A        n, jj uF31I          AF X[yJ Jofl                   f%ofEf      .    j4 7j[
            Ag                 Ofl 2       IÓI7cF 4   4jOflA 2-3y4s          oiru       9ItFE-F.
            6     20(F2)               all0lAlOFOlk1 flJ           ?VF      2i?ioI
            g cFgn       CF.

       07:30-12:00      7U    (4 1IAF             74j) 42
       12:00-13:00      (i OF aI±oIlA 7JEPJ ¿AF)
       13:00-14:30 SDI OIiIeJ          n
       14:30-17:30
                   © CDT 'L5j
                                 AF
                       d3 Ji AJg 2
                                    2]
                                         j AF7OI 5]tF CPTM                        tfl
       17:30-18:00 X-]AF (d 0F aiIM ?±Et             1áiAF)
       18:00-21:00  CPI                                                                  (±31- 113-89tt)



                  %,                       ']t        14"CDTh 2, 15"CDTh 31 44 i
                                                                                                          fl
171


      -5J-ii 17" CDT 4u7fz4  87-884. J- fl Ç1--]44. rnvi-, 7f74fl
        f        4c iL7Ö11,fl 541 îifl   flè
            4* tJ.1Ù]%4                          SDP1 °IAASI             41°11
      5J*)Kl )F2i-t                     capacity control next week confirm
      price: +2$ 14" +3$ 15", 17": 88$-87$
      Day off: Philips 7 days, [G 4 days, ORION 7 days, Chunghwa 6 days
                                                                                        (±3]- 14-29t*)


        © 2000d 6-        20°J c}4


17g                    î]-       14", 15", 17", 19"CDTSI 4.À}                    juJ)% 5        -zJ-uJ4        -îJ
      * -- 7F12i' 7F*°-* fl A7Jt31, LG'd4- 2-*'lI 322-11* t1]}Ó1 5
      -W 7FÎ1fl -1t}fl* -Jùfl j2J1,            74'?J-d Hi* .fl°fl1
      flùffl* fljtF4. EJ-, AJ. SDI %Aâj47} 7}-PF I% ffv}- d*
      * 5fcrJ -flóJ t°ffl*                              ]-SJ     %7J-AJ-4 7***         -tfl8f        tf   fl
                 P°] 1fl-7119J ?4J*                                ll13i                ¶            CDT 77
      7f01S#QJ°Ì1 t1t]-o1                8]S, 2000\4 7-W A                           15", 17" CDT1
      -î-   1± 6°       -%}32. -Thè         28t7/}1 7* l*tF7} flSJ'I, }71 vk]
                                                 6

      +? 1.1* ma-               iI 7-W 13° LGJ4  -vj-s. A-]*o] 7]t}7]. tJt}%4.
                tfl-1 'J-32.A1'$ 4J' SDI 0L3ASI                            -í°fl -1B
                                                      - 87 -
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      o LG                      I        2 fl    Ll        Zi)0fl7fl 5                      JF    21J   g7cF.
            PH       JfeFt                       A-ftj                .nzif0fl 0101                                                   t            JI
                      14" 7F21                  IF       LlI              0Fi           B)F       I ?i01r4. 15"0flE 'J                    Lfl   j2
            Dl,,.. 17121                 *ji0I flI                        i0IN ?LF.
      o SDI          XI'd       0fl SECJF                 JF              £i@                [hfl llh                  RtIIM, 6                 E0I
            0fl9fE4 -J'-            QI           flcf. 2fl(?jjAF                   2J'J0fl               t0)g 0101 7F                              LE]

                               su (SD=
                                     LII-1L4 OjOfl [if rift   fnfn E[ IA[9J
                                                               AI-1   L
                                                                             fl2    EaIF4,n
            SFJILE                         jJEltFxI ? 'ft      JA0Eg J'I M.1OI
                                                                         oc-ja 210
                                                                                 _      F                     I                                  cF.
                                                                                                                            (±?J- 13-92tt)
                                           'Xfl AI                                                ti fl2!j2            E,
                                     XE]


                               m, i9i iiFg E4]i}
              14/15" JF JEOlsafel:
                                                           7FI 7F                    3SJ0fl
                                                                                                   tq:                          aE]




             14" MPRII: $54        $53)                                    d       1± $2.0/pcs 2J'J
             15' MPRII $67 (-J: $66)                                               I± $2.0/ijcs 21'I
                   3J: 2000-07-01
             17"          RW                     U )F44                                %!Et]      f9i! 'j5j 7l              1             Ii01 8
             1#E1 AI[4.                                                                                                     (±7- x113-92t)

      o              j1±: 00                Th
           LO, PH, CPT               E       6?±2J 15717                            AHA'
                                                                                      s  'C.L° Q1LF. SDl                        5* XUEEF.
           OEC15" 5, 17"                             fltLF. 2If                              ,   J2 &I2F           LF-F         0I         jjE: -
       1± 6 17"/15" 4Zf -6 28zJFXI 21I] )ii*
      oE9j, 3Ft  J2I(Managing Meeting) 7/13()O]l A-f0flA                                                          ,fl, LGJE utpl,   cE.
                                                                                                                         (&Q 13-92tt)


173                  o]     ]s] %.44                  'jS]A}tJ4 e+uF31 9j-A]fl                                                        314I °--&
           7]W-4'3i t}Âj, 14", 15"CDT7                                                 20001d 7'                  7]-t1]. Z1-Q-tFjL 17"
                 fl             I47i. J]t4 ö]                                          AJ        SDI o]aL2.]

      i               I-îi4.
      o SDI: ûJ keep agreemeht -. delay price increases-' do not trust
      o 1 4 "/15" July and agreed price, 1 7" 1 {.R delay
            Monitoring system: 7/8                                     (±J- A114-30S*)


      © 2000'd 6-              28V cfzf12Ì


174                  ']4I'1W& t1   îi7PI -ii -c1o1fl t E}31 317M1}**
      fl?                 tfcf O1F 4-5J oJ }} *-°Ì 7fl}Z}   AflJ- czU
       -                   7îi4}']----                     îftF                ]      -17P* £t8}31, 3"M°] i"iSF

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       4             7f22        i4]oIfl U :fî.itJÓ4M tJì]9                           to1 S}a12
       !- tf *A]Öfl tA*                                5i 9,1    *}°1Ìi °1M* *t11 9,14*                                     t
       9,14. Ofl.                           'flA1' 11           S1        *îNI4.
       o SD!9] Mr. t       ... L'EF/KFC/ADJ 2 LOS]      1JF)F [4 LFfl    I!!LF. SD!
          Sj 7FOI OFkI j aijg SDISI             ]±FLF.
       o LOS] Mr. g 6 LG2I
          17" - 711k, 19" - 175k)2} LF
                                         iI)F IE     SIOflM
                                                   8FLF. LG SDIJE M7F
                                                                      (15" - 682k,
                                                                           I  ISFj
                                                                                                )! t
          M LG7F     fl ÂA! 6FE-Fn JtF.n Vso1, OI2] )MJItFCF....LG              71)F
           . mrCs mmci
                  .1.. 7 =-i-r
       °             S] PH     ufl    jOfl [j, SDI jg x4t2U1                               L]   .n2!j )F         eJJtFE1
              jOEj            LE       OI.Ni PÁZtEF. Mr. tfOflYØ          Af    tPi   Sj         XFF5I, )F            PPt
              t-itf           2tF[-F.                                                                 (7J        3-93t*)


       © 2000\J 7. 13                      4412I

.175                   ]     11S $-)J51}                   t}        fl        7]-4                 %J4$ rfl-'-3
       4°1I £j 7}Z421                            4fl                       fl 7H4'Ji 7rr                    CO
                                                                                                                 4      %7F

       4%* .sit]4.                                  }flS.I 'U13LA1',            JÀj SDI D.D.(Digital Display)
           fl-°Pd              1Sì 71l14i 4'fl '7               13'   Meeting                       ]a]          l311fl         ]

                       situ    F2J4.
        oOE7j4             JSJS] 4 S1011 FEF PH      Huafei   1E1 JF       $53Otc/cifl2.
                                                            8
                             3j01E4. PHS] Mr. Parkg SEC ã Daewooûll)iI 7UI2 JF Ei'N
                                                                                                             fl21°
                                                                                                                      2'
           2L, OFi             iiS                                                                           o ej o C7-,
           20-25k/mOIDI,             V1I
                                           k7I      JtLFfl fICE....SEC/Daew000ll EI1
                                                 50k/mOlLE. SDI2E OEC   -i 50kw ftjO]'"
                                                                                     l'il oi=i
                                                                                                      a-]
                                                                                                                     'r °,.,.
           LF       f)E                     oIa      'WikCE. PH           i'ue ?$tLfl, YFfl 2i-JAl                t 9fl
                                                                                                      (.3t 13-95t*)

        ® 2000E'd 9             21         4]-.11

176                      J.'& .3JAfl74] A]L3J-Oflh]sl ¶'t CDT(14", 15", 17", 19")1 t
                      4*J$ fddfl I!itHrl **Ù}-. fl- i-Pè eI7F' -
       'Vfl°ll it1]                                &J-, TFT-LCD7f                  CDT £1.lE]* tfli!J-O)] uf z]-,
       AJAa          SDI- AJ1i47} t*t t tH                            7PTh]-* %14°Pfl  tRii,
       TFT-LCD 7]-7.41fl}o)]                }z].                7F t S1 t--. CDT 7}24 -21

                                                           - 89 -
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      t}-7}7]. ¶--]Mfl* V- 4 9.14.


177                 °1 4 }]-                             &k±°fl              i-k              7H44             fl}.-             o].t14    -



      *S-.          -è4 1#]Q. flt}Si                                        flj-       ---t]            --o]]            o-]     -ufl7f4s
                                                     44 V- 4                4.              QJ--& 20001d           10t 15", 17"
      CDTS1        'F#V4 14V                          t±t1-7].                       }711Sth- tJ-- A4ÖA-
                                                                                                                       n]4
                                                                    1-                                                         4-&Ù11 10-W

      23V 14°1] CDT                     L1* 78]-3L 10-W 26V                                                                           7fl1
      tJ-7}         -]tf4.              c.]
                                                      -f] 'flA-' ]14.-QF '' SDI                                         ó]S] '
                        fiJ4
        o (C) 17"      i WSis] fali 7F d TET fl1
              cg         SDISI
              JF01I jtF01 MI1 JWXF0ICF:
                                        sI'0I   15" TFT LCDOU[IItFOI 17" iei 2L1H91
                                                                                           AjI:
                                                                                                                                 cti A7f
                                              15'TFT ELlE]                             17"CDT        E 214Cl

                           B     8I                 $450-480        $300 CDTbIE                         Silo          $90
                           )IEI bI                      SIGO            $90 )IEI WE                      $80          $75
                           FOB71                    $550-580        5390 FOB'1                          $190         $165
                                                    $660--725       $470 £                          $247-260     $214-231
                           (FOB*1.2.1.3)                                     (FOB*1.3_1 .4)
                                                         5799       5499      ' 'I                  $249-279     $216-250

           ±IIIIJF2F utiliw ft $799
           xfl                          $249cF 2P 3.2ufl             aI7F 01 [flj 25 711          : E4
             AFtF.II, 15" TFT £LIE12l 7F0l $4990I              17" CDT      LlEj2.J JF
       $499/2.5=$1990I0-i0    PJEI-. [[4Âj SEC    17"   1 WL         $SOEMEF WOFOE ¶1,               )Fg
       flXJ ?            0J-%E AFI ek        0JEF2 1EFtLF....EEFaFM, SEC-L $35001      L}E1
       Ofi CHUFOth                    I2i aFoIaFi! EfkC4....flaILE TET 7E0j 9jÜE', CDT2]
       JFE 'I1                       -WIF7I qItFOI 2j8Fl010E 1LF.         (±Q A113-96tt)
       o                  ±: Oct (j7I[fl) 2000w
                 2l2±: .15'717'! 4IJaEei 14                     E± (17" 8, 15" 6, 15717": ¿f 7)
       o         2j9j-: C-FM          I9I            )cj0flM JUI                 !OIC.F.
              10    25       PM-                 I21 (AM CPT             2j) 10        26          AM             12i
                                                                                                                    (±1- i3-96S)

       © 20001d 9-W 27V                       441 1

178                 0]     S1°Ì1j               JV--& 2000\4 10t ZJAflY4) *1                                            15", 17" CDT
      A1AJ?FI?1           j7]I4 3f}5i, '}]-& ZJAV 2V.JOM @Bt'flu11 i--iM]--
              t4.       ]]--         10-W 4V 1
                                       W]       2A]-b} tflM tflvj f
                                                                  t]]




      1#1°J A-0]]A1 7i]]t]-7]. t]*cJ-. °]t tflFM --°] ì°] '4'flJ- 'U

                                                                  - 90 -
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           .A1'0]J    Jt)]     -thI4.
       o?4 71LAF7F                          L- C'CF
                                                 L- 2Q'=7AF fbi           !y&0l VEF. 'JAF         Xf 2              JOU, X1J
            t'co0[fltOlI7iI
            "rc  AI-                         E/hNFO1I»i           Itfl0E *j0i I2CF.
       oMr 8F            10                  Si6PI -jtii 2.1- YlIAF2i      -Lfli         !OI EF                is
            - ora I'±!!-CF2 t&FEF. cFg
            -r
                                )F
                                                            12]      AI   10/4(3) PM 2:00, §±: CPI E4-2-
             L..fl)RI-
             01-  00                                                                              (±t A113-98t')


      © 2000d10-                25     4412.1


179                   5tÌAJQJ%. ÓZJ                                  4ÙA1, LGI7}91                        #ii°a -W--°fl
      Aj     tUF 4cfl. z'f4 Ó]Ùt}Z] fl4                                     O]}   fl}J 4f7]-7}                      os
      7ltFfl LGJ4 Mr.                           *Î1     1-J*                      8}-,   .317J1                7f7Qjtf ..
           ofl               1íAJ9j...&          t].cr1 *           **flÙ}jL 7}-1-I      }ifl}t]-7}                 ÇJ]t}
      4. &t},  'PF& tS1S1 *°1* tit}71 qf11 15", 17" CDT          lt&1]                                              .o1]


      4 47f .fltf3i 9J 1L        7}* Qtg-.Q. fl*tHi 3. F°l U13ILtF                                                             ]

      7f7 7fÓÌC}Qj4 ÙRu, 20001d 11 7}] 2±* 4]s] AJAÖ)] zflÙj 4
           z4tF      *t'f            -}4         *4ÛF3L 924 '2J-E}'!1 71-fl                        jt]-7].. t]-c1-.
             F, '}7]                 t$fl W01AIo1-011A1 Th& t 11-W 29°A 1J 94-E'] CDT
      4F11* 71t1-71. t-1}4. °1 t}fl«1 'nA1'$ '114. -fl
       i 4f4ZP1 *i.A1         7JA, }-flA]       -.-Aa SDI                                I'?*,
      O]               SPY-1         71*-114          i4 *011 ¿}t

      ° (A) 7IE i2i 14$
             AF        j: CPTh LG qji°(WaIes) fl2!                     ± SE -&UI [lIP ?tAF £l0E MZt
       CE. CPI           J?*         LGJf      H fbOU              1ftJ SE 0IjtE?I 0S tIAI.
                                                                                         "1    L.. AA

       LGSI Mr. Choit flOI                     AF1 $ 1-J                                                DU -"7 A)-
                                                                  6FOE-.Ffl tF1/d LG      OI       a L-.rc
                                                                                                   C.)-
                                                                                                           mm o
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       W2            eJtO 8OI '11E       f SE JtCF1 t'tFC[.
      0 5)11                 L74S. 0fj7c1O
                     MAFi_ -',-,a  L...      -7EJi ItF01 1tFAI                           tF01 ?22f
                   §A11t00i PCE.                                                            (±xJ- 13-991t)




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     Case 4:07-cv-05944-JST Document 2969-6 Filed 11/07/14 Page 10 of 88




(3) tIC :(OU!I9pIflDHIy
      3 IvIW                          P1to               USI    Ll/
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                                                  4Ç1               LI                   SI                  LI                SI                  LI
                                         I              L9S              CBS                   *95                LBS               P95                 LBS
                                        C               £95              LBS                   P95                PBS               £95                 LBS
                                        L               t9$              P85                   Ç95                cBS      P9'L95                  P8L85
                                        P               £95              Eas                   P9S              £85                 P95                 £85
                                         Ç              z9$           ¡85                      P95              £85                 P9S                 LBS
                                                        £95         P.zss                     Zt'P$           9ESS
                                                                      as r                     P95                LBS               C9S                 Las
                                                        acs           9L5                      095                ras



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llO(Thfb332 'kD9HJ                                                                                            L         IY19        t]?3
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    12h J(                   313t25JOi(                        kJ39L                     '99 JjBLL                             98                       1:higI34               '4
    000         I3Lt                                                Inz]gI3a                                                                              -rÉ) (*13-Zfr

           i3    II        &IY       5t           IIo0I Foi9In 'lo1n tic fr4?ZTB tïth 'I-                                                                             $S1
       1        I[c19k       1ie              1C&    {J1 k112111 SI 1Ll/ 1FH'          f-ß                                                I    ÏJ
     ]Jo0!. .yJ}oL                                      o!o11             1J4
o     13         kIIoV)IdG
                    [SI                                         :ffl 83/It Vd 1d3---00:E0                                                                     I6I   63/IL    V1V
      ±GO---00:60                            I[                                                                                                          tk) (*66-Cfr

(L) fkT0O3                iHcflz

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3     6181003

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                                4[ fr{z ,,P1)R'{2[ojL 'T;LP 't& lUS UT
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P     61'uT003             St    :
                                  '3L9 LT '3WL 61     '(C;ooi
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                                       R-N4 't[-fr                                                                '-{   'TUS    'Ufl                tk fl9X-Cfr t2291
9     1003 '2X9
                                                                                                                                               MLfflEtktkz't1
                                                                          -
            Case 4:07-cv-05944-JST Document 2969-6 Filed 11/07/14 Page 11 of 88




                                                                           (*) ±M439t
      6     2001.7.24. 71*          77H--f 'QL                 tiì               ±J- )13-1(fl'' 1721*
                                                                                 SDI, LPD,
                                                                                             ±i- 14-401t
                                                                                             ¿7J 12-21t      )
                                                                                 SDI, L1D,
      7     2001.8.13.                  1   71-11    i-ìi                                    ±f i3-1* 1731*
      8     2001.10.15.
                              ')*     P-47J-°ÌSfl],            H}I1        fl SDI, LPD,

      9     2001.1023.
                          7]-IP-(10.1: $10, lit $15, 12W: t1-, SDI, LPD ±J A113-ilOSt 1731*
                                                                                             1739, 1741*, 1744*
                          71* 7]-°1&.421 (15": 44, 17": --]-, SDI, LPD,                      t3] 113-111tt 17*
      10    2031.12.17. 58, 17 "Flat: 67, 19": 85, 19" Flat:
                                              100)                                           ±7t 114-421* aJ(O*
      11    20011a28. 71t             U?J7}-, i--A]-              7}J- t SDI, LFD ±j 43-112t*
                                                                                  1768-1'770*




      W 200i\ 2W 23                 4zf]sI

              141J% 15", 17", 19"CDT ]]%s] 'ip] 4A]W *7Y'4* u15iL};
                                                         flo]at]
180


      7f24 7]-°]S49j4       S-t1,   ti] 3-W 12°i AX-4o1 7}*S
       J-2j A]-4JÓ            9fl           AJAj    SDI                     -°B i8B :fIc]-.
      o Price Guide line
                          ORION               SDI         LG         CRI    Philips
          15"             60                  59          57         57     57                59±2
          17"             76                  75          75         74     75                76±2
          Flat            -                   15          10(?)      15     15-13 91±3
          19"Con          -                   *108        (105±5)S/L 108±3
                                                          108        103
       o Capa control
      - Sf: ISdays, LG: l4days, Philips: l4days, ORION: 6-7days, SDI: lüdays
          12 days [flaFOI)                                                                       (±2- Afl4-361t)


      ® 200Pd 3-W 19'               t]-4].

181              5lÀ19j..& 2001'd 2-W                -ufl'Z1} 34                       3iL-t}i. Z] A] AA7
           -7      zij %4.            fS}t] AJ SDI %i4s1 1&ÖflA1 'tF'                            SDIS1-   --j4$
                              ?   S*. 4,           AaI            %Aa     SDP1] CDT                         40%
      W---fl                        CDT f4]]1 Js* yx] fl                                     ÀJ-Aj   SDIij- %Aà4



                                                            - 93 -
               Case 4:07-cv-05944-JST Document 2969-6 Filed 11/07/14 Page 12 of 88




                                  1fl                    i V*°] sxfQ]4. o] ]9]Ó1]A-] '-12J                                                 20001d 4

      -W 14", 15", 17", 19" CDT                                Ì%71r4o]] tfll z]- A}S.]                        ];4* t4J-8]-o1 JS-17]--4
      4- £*t}51, 20O1\ 4-Wt AA-4O1 7}-W-                                                 '+ 14°J. iSIt}4
¡82                          l4]Îi%-& 1-71Ì]* tt t*°1°P1                                             '&          4W 19°A 7fl1t]-7Ì                      t]-

                      4-W 2Oth- *-E°TÎ1 fl                                  ]* 7]t}7] t}4 o]- t}'fli-]
                                   4F4J SD!                        c?j*c?4J 7}4L11*O1} a}
      o             XH SDF         SECOIIJII 60%            dtF2 LUD-, LI]Bk                        AF        20%   F7ItH2 Ltfl, EF
                     AF           OFAIOF EI11V Ag 2U%                            YCFXItF.fl 2E-F.              SDFb TSBJF 15" UILl!J
      (MnineckY               7IJFO1I SECOlI             UUI2M1 LW »001 AF--J 001 ]2CFfl 2itF.LF.
                                                                                  (± i3-103t)
      (B) 42] Afl                    2F24 71-OLEEF2J:
                4     JF             0fl LH1 24           IAF2I            tI]          24    LI]             C1F jEf:
                                              CPT           LG           Orion          PH                SD!          Conclusion
                             14               47±1           --          47*1          47±1               48±1           47±1
                             13"              58±2         57±2          57*2          58±2               58±2           57±1
                             j7"              75±2         75±2          75±2          75±2               75±2           75±2
                             17"RF            89±2         89±2          89±2                             89±2           89±2
                             19" 85khz        101±3        100±3         101±3         103±3             101±3           100±3
                             19' 95khz        106±3        105±3         106*3         108±3             106±3           105±3

      (E) 49i aj SE}
      24       )1IAF         71jI1                         t'-" LJ]tfl
                                                         rrufl                   itc4: CPI - 14,                                               LG- 14
           ,   SDI        12. 4          PJ         9J                            14                     ?!2
                                                                                                                          (±J- iz113-1031t)


      © 2001\ 3-W 28                      4*]S]

¡83                    314Ri--& 14", 15", 17", 19"CDT 11 ij-tifl                                                          A]J-ÖI]A19            JÌ7JjHJ

            'dfl 3ÏL-Ù}4. !.si, ti--2c-1 '?-'1t?i tiz]-, iti47]-                                                                          -&      ajy
      * lAltJ- t t*kì 4-- -7]-z]-%4       SD! %A4 tI---                     1-'                                                  A1-01]         jit]-
      ']71* aa1- ).J--o] cf o]- }j2] '-jj'oflk] fcjp]-
       0SEC7F                                                  17 "         $111OIaF                MJF          AI,       SOI
         17"  $1O8                                lIAI, SEC)F OEM                                        17      F WI cflfl $8o                         iI
                                     g ljaliei }Ft J601 2g
                                              F



         Ai6H   i!F                                                                                              SDI EF0liIOlJF AIJJïJ
               § 2jAII                   *Çf             AF0Ij M.IL8EJI           Ejfafjl                                 (±J- 113-1o4t')


                                                                    - 94 -
                Case 4:07-cv-05944-JST Document 2969-6 Filed 11/07/14 Page 13 of 88




                    2O01    4   19V 441-I

184                        l4Hj& 117fl1J Jufl                             4SJ, ¶             4u1]7}7     .'-N-1 *
      tJ A}AfO]                    fl                 fl Ef4. t},                   c]-%        4'1 2001½4 5-W «
      75jO1]                       t}fl] 5Wt *EHi 4* t-°fl l4V- 'dtf%l-. 15L
        f7}                         fl    22V 9J 9A1-E]
                                          5             E}1#1î}1 tOIlAI 7D1f
      7]. t}-c]- o]                 tll-.& -f- SDI lal  41 7)t-fl*'l- *VF4
      t}SI A-*                           o] ¿fk$ 'ctiErl            flAI'    AJAj     SDI ó]AE
      OIl                  fVI4.
      (B) ?i           2F21 ?]j:
       sg flAF'e'Jl  'FSU_ jAI
                    Aloe          V                                                                     -]I7o 0r1
       tFL1I sg !rf   IoIJI UFaF2 212E4. 5                                   )fLOfl    Lfl     xj.Ag CFJJ4           0J




                                              14"                           47±1
                                              15"                           57±2
                                              17'                           74±2
                                              17"RP                         87±2
                                              19" 85khz                     100±3
                                              19" 95khz                     105±3
                5     EFe.! W
       7flAFg 5l 49j                                  14           tFcF2
                AOB:
       Eg §]2]              EF2.-°E°I CPTOIIAl             tJI       2ItFLF (5/22 9:00AM) CPTJF          I2I         'II
                3OICF.                                                                             (±7t i3-105.*)


      (5) 200Fd 6W 27V                   cf44S

185                     s'½111fl ]si7l]2]j CDT eullnclI tflt}                                  3Lj-tt-. LGi4 %
      7]-4            1I&Oi 4AH1l CDT          * 27cl7F. 7f                        fl oJ EN tj-9}.              AI

            ,        tflJl         1-           +M-E                      Ul-            &--1          fl ftJ]J
      eola. tz1zj #]* 4-t- 31* St]-t-.

186                          514JV%'& 2001½4 7W 14", 15", 17", 19"CDT 4ulJ7f                               7]-O]E2.]-
      O)
      1-        PÇ   AA1-1O]
                     öt_'1 t tfV'?14V)°1l                        -lf%ii, W-111 tF 7JA1-t- -Î1             ifl          6



                                                                 - 95 -
                Case 4:07-cv-05944-JST Document 2969-6 Filed 11/07/14 Page 14 of 88




        -        29°       tfid 4I'       SDIOflAI        11* 71I1tF32                        1-7]                 tflf         LPDIAI   Th&           7

        -        24                           I-1Û}4. 4 M-                            tF-QI          4,               P]* fltFo                L]]v
        L?j      AÀt.W.Z t74 4}                                    9i1                3j fl 4
        %J4. 0]                        AJAj
                                                SDTS1      IAA,                       01aa LPD)S]                          IoU, o]fl, n
       4         1]-&]                          è®® tF-1                                       Z4L        AJ-Z11    ÖJ:                  i-
        01 %.flr4..                 o]               }cjs4    'M.A1', 11A1 uflJ                                             12]4., -F-          SDI
            1
                 O]
                                  '-'i                        ftiI4

        oLQ            Qa(goff.2ff 17"OUM $58E! Xj7f                            OIStN LG 2LIEfEj                               7E        XV?± 'JOU
                [1180 4f 2l                   K*tEt 2algg nEW °'                 L.                     °I2D1, LG7F Lfly±
                                                                                                      rL-                                       OfiMI
                $612         WiJFIIAItFcE          Mi2J J17F 2.1E.F2                                                  .... 2It?] VP Liu
                AIJOI X1EE?J   ° ZUICOIS
                                  L.- FI Tr L.. C ]6fl -, C ;LF5CL-
                                                              TC t..71°
                                                                     C ILEUfl
                                                                        L_                                                JFAII7i ?t204, 0
                             ¶[11t olaF5i flEF....Ralgg LGE1                                                                 )FH                 iR!
                            XFMIH        3           j?I1E.                                                           (±Q i3-l06t)
        ° (D) JF              JFOLEafPJ
            O4EI           U)F 7FL21          iOlI   [IIJ 7fOIEa[2j2/4 J7fl floH )F?)F                                               1IU' ?t00

                                                      14"                         $43
                                                      15'                         $49
                                                      17"                         $65
                                                      17"                         $78
                                                      19" 85KHZ                   $90
                                                      19" 95KHZ                   $95
                 iuI(cjfl n[H                 eig) Ej         E1          !xF
            04?4           ÑII7F Thon 142] 421 SEF            ItFJI    *i2]su1 ... OEJ 7cfiAF                                              7fl2]
                       F21    J     AF   I8H SDI E0UflOjoflÁj 6     29   2L 2A100 J2]                                          )Hli            OtC4.
                 cg i2]             LC1J± EF0IUIIOIOJIkI 2HI     3OICF(7    24, 13:30)
                                                                                                                            (±f .13-lO6t*)


            © 200Pd 7                  24°d    4}1]
187                               5']-JQj%S 2001\ 8                         CDT AJftjJ                                      15ÓJ. M7]. ¶
            18}3i 14", 15", 17",                               19"CDTSI                              «tFj1-.                   1-I                 7J-


                s     5-     21' 14 1--                            4J-i1 SDI                  AfL«tM 7neDF7L. Ltftf. oJ
                       AJ
                                  SDL1 'JAA,              tZZ, 0]EA,LPD34L                                ]UD, o], iL, .2.-&

33) LG4$ dà 21.7.1n 4.1 CRT Af-fl flÙ} W Philips 1JispIay(LPD)Ef Zîifl1I*
                                                     Z1
    flou c]A] 01bfl LGi4$ àM CDT 4flfl î111 LPLTh cil$F
      o)] %4Ùf4

                                                                           96 -
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                               , 7J®®, t}F-1                                     i1?-,          è,    .c
                                                                                                                 ,       A-        ¶°1     Fa1'}
              5L, o1i1S1                    -1t11*0fl t44 rfl                     }0}3]]Ó]J LPD A}-0Ì]A] CDT 44]S]
        7Ù}%4 o                                t}flM --                          °1 4-t% 'T1fl3LA1'31}                            SDI
                                                Jofl
                8         S4             SEE
         OE1 IAFg                               i II*                        L1IAI
                                                                               t- AqA24          oQ4 8
                                                                                          7SMe e T
                                                                                    t- o .-L-                            52]        J.SEE V
        ma lue
         .#
                                    tfYI.
                7F         7]I j: zflAg ie )F                                     LEti} JOI tF)i.            j2ICF.
                                                       14'                                  $42
                                                       15"                                  $4S
                                                       17"                                  $54
                                                                                            $75
                                                       19" 5CHZ                             $ S7
                                                       19" 9SICHZ                           S 92
               A.O.B. 4                   I2i           SDIOIIAI            )I       jLF. (8W21 r.m. 13:00).
                                                                                                                         (::J' 113-108tt)


         © 2001\ 8-                       13      44
                          o]        Qo11A1        }Th& F- SDTOH Z17}*        S2S},iL 0101] tÌ]S1]          ti*
       % SDI                        ]   A4        .O1Ù}4 o]2=. t*-1 'jjvd'oM   +iIrL                                 M




                                4         °H0I t01Ehfl WtI.fl SDIOfl7U 7I2F                                 )flAItSM1 AIJ
               MtFXI                    4i 2CF. .flN Pk                             g )dAFg AIf
              q.]tfl §                  UU)E           tu                 oioi oiaj      Mf p-ap
                                                                                                                                        W-71tf21

              SDI              JR- i01I2 W               JF21             AIIAItFI1 ?Z!2U1          fl±/AOCQf 19"
                                                                                                     AF

              7EHtI2 9LEI E[                     a)J2J                g          MI&CEfl         'F1 XFJ      tF2QC4.
        °           JI!                              LpD)g JF                9jtF         afc1I ktAWi -fE2]        3E74?!     E



                    4' flkCF.                                                                                        (±' 1]3-109tt)


         ® 200Pd 10-v 15                          cf z]4]         1




189
                           3I]AJO1                     -j-ufl *4                         7fl 3ÏL*                4 49] JA1]71 A1
       t19] -1-QJ71-- ti7-11("shutdown plan")*                                                 Jù]-iL 14", 15", 17", 19"

34) LGi-49+              Z A}2 CRT 1--%*             f                                   }(?jfl]).
                                                                      4JA LFD 'zofl M LPD(LG
                                                                                                           iflk °1fl°1 LPD-34.-
    Philips Displays Korea Co., Ltd)* 2031. 6. 11.-Fi, 2031. 6. 30. LGj4EI, 2031. 7. 1.
      t] CRT4IW%* 0Ø.Efl4 el Âi                              oJ           Wi1-$            a1 CDT                           tflJ
      l-°1 7f              ]2]ofl       %4f4
                                                                            - 97 -
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       CDTSÌ 7].77fÓ1C4tPjÖfl                   k1S]-4. o]. J-A             SDI Ó19 "-i4'i 11
                jc]
       o shutdown plan
       SDI-2EMI 49i -#1 O.K. UFj-#4 not yet - 3E1711:                        J#5 Ofl
       LFD-3E1911 O.K. -Lebring&Hwafei - 1EFeJEJ
       .ORION: 3Et71I                    AjOj        9
       CPT: followed the SKDL
       o price guideline
       14" 42$ l5" 43-45$ 17" 58$. flat 68$ 19' FST) 85$ (±                                        1]4-41i)


       ® 200Pd 10-W 23° 4411

190                     ]AJÖ1%S CDTS1 I111*Î]. TFT-LCD91 J-i7}-                              îi°1Ì ttf} 7}
       '1 711}iL JV1t}jL CDT 7]-7* Th&                                 10-W, 11-W, 12-W°ÌI 44 10, 15
          5-]4& Çj-)jtf7]. t181-4. Nti-,
            ,                                                            SDT7]             P1--1--1 7I1k] ¶sJ7-
       7o11A1 o]-cì                             t22] A]-44 frflf5i cf# i-7}41 =*
       *                    i11s]   ÓI      17]t]-t+. O]Ó] r}]t J-Aj SDI                    jflz              A]8}

        1       Z17E.         * -M}              *          tr]
191                   fl            t..e.- t                        SHe 7Pt& ¶i-]7]-7Th14 ÓJ*(25....
       4%)         t-& toflÀ1             fl%o]                        947f7$ O.fl}Ó1 lfl}fl -'?
       tL O            t:}flM 'TffflA1'O]1 ¿]ù]                     fîJ4.
            -2i J2]ofl 0I                       10       1Oil $1O      2i-JtFn 11o[ $15g 21-'J-, 12Ofl
                E4AI $5     2jJ1ICUE        0tr4.                                      -       (±2- i3-ll0*)
       oCPT7F 0121 )II7Ii9Ioi_ 00" M'F
                          IUS MAInt                             ?I½i 1-H- »Efl  J2A'1 ÜFJ-MI2J AI*j
            OHM                                     a 2F2
                                         W1t2M4 7"I 2-                    [HY± 7I9l       tFE1
            Ef   3!01cf....SDI XAFJF 7J          Mtf      0J 0J-LJ2j- atlEJ
            Ofi LUtH Alj            -fl 2
                  fl Lfl Y1EUOfl &tO AIJ JFMEE 3%         4°UM iJ I2Q-Ffl 42
                                                                            IIE1
                                         0l AFOlEF.fl ¶PiM 0l JtF71l ±ttF2CF.

            UI, CPT.E   t2iOl 3%EF  4E4.  LGb 4%s     9JtF2UII PH      f9j1%OflA1
            2.5%          t[]1F2LF.                                                           (±J- 113-ll0t)



35) FST          Fifil Square Tube9] Q.}Ö.A1    .#*i }9]            4ff-°1 U(round)°j Ö-' Af4(sqjre)9j 1*4
      flEE
                                                           - 98 -
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192             fl13i -J'â SDI fl Z1--- 17", 19"CDT 7}24 7]4°fl71Ì 'I1
       j.     =-* u]4 7]Z4Ödtf 1*                    }%L, ojofi t11 7f}%
            1* tI                  t* £t}71
                                      t}4. CDT 5i7-ijs -Th@ 3Yd7]F
             -1?1 7P 11-7]-                              --°L    YIZfl7IÌ* *1t}4 7}z47}7f t 'i-î-°IÌ
                                                   Pl1ë-1 ifl ? 91*°1                        '? 1L
       1 'fl'ö]]                        S]     -Qjcf.
      oa 2Ofl7II                                4j&.fl                                             2
            2E-E.   LPD            2I        6F2UI...
      oSDI& Ef                AI,F        3oJaf2         17": $55-57, RE: $66-68, 19":
            $85-88. £Ek, SDI  iLOII 28fl Aj r.fltF71I E]    ifl DI8F)I 1BI] 37F! X1IAE
                       A%!Ofl7fl      Ae1aF.E 44         )E   2itF         IAifEFL1I
                                 -'u[4.                                                             (±J- x113-11O)

       4I7F          EF          AOCg     tFVcF. AOC                  2Y1A1 )E               F7F    IE.F? CPI W
      C-f   ?401         8fl&j    E Zt2LI 3      7V1                tol 7Ft 1E Ajftj oS                       OffAj   P
      uh1k 3OIa2                 tFF. oçj          Ufl   ttg!JoI     IX17F      N] ?fl             -E1 g
      ¶th)F?                      i!    MOI     Oj[L1?J 4fQE       iq ?2E4 tEal        g           jg 7E°II [ERE
                                                                                                    (±t i3-11Ot')


      © 200lJd 12                 17° 4}P1

193                 *Iîi%               LCDO]] S1SB CDT A]-o1                      o]4.- tl]o]]                       CDT
       11'iZi flt%S. 7}7Qjt}4E11                                         t}fl4 '
                                                                               ? 9J-, -tF4i SDI °]
      LSA9j '4j0fl .4 1--                                 15f', 17", 19"CDT 7fZ47fo}flfîjOJ 7J1°1
      9),ii, Lfl--7              7]-Z49JAo1] tflj                            7}it)                  I*]°1 l4. o].
      tfl                  't-flÀI'$ -J' SDI o1]                             .z4j tfl*i S]                 iIc]-.
      CDT2I ;24pjjg LCDOII 2II CDT -Ifl                            JFFtFMI            0IU1]--F7I 01E4   3!01cE
      CPT            AjO1j         tFX1 9-& ARIO!           AELE      &9I         OIE'-- =e X'&F.
                                                                                        ,      I-,    LCD 7F
      01 30         E1     tS6F1 CDT                      'aI2                2tCE2          EF. (±t 13-1111*)




                                                           - 99 -
           Case 4:07-cv-05944-JST Document 2969-6 Filed 11/07/14 Page 18 of 88




       OLPD
           -internal: 60% for Philips, 95% [C monitor 12/27 )F2jj
       ° JF?Jl [H± i@: JFe1Jg                                 a9j UHofl          E19)LF.
       ° )FJFOIEaF2i
                                 Market         New CuideNne
           15"                   41-42                44
           17'                   56-57                58
           17" flat              64-65                67
           19"                   82-84                85
           19" fIat                98                 100
      ® internal )E2i-t                                                                           (±31-    14-42t*)


      © 2001'd 12-i 28° 441s1


194                    °1     soflA]          AJo1-      CDTSJ     I1t?J LCD 7Ri* p1--& 717 O
               t}4e
                  t}o16  -W7Jtf3L, 7}   o1]                      J?P]4°11 t è1tF4.                        tJö]]
      rflçi- 7}fl* t9It}            '?&11 tfltPl.E -}t4. 5'--Q. LFD
         3-O]} 7}Atfl* fl% ** 4 %7}*-°fli fl2S'I, 1 SDI 4
             ]*jA]-O            Rî1-*°fl !ttt1 '+ t-PN? t--f'* il'fl 71Ì*
      !h              5)Z1Ó            iP1 3IJAJÓ]        IIt43          tJ7]-'..4 2.5% t-I]
      J               O]A                        1SF31, 7Ì-'Pè D17t flsfifl O]fl ¿jz 9,11. t}
      7]    -W- ** 71-1}°} t
           #1
                                                                 flgz3òfl                    -s4t4. o]           fl
       F-1 d-- loi f-F Th-.-M'°11                                      -Qj4.
      10         OI         LCD )FOI 3@           £J*J      VEDI, CF         O&        '7F    $10 £JÌ        Of101LF.
      CDT AIE               tiOI Oftii X)Fk -JEFlOfl VE                     9±    )F               V       Jl17F VOI
      01     i        oIr4.     ± O}L4a, Lflf JOJ OJOJ CDT 7                           J-S °1JOJJ [JIPI-    E* ¶Z!
      JI [LOfl, OI!jO]I JF    2i-ttF7l                           CDT XflXJI2I                    LELI]Jfl
           EE Pt       e°u JF LItE dEiOl                          OlLF.                          (±31- )13-112St)




                                                            - loo -
     Case 4:07-cv-05944-JST Document 2969-6 Filed 11/07/14 Page 19 of 88




 o LPD         'F         £i%0I CEOJE
            01IAI 7F0I ej*j 3!2. gM'i:4fl 94
                                            fi!
                                            IAi    LIEQU     ELFaF           ij0IU, LPD      0101 AOC/]
 o SDI         SEC    )IEF           2ij0J ... CDT )F24 £JI @tFE1 6FX1 0F                      MI £J@ ?lIi
     0I0fl       01E10I EEF           ?2 0ttICF !SFE4. ¶71E ±4                                          7F
     £J*JOfl    t9i&!tF, SDI                AJ0U OI9Jt            °I-F......X1I*C 0FEII-1                17F
     ?i             4tJI           I2IiLF
(2) CDT             I)F
                J: 2002,2.1
     CDT EI9F: (EjLIfl0                   jtFI ?               'F)
               CDTS                               Et7F


           15" MPRII ITC                           S44                            S42.9
          17" FSTMPRIIITC                          S57                            S55.6
           17"FIatTCOITC                           S67                            S65.3
          19" PST TCO ITC                          S82                            580.0
          19" Flat TCO ITC'                        598                            S95.çs

                                                                                           (±J' i3-112t)
 oW            W )F          F0I
                                                  Non ITC - ITC MPR t -' TCO
                                    15"                     +1               --
                               17" & 17"                   +1,5              +1
                                      19"                   +2               +2
 o Efl                          OA 45(fl), tt-: L/C EE                            DIA 60
 o LFj                      J2I 124 12:00011 CPTEFQ1E0flA1
                                                                                           (4i 113-112tt)


(8) 2002dE-          77z}4 fl

<a 24>                                 2002\i       CDT           }U 1ì17La
      iflJA]                                                             %A}
                                                                     tf, SDI, LPD, ±t i3-113t       1(/B
 1    20011.11.

                              y-z4 cj'j                              tf, SDT, LPD,         13 114tc 17*
 2    2002.1.18.                                                         11&          -


                                                  U7}Zj              t'}, SDI, LPD,       13 1151* 17*
 3    2002.1.23.          7}4QJ1
 4    2002.1.30.              F'A i--(4'. $3)            1             tF, LPD        ¿St 13-1161* 17*
                                                                                           13-116-11*
 5    2002.2.22.                      -upp oij-                      tF, SDI, LPD,
                                                                                    ¿SJ' 13-1171* 12
 6    2002.3.20.           t jyJtfl fl7}                             t}, SDI, LPD, ¿Si 13-1181* 1*

 7    2002.4.22.              1 i7PA *1                              t*, SDI, LPD, ¿52 14-431* aY1

                                                   - 101 -
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                                              -[ft     --
      8
            831F3003
               63                 *%i-?4 '-?,- [yLo*                            '1& 'ras cidq 4z' &w-*
                                                                                                  j-3[
                                                                                                        twe
                                                                                                       H2

      6       rooz                '-1!EflC LV[L-& k*                                      'ics 'Ucfl


      D     ThZOOE   WI JTT        {[:ç*l:t

561


                              j4-%
                                                     L[oW[

                                                     %jZ4L 44z
                                                               ît          LflVt[z %**W &
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                       'I-
      -1-     sIGS      -&                                                                [Vjs [1c{g -JM*              -[

      jL%                         i                   R2k*tI tto&& vtoTh                       IIQ%IfrL1L 4Ì&W *GdTt                   it
      LV[[c{iL       --*r               ièÏ1 Lo&+í                        [o     6flfl tLQdvflflt, 1
      3]S
      Ht2 tJÌZ
      IGS
      IV
               siylo1O3
               *Fln
                     O  L42'i
                       1C


            1(Odl IloaDi
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                                                                                                tICL- ujvio IQI-O   UOEÍ*ß
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                                                                                                            1JI(IY I-O
                                                                                                               4kz?)        StI-C[l



      © fkgQOZ WI ro&1 42


                           'fl b5tE *T *W
        fl&I -3I-2fl M' *I irj&th                                                              -T   S3        &[Z4L             fl     {a

      fr [L4Sk .ja{g   [-:{*             -[o

      (9) 103                ß-        :Ikí    103 z1(        I[o4-[B     JIfl IhzE                 FBI IIoIIo                   'Ei2e
             TI2C                 vnlo                                                tfl42Iv                                         103
      Z1Y
      IIIL
       i3Iøî     t5
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                        I3Ii I&
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      Ito   Fo]gç-4* kIC f[B                          EH2IOII-]I                      tIO                      .Fk)          (*flhI-C


       ©      FZOO WI E3               [gjc-jca


                     --j'ry                   &-Rz Lt-                           *flW 1% '-i-ft 'L&t
      '&      IG9     4iWWÑ &ThV4 *ÌflW                                          tti [VL[o-Ez% Ld1                                     -i
               Case 4:07-cv-05944-JST Document 2969-6 Filed 11/07/14 Page 21 of 88




               Th             ** 4t}3i 91S-P--. CDT 7}-I                                 fl 4-°I] 3
                                                                                               tu                   9flt]-7]
           .   SF4.                 t}I1 '   $si.k]'ofl 2t
                        Ñfl     2     )F2i'at                  2424 0FdI194        0J         JE4.
       (a) SDI
        1. SEC: SDI                 SECOH N                        2FT        aF          oI*n W2o1, ?flÑfloI
               E     UI AFEFOJI EhU         Eztfl VCF          ?               VL2             CF.   ?J OFLIaI-,     dH2I
               IJFJF        2jJ )F2CF 010F 60%                 cF(JLH 7F            2.5%       tei); )F2i%OL          OF2j
               OTJ
                AI I il flJO
                         wC   j..
                CDT           1II JFeik
                                    3i}F.:Ii 2        tW0lIM 2LIEI            jflIAj ±UIJFOfl E4                        CDT
       JF2iI               iJFAI3I)I 4BM CPTh 40lI 7FS                                  F?1   E4 2Jf- aoIaFa          CF.
                    EF711&   AII2 $3      tFE OE4                                                        (±J- t-115t*)

      © 2002'd 1-               30'      °?411

mg                    0J            'F7}}Th& óJ2j MSÌS ¶S1AÙØJ-* oJfl *
       i       '4. 3            2H? ¶]o rfl -fl                        QJt}4 a]                t*           d--&       °]

               çi 'ffflA1'Ó]]              fl fj4
      LPD            ?ii )F
                      £Ft01I rfli J2j 'jEAI f 30IE4. 93F 7JA-]I                                                0I      FflI
      ELlE-j xflAF0I CDT )F £JÏ J20lI'1I 7F6FE ELlE-j MIAF                                                          flFia
      JEItFC VOlAI J SLE CPJ aJlSI 2 7F           4-Ojj $3l [JAl                                              Wj
       0I £j00         20I I'J ]9i(1 23)0llA1 X1I?SV[.F. LPD                                                7IiS
      sjicjcn          tCF.                                                                              (±t 13-116.tt)

               2002d 2W 22               c]-4]4

199                   o]      ]S]O1]A]    F-      SDW              -144 7IOIÌ r11t] r}.. II]4JQJ$                       S]tj
           ,       17"CDTQI              3Z}        eu117]-24* 2              )Jfl7Sf7]               tffl-o] I-îiIrl-.
                     Th& tu 4-                   CDT A]-O]2i           -u]-              3-E         QjAjt]-7]. J]t].3i
      }']           ]ii4- ]S1OflA1 1t      }7]. S}4. n4a 1-].]I
                                                 ltJJo4JÌ.ofl rl]tfl

        4 3 20°d      jA] 30ofl -* LFD 4-oflÀj 7u7]         tf
      ?L51 Of]$ 4°] CDT t-fl ns-. 4*t]-'] 4t]]   S A)ja}j 7]+tvf
      7I]]CCDT Line Shutdown Plan")°] -1fl 1-]]°1                                                    t    A]7JB}    }4}G1
                                                          A1SJ42J tenI°] }c].] 9J*°] fîiIr.L                                ]



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                                          .&                  1% 't3i-M'}                                         A1      ïifl             -&o)) S



SDI           0I              0fl       17' 2tFtE                                    2-3Kg SECOU                  iitFEF. SDI01L                           XM LF

.fl20l VCF. )fl.AF2I                                        2I          0fl   SDI         !Efl      17"       WW               7FtF $27F g
      1?J               J)f         AF@&F7I
                                                                                                                                                  3-ll6-L)
oCPTh 0I'! $2 7    9j.'J  £LIEI jIAF0l CDT 7E £            i!2L0fl7u WFt
 t V7U 6F     0IVEF     8FEF. OETh 40H CH        j AF0l  7F     $3i eJi
   0ICF.. CPTh 1IAF0I        0tfl2j     UFtHfl, 2011 FE.F    J8F)I    I3RF

 VCF. SD)/LPD 2        -H ?ÀVT'1?i CPTh 24 )                       0I    °t                                                  j04 C
 CEO J2I0UM IS 7fl Lfl       t V7I UFfCF.
      CF               12I          3       20        pm 1:30011 M                   LPDOIIM V                    0ICF.            (±J i3-ll6-l.*)
                                                          CDT Line Shutdown Plan                                                             GSM'Feb.C2


      Makor Total Sftjtdown                           OrigInal Plan                       CisTern siIitlon                           Remar1ç
               Lino
                              L

       SOl     16.5           5         SLM'ontI4, ,5. RusantjG                 $iAvonl4#S, Otaari!tß                  'SiavcnVl(I7F)restarti,, $Z(0170)
                                        Matoysla#4(OE5 lìj-e).SLeacn#1(O.5L)    Malaysla$4(O.SL),Siraon#l(OESL)        'M'ala #4 pIan bsftjtdown
                                        Busen #6                                Busar5                                  Plan b shut down
      t,PO         19         6         GianI (01.32). Dapon ('linos)           Otri 31                                 LPD I lina plan to alijE down
                                                                                Depon 25L15L)
                                        Dapon (I Ifa). Walas#2(0.Sine)          Wales 0.51.

                                                                                Lelair,g 0.5L(IL)                       Labdg(?)
                                        Waios#2 ( 0.Sllre).Lobring 0.SL(IL)     HtrnleI 051.111.1                       Huacal planto sIjl down
      Orion        5          1.5       Meñco I Eno                             MXC IL
                                        KumIBSA                                 KwnIIL
      CPi'         15         5         CPfl#3.#4.                              CPlT#3M4,CPT1/#2                       Cm#aI#4wlllrotbrtinendoloz
                                        OPilil #2(051,1, #1' (0.5L), CPIM#6     Cl'TTvl #2(0.5 L). di' (O.SL)#R<1L)
                                        QPThI #7(0.5 L), CP1Y#1 (0.51.)




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      57AJO. ¶z11 Auj, -nfl-4 Ö]lO1Ì                                                                                  S]J-      79j                          A}4
 jt1-r+. 4J'j SDI tf. %7]4°fl7fl £A1l3}91                                                                              71J
                                                                                                                                   Ufl 30hflt 25Vit11
  .                     4oflz                      5]3i                        fl 7}51 £A1}. 200»d 3*E'Ì 17" CDT
                                                         7!*                          îìfl 7flÓII*                                                o]. tne
7Z44 11, 15" CDT
        '%flAO                                              jt           O.5




 o SDI                       TSB2I                    j°flj0I 300K012 OIS 250Kb SECOlI                                                                  0IaEfl     CF.

           TSB EI 3E1 17" CDT 7F                                                    $1.0, 15" )F24                $0.5 21J1I 30ICF.
                                                                                                                                           (±2- 13-1181t)

                                                                               - 104 -
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LVI                 3i]4Qjfl Afl-                 .4 331fl      Ì    2.0021d 37] 7P.1°I1 t                o]x tJ

       17P14        *i71.- t9IÙ}%4. ni-, E1-1 CRTI t11                          CDT 44191°11 %A*
      *fl ?1-, tE1 31 CDT                         fl- tE Efl CDT 7}1t #ltf                                     P11-
      Jfl           4-     9$ A}              jc1- Ó. AJ              SDI1     i--                             A}t]4

      O]i'CSecret')             it} 4-.°fl               fM'1-.
           30 7FEf
       - J1              dÇOJ[4    41140ES 4ff            24tFXIEk        Jf         §EJ           01E
           e-F. [EFeJM    JF       ItF       Ol   Ui0I      3           2]?j
           A.O.B
       - controlling Thai-CRT: Thai-CRTOII rHHM                X$3JS MTG $JE
       -     L]    CRT 3l                Ll1IFLAT        ttH    Si1I 2J9-  (±J fl4-43t*)


      © 20021d 11-s 28-29V 44]2I

                   o]     9A-] ti-& ti SDI] 2002\                             1'1**°i
      tJMul-       i-tfl. Agj-fl k* ?4*                  LPD9I Mr. &
      *<]         3H"Let's keep the price")* *F} A]--O] siLl-.   LPDS.                              *1]Qjö]]   tE}?}

      tA 3i7iA}fl                 A]n**e 't]-ji v                         ufl LaJ* 7Zfl k
      217f214 O]4fl]-7] fl 7j.q- flz]-$ Vì14- ÏL1]P1 4e 21A}71- *]
                  t 31* 17L *'4M                    '1I*1 1(penajty)4 * ?s*                          8}si4. o]
           % SDI tvv°] 11ifl** 7]Uf                            41                    IsuI

      o CPT: Only Samsung didn't reduce lines. Only Samsung saw an increase in MIS in
            02 against '01.
      o LPD: Mr. Cho, "Let's keep the price"
      o LFD Proposal
       - Ñegotiate on the target M/S and fix it for important customers
       - Review every month or week
       - Penalty(i): If company cheat the price(J9])- *
       OD Person in charge and his/her manager will be dispelled.
       © Other 2 companies will attack trouble maker's maior customers. (CF                           27fl4AlQF
              -ÄllM       27l     jAF2I 42I1           1M7F)         fl 3!)                 (±1-      4-44t)


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                                                             U1)F
    --
    EJ28-1) 'Only Samsung didn't reduce lines'
        0              AUAEEF2J
                       OL-
             0llJlt LFI@°JLIE.F. 0l0M 7li
                                         ttFJl
                                    ± olJ J2ILM o e =AA1RDlo
                                            'not fair to
                                                         o
                                                         CPI'&
                                                               0lVtFii 01c1
                                                               FSDl2i
                                                                           Lll
                                                                         A" oEL_.rf
                                                                               LC
                                                                                    0l
                                                                                       ''°F
                                                                                          U        oig
      It- = 1SI 0lll SFk(CPT) J0UM
    aLOI                                        7tFXl °-'tit-. LII°'LIC.
                                                                  O                         L

    flal2, 'CPI: Each company sets a reduced share target in troubled custorners'
    SFkOl                  CDT             7F2i  UIE-tFOI              [fl[tJ .fl2IAF
    = ntt  L-
       nI'1Ic    i11
                     0I7Ft 3LIEF.
                          -


                              Ufl                                   (±4 12-lit)

    © 20021d 12-w 26                                   29ÖA 44I1

                          it]AJÇjo] 2002\4 512-7/l-ZPl 4 A}                               17", 19" CDT Vifl     fl
        -*t}3. 2003d 4VflÌ4 fl2--.                                                    ,   tfl} e4? '11°Y1 M4
            o]            fl"Need more discussion in Taiwan Working Level MTG")tf 71                      -   f A]--

        1              14.flA1            °JI4

(9) 2003'dE.                             1-4


<           25>                                 2003\         CDT '}a1 .1s.17fl136)
    4
    1        2003.1.2.
                                    71-2421* ;z1-1, 4A1.4 A]3Jj*4
                                     1-(t1-: 25%, LPD: 30%, SDI:                t    SDI, LPD
                                                                                                 ±4 13-119it 1&*
                                           34%), *@7}24 -7]
                                                                                                 ±4 13-1tt 1818*
    2            2003.2.            Alfl*4- fl-2] 5 ö]                          t* SDI, LPD ±4 14-461*           *
                                                                                            ±4 14-47..*         3*
                                                                                tl-, SDI, LPD,
    3        2003.3.21.             Al     *4                                                24 13-1211* 17*
                                                                                             ±4 13-1221* 13*
4            2003À.29.                         4*, JÏL'-U U-4             --1   t}, SDI, LPD
5                2003.5.              %3i7. nil 't 71-2411*41            t}, SDI, LPD ±4 x313-1231* 1871*
6            2003.5.20.             Al3J*4 r--2 ÖÙ71j                    t}, SDI, LPD ±4   7114-481* 316*
                                                                                        ±4 7112-lIt 318*
                                    A]7*4 fl-2]                   o]Ù77,                ±4 7113-12A1t 14*
7            2003.5.30.             Afl4*J -tc43. 4Al3JJQi                      tF, SDI, LPD
                                                                                                 1, 13*
    8            2003.6.            17" CDT                  4 41l 7}24         t}, SDI, LFD ±47113-1251* 1*
    9        2003.6.12.                    32-1] 14]        71.2411* 41         *L SDI, LFD ±4 7114-491*
                                                                                            3014*, 3016
                                     A]4U-* n1*4        tf, SDI, LFD ±47113-1251* 1912*
                                    n-±-n z4 4u]-244 *] (]3flS1) 1915 1919*
10           2003.6.17.                           nfl AJ-



11           2003.7.29.             A]fl** flI                    ÖIs, t}, SDI, LFD ±4 7113-1271* 1937*

                                                                  - 106 -
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                                   ti7t]1-'A- i** n
                                                                                         ±-
                                                                            (z}fl]) ±1- 13-128$*
                                                                                             1R            4fl4-FOS'
                                                                                                 12*
                                                                                             ¿st i3-1S*
       12     2003.8.28. Alfl** .rnsl, A4fJ i11 tn]-, SDI, LFD *}ÏaL-'l 11                                       1974W
                                                                                             ¿SJ 3-130S 1997W
                                                                                             ±7J 13-1311*
       13     2003.9.24. A1]-A}°e           i}o], 17PF 41 t1-, SPI, LPD                      ax36W, ax     1

                                                                                        ¿St 13-1321*
       14      2003.10.                                                     t* SDI, LPD ±t 13-1331*

                                                                   (s)
                                        11-4°       7}]-°]                               A]A1 2J7Ï 33Ì9W
       15 2003.10.28.            A].3J--* tt-tJ           5                 t    SPI, LFD
                                                                                             ±J 12-21* 3W
                                                                                             ¿5J- 14-51--fl*
                                                                                             ±- 13-1341*
       16 2003.11.12.
                                          A}-Qd 1I
                                                               o1,          fl} SPI, LFD ±?J 13-1351* 2103*
             2003.11.26.
                27.                 il.7-11fl   tfl              -i7PA t* SPI, LFD ±- 13-1361*
                                                                                      13-1371* 2133*
       18     2003.12.2.          &111 ì]            i-          **         t}, SPI, LFD ¿St 13-it*
                                                                                         2125W, 2127W 21W


        OE    20031d 1           2°A   r}4]s1

204                   '1t?ì             Z A}] '?1* 'fl                                tJE]          ]]S   7}7jt]- S
                fl2                *tÀ] '?1** 1I3L- ai                           iì   -1t1cL                   2002\
       4 A}9         jufl ;ï6fl 7]at} AILfl*fl n.st1 Ö1o1                                    F} o1]4j 2003
       kJ5i JA1]711 CDTÌJ                 Çzflófl fl2                           1-WH'1 41fl 7dt1-cI-

205             fl431    Ì1%O]           SSL7J11 IflF    77}zÓfl E]t        XJ.-W

            f, 3i      7R4'JF SO1] 41 4                  #11 tJS]7f21*
               %oI     H1I4. o]t tfl-M tDT A];It-w ;1]Ù1--Qi     73!FnA1Ofl II
            HiIc1
                      2LjEj       CRT .ELIE]     k0I oJtI   Í} t2.oI V& §i
oil U(0        0], AOC2] AFJ  424g    2002ofi 2 USD 40M), CDT gig eoil i
    LU VEF. OI      70fl      tfl      ?!OILF.    3)0 XllAFOI 0lc7fl J?J N
                                                                        ,

      0JÁJ 9} )J               Aj7jf.fl PC      E )fl.Af 2LJE1 OEM 74JAf
)F    Ej80fl          EHfl 4' V        217F. Af    --M 424 Lfl 3g eisI §
              0j    30IE4.                                    (±2- .i3-119t)
36) olt}                   v]-         oilh] o] 4J '141 tfl1 11 SPI, LPD 31A}VJ              9ofl              -1v} i114
      ojp     rfl-                N*k} %!       1-14 7DF2i o}L1*fl

                                                              - 107 -
               Case 4:07-cv-05944-JST Document 2969-6 Filed 11/07/14 Page 26 of 88




1(1-dO           klIoI6I 4-z [6ivIk R?ooz                                      Im'SMoi                      II        1dir LL                  Ofl NKolI                        ic
      1l        idoi'4 cb? I@@i                                         tr1g+ alo v2ii          lr       I-;loII-i                                                               i-
't Odi 'iN3EZ g-iIvL)           lOS         V1C9                   '(II IdO W96L II 10G IF(Ii-yÇ               IO4 V1Z2
         I1vIkt
           NcC                                                    4ztz '%SZ '%C %t          1JIO i35 [5OD          IIo[s Iii
'ta 42tz IIoiSOOZ                         llOI           %L               'FoIO 0di 't,N9LZ IGS     \Ì\tP    IdG     VN3BL
Io              'FoIoi Io             131d3
                                         EOOZ    4t iO9 iI6 m:fSt NOO                 HJIo
'kta4i              IF    IOF?aÇIY    4oi-oI' E1JT 1JIiBII'L 'mi-ac 1(105/Odi IFoLL icOO
     [6        I(              lotatn c4JÎ 'ig&±               4? a2 HJ'haHi Io PHi
iz I3iYIlí                        :IO        IdG '%YZ Gdl '%OE las iC%IC                                                        S12       i3IQI
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42°            ivll
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                                 Ït                            'IVi           Ilokzir iHn                        kI kie                        IIo    Foig4        I&{
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      IFOI61
lleco íIYII& 4(Th ío'      lli    Ei2IO     'Iii I6kOE k1C 1Í3 I1OS I1J                                                                                                           IO
      I 5Il9 tIlo        J 1C3 IoERi ic           1oH 'Foig 4-z Ilohztr Dat'
   kic Ir ÑIo uì2 lolofa tJ{ UIlrII DgIo
ll(Co vIkc      4z Is1vftY  Q 1o4' Th    IcIg AF
                                                Io trig IJIZ
                                                          k1c lougiy-g                                                          fl                   rzF) (c6TT-cfr
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                         [o      N'[[o[[                 '--     [GIGS Rajo                    Wkz               'll-             [Los-k              tY*-ia                     [tokzit
      ¿V-3 iaL-ra                     ÏLfl                        '4%?r-&- 'i'Wui W-S2                                                jzj4-fl                       Lo--
          'L   [flja                        3* [fl<P'                          *-,4,-a                     -Th




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                                                                              oc               be                     W          IEtOL                W           liz
                          rtL    9               0CV                   GOL         SOI                C0                               ¿OR                OC            gr
                                                 Cuan                  Cr2         991               lOi                  Oti          COL
                                             IlIUoo                    lOt          OO               001                  100          009                 01            PO
                                                  VrlOO                ott         ILL               OL                                099                PC             99
                                                 00-fl-,               loi.         go               on                    to          30                 99             rz
                                                 '411111C1
                                                 MOjAOSçJ
                                                                                   99g               091'                 p'          I.G'                Di,            03
                                                                       000     01Q1             aOIL                      &/S         hiLt                900           030
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                                                                      CLOt     Gott             vllfl                 OIGO           LO0%$.           LOLL          OOL3L
                                                   001                  1,0         IC                                     Or            tL                 -
                                                 00Uu14                POI          90                9G          -        Zn          VOZ                 St            ¿Z
                                                 tepurtAw              cog          ivi              001                  030                              30            oli
                                                    4;                OO9D         IJW'         V5'&U                 0I2'0              EOU          lCL'l.        wIeL
                                                                       Or-9         COP
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                                      Ic iys                           éd.                       ott                      vie            2L                              01'
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             '-fl ?v-Ñ- ras jLj4-% 4s3 Ektichzir                                                                      t                                   hrj&lin
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                                                                                                                                                                                *t-2 ftt
      LLoW[z-k   [L-g[y[c[LL 3 *Nv $ 'a [*PksoO                               -Th                                                             [ W-N'            [rhr               goog

                                                                                          8O
             Case 4:07-cv-05944-JST Document 2969-6 Filed 11/07/14 Page 27 of 88




       id                     Z14A           7]       t     3J47fi     A1*4* fltf           31   2003'd 7]4t nfl
       $uoJ                             4 A}        A1fl*4$ }o]7} 1-Afl                            4ht
                             flc]- a]                SDISI ']ì]z}A'$ t*t1-] 'CDT )J'                                    5if

                nA-J
                         -°]]               fî14.
                        -t-        7HZ LH         Ofl7fl 7F9II2 LI] 31Ofl7fl bare#t EOHtLF
             tg 7f               a4YF )jlAltF7l ?k 3 )clAltfEE.              (±J- z113-12Ot)

                                                  Agreed M/S                                Actual
                                '02         (M/S) Real           '03   (M/S)       '03Jan                 Feb
             CPT                19.2         28%S 19.5       17.8       28%       1.4   26%        1.0         22%
              LFD               23.3         34% 23.2        21.7       34%       1.9   36%        1.7         37%
              SDI               26.3         38%   26        24.4       38%        2    38%        1.9         41%
             TotaJ              68.8        100% 68.7        63.9      100%       5.3   1QY/o      4.6   1P/0
                                                                                                   (±T2- 14-47.t.*)


       © 2003id 3-                 21        44]1
207                     ö]       Ìs1ÓA1       4 A]Y. 14", 15", 17", 19" CDT fl-nfl fl 4ItD}                              1


      2002id.                 -u3fl4 Y]                   2]j- 4 A}        zjA7
                                                                             A1.'fl*4s o]O13.* Hj
      ii-3' tJS]A}J olto1..- -'fl                            7JS1 &]-.ö] 914 °1    2J7] i
        IÌ   I1lM2J             1]4ì s                H14.
                                       Agreed M/S                                         Actual
                                '02 (M/S) Real '03                 (M/S)    '03 Jan      '03.Feb           '03.Mar
              CPT               19.2    28%        19.5   17.8      28%    1.4    26%   1.1 23%          1.4   27%
              LFD               23.3    34%        23.2   21.7     34%     1.9 36%      1.7 36%          1.7   33%
              SDI               26.3    38%         26    24.4     38%      2     38%   1.9 40%          2.1   40%
              Total             68.8 100% 68.7            63.9     100%    5.3 ir 4.7 1/ 5.2                    icw'0
                                                                                                   (±J- 113-1211t)


      © 2003id 4                   29        cf 411

                        11J-Q9J%S 4 A-S                   -v.3jfl Vital fl} J,              .3JA     CDT 'S-q°fl
      li 2002id 11-°1Ì 4 A}] CEO7f !2-1} mi 2flcfl                                       6i 8flEfl. ifl1-s'
      c']              1ì1             7I     J8J AjafQJ,          flfl 4±S}7]. tJ-]Ù}91r.f.                    }, 2003id
              Case 4:07-cv-05944-JST Document 2969-6 Filed 11/07/14 Page 28 of 88




       ofi         i-W}7].              NE 4 A}             ifl**(tffl 28%, LPD 34%, M'â SDI
       38%)                 .     1S4 A-1Î1 2003\9            1J}]                                   fl4S]-51, CEO
                   oflA]        J-s    fl7JA                  o]Ùo       211*°fl- 127flA]-t tJif7                  iL
       2            .fLz]             LGL fli3Jz]-,           t$Jz}7]- W1o1 1-t1I, 4 A}                     fl 317-1]
       $A                  4Pfl]-Z]      -4        0117]- wo-] fl*o]                        o1. t c]-oflìd          ]

             711    1 °À4C'2003/04/29")$             1   ("confidentia1"). 7] 1 J       1] 2] zl-fl 2] 1 fi1 c]-
         03 CMT demand lower than ptevious estimation: 72M(Nov '02 CEO)-                       68M
         Suggestion:
             Y Reduction of each maker's sales target to match the reality:
              Reduce 7% of CEO decision (]iLXF2l                            oil    CF4 7% 4)
             v3 Makers Supply Control: (3/424        gMl)
              Reduced Q'ty equals to half line capa. Shudown 0.5 or 1 Iite in 2H 03 (2003w 2Jl
                   Ofl 0.5 EEÈ 17UE.FE! 'KU)
                   Decrease working day                       t±)                              (dzJ-   1]3-122tt)

             MIS by CEO MIO Decision (iii:                 F21l IAE S2 i])
                                               SEC              LOE               HANSOL          HYUNDAI
                      CPT       8%              -                                   -                   -
                      LPD       5%            92%                                  60%                 20%
                  SDI           80%            4%                                  20%                 30%
             200301 CDT M/S (based on CDT shipment)
                                               SEC              LOE               HANSOL          HYUNDAJ
                      CPT                   0.7%                 0%                 0%                0%
                      LPD                    0%                96.7%               49.4%             20.8%
                      SDI                   84.8%               0.8%               19.7%             49.9%



       ® 2003d 5-t cf zf]2]

.299                        oATh IQj i17ij-a] 7}2jtF11'ofl 4Ç} 7fl
                           o]

                    -F- SDI  í14±* 31]t}7] 11 -%j49] Z-]7ft A* 71fl}cf
        =.              4. %t*&°i11 fl-J- 4-°1 f?JIcf. o].. t}fl2] 'CDT A]J
       zj.' z1]i}2]                   4fl)]ofl sil îiI4.
       SDI          SECJE M7F                      4I 21X1011 EHH      2ISF92CF2           6FLF. 17" FST7F 0-
       OI
       AA
                   AHAFE1()]
                   O I_ O    i-0l J!± W21 k2E1
                              SO                                    *U 9221 II011
       SDIé SECSJ         71tECF. ±F SDIJF nQf 40E1(Pdll Ek70011A-1 UI.1 4&-47 E1
       0ff   I7F  AMAlJ)2}   g       JF2i   @Pjcj, SDFi- z1mfh [ Y0F       ± OR-lEE
         japjg SLLF 'J            0lLE.  Thfl±fl                 (t 13-1231*)

                                                             - 110-
           Case 4:07-cv-05944-JST Document 2969-6 Filed 11/07/14 Page 29 of 88




      © 2003\               51 20'        t*4::121


210                    '1iJîifl 2003d z- 4öfl                                      A]fl.-44             ÎI}a.
      41 -zflJofl                         }J           1--1*     '?tFn                        VD]J1-. ft}7]                1It     -&

           .51 2flF 7fi#]t]-51,                  -7]     poflA       AJb t7s7fl                   ft]-3L 7}7:1
      .. .ifl}zft ¶yfl- 3f tJ4oJfl 7JAJJ-.                                               R'fl '13il
      ö]       ÀJAâ         SDI 4-vvS                           5     j4ófl
       *5 4?j
                 Quantity                  M/S(%)                   Agreed M/S (t2l! Ajja1-)
      SDI           1.68                   38.6                     38.2%                +0.4%
      LPD           1.40                   32.1                     34%                  -1.9%
      CPI           1.27                   29.1                     27.9%                +1.2%                 (±2- I14-48t*)
       *               MIG              5/27 09:00
              June capacity reduction confirmation (6                              4't
              Price/quantity record open under sun (J/                                                          )fl)
              Committee
              OEffinancial person check jretired people                                          jJI           (±Ç         I}4-48tt)
        j35) ci EfgE.                 SFJOI                          }2       Dl     2fl  ujai    E12UI '1) June
      capacity reduction confirmation'                                         2I LI1@21 OIUlm       O
                                                                                                   n J6FXF LI]0Iii,
      '2) Price/quantity record open under sun'                                W j2Io1IM       fJPF)F
                                                                                                    '
                                                                                                        )tF k°H?/
                              C[          tP1I          7H&FF                                            3)    Wfinanciar person
      check'        Afl°iÏ   2çIQ-]a
                             n e e AEO                     n OI)1I    t2M1 MrF Tt!                                     =     oc=Il-.
                                                                                                                             Trsorfl
        1Et      71AIF 3!0[fl              'fl'-I ±)I'                        12ILUI OI             LF        JF71I 2t6F    J
      EtSI      FLF       9]  LuglLIcF.                                                                         (±'t fl2-1tt)

        © 2003\. 51 3O'                   44.1S1

211               o]                  '34 4uflt-]1o]_*20O11 11-514 ]î4'                                                fl**>.E
      L]E-]                                                    ]73Z}                 AA}rJ                       7]A}Qj-
                  jtD}JJc          QJfl 2003\                   ]I "]**°1                        -]iL S11*                 f9J8}7] 4]
           11--5-W} 4u -1]$ i]iij                                         4         }'fl       1.2%, LPD           0.1% rf±
      si          SDI              1.4%   t7$*°]                                         },   H]9J%           -Jjz}, LGJz},
      fl1}, ld4* fl 121 fl CDT 31'U A1n***                                                                             A)-t.     fl
            Case 4:07-cv-05944-JST Document 2969-6 Filed 11/07/14 Page 30 of 88




      47I. tJas}a., fl 4 4I                                      7f 4A}(auffit)* juD1.- tFè %
         mH 7}-74fl       tf71.                                 7dt}cF Öle. }s]tA         7A1V7}
      ("2003/05/30")$ Ui       ("confidential") ô]     17]    ]    ] 9] 4cM   l]  fi I 4.
                                                                                  1




                                  Agreed MIS                                      Actual
                     '02    (M/S)      Real           '03       (M/S)         JanMay           WS Ulf.
           CPT       19.2    28%       19.5       17.8           28%        6.5       27%      -1.2%
           LPD       23.3    34%       23.2       21.7           34%        8.3       34%      -0.1%
           SDI       26.3    38%        26        24.4           38%        9.7       40%       1.4%
           Total     68.8   100%       68.7       63.9           100%      24.5       100%

      Further Discussion
          Policy to made:
           audit(4AD: suggested by Financial personnel in each company
           capacity control (i2e? gAll)
       .c) settle price matrix (7FIl            ¶1)                                   (±* 113-124tt)


                   *o1.s        J]9]O]A-]        2] a
                                                   -i 2003\4   *a]
      - iui
212

                      1s}5   c,]ofl cfzf A,JA].4I'J4 5i474 a60

      7l. ¶9]M4. flZfl'j 'ttiEni         7'011 4A ''d- SDIe. 2003\ 6t
      tf-9] 2711 AJA].EflJ4 VD]-e. 7* 11tfl*Ì J14.              ;47]
                 ]]9]2. tflo]A]o].oflA1 6-       17          7Ht]-tll ô]   j9]o]]A]                 7J-A]-

               A]-fl4-          fl         ]t}']. fl4
           o SDI: 03 Jun. Korea: 2 Une
             TOP Meeting(l2-1       l2l) - 17th. June in Malaysia
             Issues to decide:
              Shut-down PlanO1I117Il)
              Audit MethodYAFN)         c. Market Share finalize (Al-                 lSJ)
                                                                                       (±I- li3-124t*)

      ® 2003\ 6t 4F11

213                 '14Iîì-& 20031d &°1] tiS1Ù}5VI CDT'PHS1 4 A}              A]fl**4
             * ij'fl.o V-            tf]         19]t}3i 121] SLY-U i-fi-tE iV]* ju}
      °1    JgJ«}flo] *ÎJ1J.,          &   11   Th. 7}74             tF                6-    ]-1* *Alt].
      7]..         2]Ji 7i-] -]*** *]}7] R} *zlÖflAl ta                                ThJofl 1]fr1- y


                                                 - 112 -
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      *                        ¶fs]Ù]cii 2'}                  -jöfl tiRi- 7]-ZThE O.5                 }I- tJ]-%4                   O]


              fl}fl-} tDT )JnA1'Ofl
               )F   7I42 6 )[2 --xIEIVcF.                                                       FOfl [fl        7F
               SOI 2XfOfl [fltIAj                                    0.5iàl     )F        IEI2L                      )I      AIJ
          -fl
                                                                                                           OI
                 lk ?tOj[4.        7I
       ° 7 4 IXF                               AII.            JF       LF     ThThI:
          - liEST
                     i12!j                                             CPT                LPD                         SDI
                                          MPR. liC
                     SEC
                                          TCO, lIC
                     [GE                  MPR, ITC                                         47
          - l7"°1
                     27Jj                                              CPI                LFD                        SDI
                                          MPR,IIC
                     SEC                  1GO, lTG
                                          HBI, lIC
                     LGE                  1GO, lTG                     54.0               54.0
                                        85K,TCQ, !TC                                      53.5                       55.0
                                          MPR, lTG                                        53.5                       54.0
                                                                                                            (±1J-         13-125tt)


       © 20031d 61 12° 44]I

214                     i] AJ oj                7JjAf         jufl        7}7, 32.YJJS}    f*       dJL 3ÏLJ4F
              tz1,            -a                      Òflo]      Àa7]}9                   4fAj SDI$ tfl 4ft4
                AeJt          StfO 7}4* flA]t}7]. t]-4.                        j-, LPD7]- 4f'141 ¶]t
      7g-9- 4J-jz                       L17}°1 *]                    qi°i 91.-R.    * 1-t- 31* -I}%
      4                 ÓJO] 7f734 :jÜ                               ?*-2I           L1   7}1îJ'                          fl*°] 3f
      g                      SH1 7}7cju]-A1Ö                        **°I        3L7-E] ti-e 31°]
      * îPfl}o11 .E*°i                                        * IA]ÙH1,       ']tJ% fl vL94 ±Th izf
      7}'i- O27}                                  t}4t1]         I* A]t]4. °] 4f-j SDI *vv '--
               7]t41*°fl
       o SEC
          -       f:         Ef SECOlI 5D12F 7F                 t#O1 JFE-F....[PD 2710FEL SEC TrickyItE. 7f.
                 Lj           E17E RALf.                                                                    (±3j 14-49tt)



                                                                    - 113 -
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       * 7FeJg M/S                  ElOflÁj   P1tF2, 7FjF         MIS   LlIM tFOIOE MIS              Ol
          LE. (Tony Cheng £l)
       o Price EOI Oj?U SEELE
        - major and minor 7EE $0.202F Reasonable SELF.                          (±         II4-49.*)
       © 2003\ 6W 17              4z]4]s]


215              Öl            CDT -1fl îa%Ö1 %aJ                                            14I%&
      2003\4 4 A}             fl1 1*$4ê 1]                                        3.ul]             ttF
          **4] l-°i- jt}n, 4                         1]   3lt 17fl      AH4J*              fl}t           tfl

      sì] tfl                 flÖ]A]Ó}   %Aa SDI              flS] AA-4Ö1- 3]1t]-71                 S}%j.
      n                                       -gzffló *
                     2003\4 ÙF1}7lo1]. CDTAI1I-9]                          3ÌS-.. o1I*tf4 E
             lac]]     2. n79A}      ]*4 Ll$ EH1 1si#l*                               *n
                     -9]Ûfn t-A           **1 fl 7P&-M-4 t}4.
         Capacity in 2nd half after line shutdown
       - Total supply 343M > demand 32.5M
          Principle: Obey the agreement of TOP management decision (9!5i:                 l.]i-?f         9I
            jjf        OElE)
            Global MIS -. CPT:LPD:SDI = 27.8%:34%:38.2%
            MIS in individual customer is revisable.                           (±J ]13-126t*)


216                   LVI, 51]AJ01%Q i7i1A}         *4 -lfl tflI 4 A}         *                           Ö]


           t]-4s1 Jii7J]Al-i t]]tj -W-A}- ee1-Csimplify suppliers in one customer")tJ.2.
       -1 74 ]3f7] nÖJS                       ÖJ
                                                          9t] 4 A] ì]zdt ]JtJ             O]ZJO] JA

       - %J4, LG34 51 5i7-4 I1 *4 flA                     u]%4 S4S
      4. n }ofl trf«, .%AaZJ4. AJ-Aa SDI7} 80%, flfÖjó] 10%, LP]»]- 3%
           t}5i, LGIZF            LPD7Ï- 96%, AJAj SDI7F 2%* tF71. tf4. *J&
                                     --A]-$ ±-ftR. WRF fl* H']-- a?]]  7]-7Ö]]

      ,t    Ó               ]-Ö]7]- S5}4.t] ¶7Jt]-3i l± OE5SI 7]-7]4      t]-
      4. Ö].            ]c4       ]9]4fl ]s]]             -QJ4.




                                                   - 114 -
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                   (IC pt/rn)
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                                                                         .fl1»      2053                0            715         3000
                                                                          (V-».     13o0            SÇJS               i)        U7C)
                  - Crc.,Asw         <Sao           Ç)2-f      -À-      tt[ei..y              O        O  a2r                    4100
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      Concept: 0) to simplify suppliers in one customer 07H
           major with high portion (above 80%) minor with low portion (below 20%)
            less noise & price trouble (i                    W )EF1                     21I         t)                      (±31- 113-126t*)

          In order to have stable price it is necessary to have big difference of share and
          reasonable price gap between major & minor supplier.
          At least US$0.5 pice gap between Major & minor supplier. (2&±2                                                                 NRI
            l± 0.5E12l )fF0l                    )                                                                           (±31- 4113126.tt)



      © 2003\ 7-          29'       c}491

217                               -J1Si 7}*t ç'-- fl-SFiL A]J*
      O
            o       7è}0t ,S--i tfll MHcL !-1 tE 7] a.'-H rWafl 31}-fl
      ï-01 L17F-4 I7L- W-fl                                   -?-        1 CDT                     7°1] fl* U]- -fl
           t 14. W, LPD71- 'J(Compa1)°1I t]ltfl.                                   17             g---j- AoI tutu tflThE
      LGj4$            'E1?1 fl 7fZ1                        *fl °1-f3' t}1, tÌ}E Jfl 71-
          4- 2J-Wt1-°1      1--    SDIOI1 71-°f ÖJ                           7}1- A]-10] 9)4
      LPD       Compa101 HP            IAIk    1)F  $40.5aL2          ITG, Glare/Mpr2
      W canceling coilfll-21 7FF 2        E1fLFi I 7F          92I AIj-)FLF                                                                 l

      g teoi 0F'. CPTh glare7 (JF eJtFo-IlA-I) $2E± E1ûH0 JL             IJ canceling
      coil@ 2F    LitE  LJ2    AESEiOA-j    Lk  !LF    g  0101  t ¶11  2I1 A5jOIaE2
      UIj. Ql            71ki} JRg AOC2I JHi1F UIaEI teei $44g. 01 JIOl AI*j
      JF0l4, CPT& ?I 'F             i7F   LGE/PHSOU )1IAI   3J. SDI N 01011 [Htfl J'Ef
      tI     'HSH LS[ÌI §ilM QflLJ 01011 [I1I1 ulE&E2ft OFOFE, SEC SDla1
          f L1.% W» 1tU Compal JF          AFtI1 g ?S             LPD      7F   L1I                        .


      AJE8fI!            LIAI      2tFLLJ fl.                                                                               (±31-       3-127t)


218                Th Mii4tc?                 -u1l$                       ÀJAj SDI                  £h17l t}iM 7li
                                                             - 115 -
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      t9.. ¿JA4o]] t1IÙi- --o] flU]                                                 fl        t1] jLJ7 Agz]-s}.        fl4
       i- %z}°I1I1         £E, t}M                                                                          41]      *** 7%            zfl
            7o]]      t]]flA                 }2Çi
                                                          J]9.]oflA1 7% *** -fl                                      U*
      TSB             9        LjLI        AUAE
                                           oL_         )4iÑF
                                                        ii-ja '°ro.SEC                       12        0FIfl=
                                                                                                      CL-  tJ 7101
                                                                                                              J= flEjE.               CPT
        l       JF                          SECOlI LJ              OI fltF)fl            !   3jOU EUH ?J-AFJ-. CPT   7%
                                           a -r2ZZemj2iOflM
                                                   ACX
                                                                                                                   Ali )II2±H
       9-3!F
                                                     '°
                                II
                                                                                                             tF
      CPT)F 7%                                         a m AA S-j               .                                 (±'2- 13-1271t)


219                             ]SI *J'?J                  2003\4 37}71}z]               tflfl                -flo]A]o}    M ¶è.1 i
      71]       4J, H1 SDI                                 ±1 t'kì 1711 AJ?J4 i]Ù}7]. tJ2]S}%C]-.
            ,   2003'dE. ÛHI?] 'A 5i7I1A}W                                  *ê* ¶&] A0] S14.
        2H '03 M/S Adjustment (finalized by TPE Working Level MTG)
            M/S%          CPT            LPD         SDI        Others                                                       Total
                  SEC                          7%                  3%                    82%                  8%             100%
                  LGE                             -               96%                     2%                  2%             100%
                 Hyundai                          -               20%                    50%                  30°%           100%
                 Hansol                           -               40%                    20%                  40%            100%
                 2H Total                  9.7M(28.7%)         11.5M(34.1%)    1aeM(37.39                     36M            374M



                          0]         ]2]      À1* %-           SIN A]-+-A1A] 71]1!I                         1]-      CDT       -1sA]
            5}0jgJ-S                         °I1$              SDIS1 oL&a, LPD] CDT fl-u]-4                                  1-t-
      %°1            %-1t]-4. ó]                      t*F] 'CDT -tfl3i-'1', 4F                                SDI    ö9] fl+,
        ]s]r                   1]4c1] S1] f2ìI4

      © 2003\                  8-      28         44g]

221                       o]         ]2]oj 2003d U]-'71o11                               4 A]-1         A ]**V11 SDI 37.3%,
      LFD 34.1%,                                      28.7%)   o]ôfl                                  f, t SDI        0.5%      .4, LPD
      $ tFfl 44                                   0.1%, O.4%7}        JThI     4°11          rlJtfl   'f7f*$ 2004'd nif
      -jj4t]-o 2003\°fl                                   f7].          i     -è°1J "i.1] fl71'-f a* fl*
      t]-ol           *** 7]-7Jt]-7].                            ÙfC                     ii]4J9jfl A17A]-7]4                        4 A}P]
            7A.j4                                        'l]*I 2004\4EM '?$.°1]                             7] 4.1Ù1] 4 A}           u}]fl
      Case 4:07-cv-05944-JST Document 2969-6 Filed 11/07/14 Page 35 of 88




                     F3L n°11 tI-4 20031d 3-71t AJ-}'J 1HUi tJ24t4                                                                          AJ


 F9J J17fl1$                                           LPDSI         AH#Î1               Ì]71I         F*               %-       SDI7} 1
kZ1--          ÖJ              7]-tf7]           Ù]-fl-4 óJ-              z

                                                                 2003                                          2004      °HJ1Ii -
                                                                 o,'C
                                                        e o C m ,'.                                                          +
            M; %                                                                         ¶01                    -SI       Pj ¶Ol
      CPT(27.8%)                      16.8                       X                 A=X-16.8                           14.5A
       LPD(34.0%)                     20.6                       Y                 B=Y-20.6                           1 T7B
       SDI(38.2%)                     23.1                       Z                 C=Z-23.1                           i 9.9+C
            JIEF                       6.5                                                                               2
             tJ                                                                                                         54
                                                                                                                  (±J- I]3-129*)
                                          '03.Mar                             '03.Jun                        03.30                Capa.
Company '02.End                                 Shutdown                         Shutdown        Shutdown
                               Lines#
                                 .


                                                  Line
                                                                  Lines#
                                                                                   Line   Lines#   Line
                                                                                                                                 Per line
                                                 Taiwan:                         Malaysia:                     Malaysia:
  CPI               11               10
                                                      lLine                        iLine               80        lLine           200K/rn
                                                                                  Huai ei:
                                                                                   i Line
  LFD              11.5          11.5                                10.5
                                                                                  wales:               9.5                       200K/m
                                                                                   1 Line
                                                                                Changsa:+ 1 L
                                                                                        ne
                                                                                  Korea:                        Korea:
      SDI          11.5          11.5                                9.5
                                                                                   lLine               85        lLine           240K/rn
 Total              34               33                              29                                26

LFD         0ilhl0i2l EF?J                E,fllg LM?J0fl 2Iiif0I fltELfl VLF LGfl, PHfl
  ,    naIi                                7I         11                        F.01 y» HE0fl LF)IJF I]- 0jEF.
SDI 7I2 V1                                 JEW ?!01[-E.                                         (± 113-130St)


© 2003'd 9-               24          tf4] i

             o)
                     l*11A1 LPD*                           7F}        o)zj        sIo1]A]            2-)      ¶]1] uf} 17" CDT
                     it ?sHJ*                   1--        'F7}fl°flhIÌ           -t-1, 17"CDT                       %)
7f}°1°fl tflBA1.E JJ84                                                 37]'J'jfl                      A]JC9)Â1 o]-t}              lc]7]-    g

    fl ï-* **Ù)-.. A]7}Z.j4
 -AflOfl                                                                                     ]]t)-         7c)7]-'fl 4flÙ]-7]              tf
 4 Ö)-- t}F) 'CDT )J7'z}A                                                                    z}zoI)             *îiI4.


                                                                 - 117 -
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          oLPD   17"   i±                           1 fol LE2O1, UI              94 US $3(DY    24
           US$1)oIaFit               FRQE-F. lQ0fl          ?°fl 0W 4 VC4. ?flAI          oii isi      7F
           011M     J2i               ftF           0Iu1 0I  22j JFLF 2 US $1          JFQIE-F.
          01T09} N-11C37)?±Ql JF    FOI    LPD    17" TC9} N-ITC?12i )F                                            J$1 boll
            A-f $o.5.     ?    X1IEf&IC4. 2E-fLf US $12ß        7J2Zf71 Oi                                   2g         Ofl   [fl
            HM                PR eioia,                          ofl olE1ol V2J)F? SDI                EF

           0fi6l iLl101E, aI7F PiXl .a4ofl US $1 2JI°H Ujûfi       E4                                         oI
           4 21I Lactn AIAFtFLF. 1O0fl        AlftF)l     Fe11VEF.
                                                                                                     (±J- I13-131tt)
      0FP1° UI SIf 2JF XI)F OEM    f                                                 ¶tEE4       AjE          87q
       -U1, 01P42k   AI*j JR eka 2afli                                           oje4.n      oFC4.
                                                                                                     (±J- I13-131t)


      c13 2003d 1OIY 44].G}


223                 01    P1°IH %-              SDF         t1-°fl-] ÀJ.i4Öfl ;JJ7f                           u1 Ç7} }
      A}0 ttF 7}îi}                                    '1     '? 91** +#FJ-, 01°]] tfl                      tfl-&
          17P-4°fl"1 o]-]-             fl 'À*                                  F, CDT11*2I Al]A}0Ö1] IIF#                 J-AJ

      81+. 7}Z}07- ¶97}Z4                                    flrI-1L i*±8o1 in(7Th CDT1-F1 4-A}°è
            -'1-1-°J*                       --°-Ì           flS-.      4LZ0J 7f}°}0)} tflA
      71-4* W}71. J- A]--- V-'? S14.    :12I }-oflA] LFD tfl°fl 11
      - 26V 13 I-Th1S1* 7fl]7]   j-.t}r- o. tWI tDT ì]z'ófi
      ìÌt
      SDF    17" FS N-ITCOII ffSEC2f    FI t2i! JR    Aj0fl FtFO1 0j]  E1
      ¶ii °)LF. SDI     SECJF ftC W- J9± 8F V2a, ±94 *2I SECOH UI lIC JE
        0i 7l JRMEE U$l.5 ?itFiEE 0l SECOU [Hk JR eitE        E CE                                                      i0I
      arfl 2jNf OIJIF                 &A       30ju1, 0L          LJtH, SECOB LHF SDISI jUlIJ0fl
       0I2, 4)F SECOfi [HÍ R fOj                                   U$C.5       8fJ4L[ N-ITCSI                      tfXI ¶
      * ?-J1I 2CF. aI21          El                                  §12121      si AFj0]I            OlD1,        ej    0101
      SECOIIJII +             $1.5      E0lJF $O.5          4±1        0I2I-       fl2O1       t9j      JR2-El 01
                         3i          ttFCE.                                                          (±ç2-    13-133tt)




37) ITCt          FS}1 *-'°1                                tE     ?%I*         flFfl     %oin N-JTC         rit -fl a-4
                   1*4 11fl.
                                                             - 118 -
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                        tct*
                                                                                   121'I             fl'F'Ie           UUZ



                                                    15"                       0                      0
                                                    17::                      -1                     -0.5
                    TCO*?vIPR2                      17F                                                                             -:
                      (TCO 'It)                                               :                      :?
                                                    19"?                      -2                     -i
              MPR2 *            /JAI                15"                       -2                     -1/0.5
                      (MPR''I                       17                        -2-3                   -1/0.5
                          -            )
                                                    17"?                      -23                    -1/0.5
                                                    15"                       -1                     -0.5
                      ITC.N-ITC                     17"/F                     -1.5                   -1                sEC0L21.
                      (ITC ?l      )

                                                    19'??                     -2                     -1.5
                                                    15"(48K-57K)              ±1                     +1
                                                    19"/F(95K.85K) -2-3                              -1.5


      III.    L52          12I
             AI»:               11/26 2OIj           flI          !OIo1      a E9jg 11/27 2iOIE4.

        - LPD)F                    ?t2i
      7'O
      mL]. L- L-'
              3211M            4           2 2LIEI         )llAFOU        [Hf 2OO4                    7j    A1I2    AIJ          1#
              (SEC/LG/AOC/PHS/EMC                     ) U1I.
             AIj '2                            aj SEI AI              7fl1.                                         (±?J 13-133tt)


      ® 2003d 1O                 28        441 ì

221                    5Î1                  2003\          Ù7]°]] Z]- A}                            1-1} "Pfl**°] zJ- o]g]
      31 9)(]'                         fO.]    7jzJtf5z Aj].-A}fl *47P.E                                           SF%L 2OO4                 zj


      47j]     A]flR.$ -dM 54fl- t]Jii                                                          -íL 121] 31731s1              4I]           41
      ne 3M]* 1RE 5.J1itflo11                                             vI]t]'o4             7]             }] 31Zfl A]fl*4
      (i-)* *11t]- èS]t}7}.                                         7] 314]           c]-4]a]                      &           11     26'

        ÖflA1 7Pt&1-7].. t}4. o]. tW iìFAâ SDPI                                                                               uI1 SDPI o]
      aE] !-+      ifi-, 'CDT Glass Meeting M* *V "1]                                                                        f'?IIc]-.
       I53)           I9iO1IAtE ZtAF                J2IE! 2QO3               AI-(SDI: 24.4%, LPD: 21.7%, S4
        j: 17.8%)OI    2]7]JAJ    DFLF ' 7i1NI.flA%L-
                                                  °='-       6FSLICF....EE!I,              -




      9IOflM       option) 7F011 LOI                         SIÏ V1I, f-ixF
                                                              ik, DVJnJ
                                                                     im-, 111m, Z1TI"
                                                                                 mrm
        Ofl      FF        2j2Aq 7FOI JìE          F7F LFEFLFE   tFF      2j  81
      L1c4.                                                                                                             (±2-        2-2t)




                                                              -    119-
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13 2003        11     12V 4411

            1'i%& '2O03\4- 4 A}                                                   CDTt*-A]**
fl A}Ó]A4cj
                                                         -U        -*ZjAM7}

                                         7Ì1'eS--                  21}i,                        2004\          A]

ne i-$ -sF 2003\.E                          i**°1V« ÀJAa SDI 38.2%, LPD 34.0%,
                                                     1


t}Öjk 27.8%                       .7v11   u11fl 'Ffl 2004'd Z%44 A 5flJ    ,



37.7%, LPD 34.0%,                   28.3%     t}iL, "]S1 11*'?11 fl }cnTh.
  * ±S1-7] 41ß1] 2004\Th               '±4V                      7-TjCLine Shut-down Schedu1e")C11
tJ]tf4 o] ]s.]vA1                         Th.4.P11               1iI4.
                             Odginal                          Reflect
                     Sales                  M/S                                M/S      Plan           M/S
                             Target                           of Reality
   Mpcs;%           Y2002    Y2003                             Y2003                    Y2004
     CPT             19.2      17.8         27.8                 16.5          27.1     15.0           28.3
     LFD             23.3      21.7         34.0                20.6           33.8     18.0           34.0
     SDI             26.3      24.4         38.2                23.8           39.1     20.0           37.7
   3sub-ttl          68.8      63.9         100                 60.9           100      53.0           100
   Others            15.0       8.0                              5.7                     3.0
   Grand-ttl         82.0      72.0                             66.6                    56.0
                                                                                            (±* 113-1351t)


© 20031d 11           26V-27V4 4411

               '11Pl         2003. 11.   1a4 ki 111                             O54fl   j        Ù]-    z._a    17J

A].(ZJ4, AOC, BenQ, -W-)°11 rfl                                   ne n*                 1t13i, 17"
CDT 7F1$    4t 411Z}*                           1fl
                                           i'-']-1 t8- 4J      -ìI                                                  1



        c           flA}-2 -W-7M4 z]tj- 7]-Z4S flfl '? S17fl 81-71 4]Ù]
3i7JA]-'. 4 A].7- flA]- 7}240fl tflSljA]                         s1ù}%j1-. Ö]$ A].«$                    7]7
                      1M     ]I




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               Unit: US$          OPT            [PD            SDI                               Remark
                                                                                Agreed $0.5 price gap advantage
                 AQO                 47          47                 48
                                                                                is gone
                LiteOn            47.5      No offer           48.5             Price gap advantage is gone
                                                                                Though SDI offer the lowest
                Philips           49.5           49            48.5             price among all, but no order.
                                                                                [PD price under suspicion.
                Proview          48-47         47                   48
                 SEO            51.3-50       51.5
                Oompal          No offer      49.5                  49
                                                                                                         (±t 13-137t*)

           20031d 12            2V    441 I

rz                     1-J%& ::]ì]7n1 te-A] 41]     dfl 5jfl #1 AA1-4o] 4±1
          1]          Ù].Â) LPD    °Iï 2004\ 4hi71'ki         °1°]91 571) ?+ii* 311]
      4]t]-7I. }** V?1t%UL, -V} SDI 2003\4   i7I011 141
                                                                                                        fl
                                                                                                                   --tFS1   171]

     A44' x]Ä}-f 2OO4\j a!tk] 171) AAf 014 11tF.z}
      o[PD                   _!0i 2004w 1)i0lj,          01E             g ÜH      kYi7I0U 40j-i!1i0121 5)11 421(21 4
          Lif*1 9.f 80K/m) J±11tF)I             [-Fii    W4.
      oSDj      1Y±»0fl aloi 44      9d*              f aF21 tLJ iVUtEiL 3ii
           TV W     4'-0fl OEFaF Jjj2j 42.1 1/2       21F OPT J±2    fFCF.fl

                       9)fl 42101 212D1 LMtcl'          o11 TV w                              k 42.1   13fl    JJtFy1L[ 4
          Li     31flflt04 J&1 q±tFE4                     L11- )1iioi Va-F.                             (±3t 113-1381*)


rs                      i,           SDI7]- 2003\d.E                           -Pfl***            $F'1]       t1)1] 2O04\

     A]J*4.&                    *-*        ]Ù}           2]S         4A                A1fl**dfl -21Û}nt1 '*'i
     5]31 4 3i7JA}               A].fl*4 flofl                 o}1)$             -o]     -9]t4 i9Jfl *4
     7}-7.01)                   -4]              QJ   7}7J,QjÙ}                          t}iL      t}fl4 V +
     o]        **F]             'CDT      )UA1'1               1]              1I4.
      nElLE           tfl, SDISI jÑ]i      4g SDISI        fJJEJ39.1°/a                      iJfc4, 0l1j2] ¡4191011         F4
      SD12I     !-B       ì°H     jg       H iii!} 4J           UJ                      0E     k-F. 01011 FaF      jg cF
          01i 9jAI1 UF2F         0i OPT 15M (28.3%), [PD 18M (33.9%), SDI 20M (37.8%))F .EiLF.
                                                                                                         (±1- 13-138t*)




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         M/S 96                 CPI            LPD                      SDI               )IEI-
              SEC               7%              4%                      82%               7%               14,500
              LGE                -             98%                       1%                1%              10,958
                U1               -             20%                      55%               25%               717
                                 -             40%                      10%               50%               461
  [: t17fl                              )                                                             (±4 113-138t*)

         ig CDT            IAFa2i ITO L..          U1 loe ?2' t_ - 0ILF. LPD/SDI&
                                                                I                                            .-= UI nn
  Oil         2ItF9LF SDI-'SEC               LPDLGE §71I@                            ITO WLE. nEW                         n
         L     74 512LOU iflj )F            ej8Eofl       tF        3!01C4....CPTh           L       Mj42
         V               OjLE B-i-D                     tuH&F             OI )FLI ftFaFkl             OI    7FOfl         Ì
  a                  ?a 3!0IaF         tSFU AItFIflIA1S
                                            a ofo o e =                                    4jSLE.
                                                                                                      (±4 i3-138*)

 (10) 2004\4               ;'j744

 <           26>                            2004\4        CDT YÌ-fl 117fl.a
I?91;ì   7ll1'JA                                                                 1--1Á}                    *714A
                                                                                                  ±4 13-139t* 21*
                                      iPA*i, zt4W                             t'-F, SDI,
         2004.1.27.
                      A}*4 t1                 0]SflZJ                            LFD                  13-1401* 2181*
                                                                                                  ±4 14-54----51t
 2       2004.2.23. 44 1-i** -I                             01U7.,                  SDI,          ¿st 14-tt3047*
                                                                                 LPD              ±4 14-571t
                                                                                                  ±4 13-141St
             2004.3.2.   z1-Ap. A17]-zj**                                     fi-, SDI,           21ft)    2181*, 2184*
                                      A4 4*                                      LFD              ±4 14-PSt
                                                                                                  3:63; 34 357
 4       2004.3.15.
                           ÙB7PA i%(10%QJ%                 1- 5%              t'-, SDI,           ±4 14-611* 3074*
                                            iN-)                                 LPD              ±4 12-15* 324*
                                                                                                  ±4 13-1425*
         2004.3.25.
                               P7}j%(fl2,                  ë7]*:              -r}, SDI,
                                                                                                  21*, 2192*
              -27.         $2-3), A---Af°fl 7PTh1-°1,           '-'1l
                                                                                 LPD              ±4 13-1431*
                                                                                                  2197     23)3*
                                                                                                  ±4 14-625* 3078*
                                                                                                  ±4 13-1445*
 6       2004.4.26. 4-"}         A]flfl                                       t},LFDSDI,          2Z20'    2Z34*
             27.    71t(15", 17", 19" CDT) 7PMÎ1%                         (a.qW']9]) ±4 13-1451* 2Z*
                                                                                     ±4 14-635*
                               4W 7}-4°d%
 7       2004.5.6.          îi%1    (15", 17": $2, 19": $3),                  t1-, SDI,           ±4 114-641* 35'
                               6tP]4-?ìi*               OIF1                    LFD
                                      YFl-°1($1)
                                                                              F* SDI              ±4 ;114-I* 3c
 8       2004.5.24.            71*M 11-, 21- 71           °1%
                                                                                LPD               ±4 14----71t
                                                                                                  ±4 13-1461*        4*

                                                        - 122 -
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 9     2004.6.2.
                                                                tLSDI,            t.l13-147*2257*
                                    %1]7IîRJ                      LFD
                                                                    SDI,
       2004OE28.
                                    371- 7}' 9J'J-
                                                               (1iifll) ¿S* 1l3-148t.* 27*
                                                                  LFD


       2004.7.26. 44W A13J3J** JS
                                                                 SDI, ±J ]13-149--t*
                                                      0Itfl7, *LFD
         -27.         A                  7P-4         u1*zI (=]4=L;]91) ±'J l4-* 3K5*
                                                                        '4;4-ffl
                                                                                ¿sçt 3-1S2tt flOW
       2004.8.17.           71l]44 7] 117]-1 *71,               tl-, SDI,       ±t 13-151S*
 12
         -la                  z}' %71, AAJ            4*          LFD

                                                      °1fl: t
                                                                                ±t 714-701t 3116W
 13 2004.9.21.      44W Al**                                        SDI,
                                                                  LFD
                                                                                      1l3-153tS     13W
                                            4*                 (1*-12I) ±4 13-15461t
       2004.10.26 44W A]3J-j                    i1 ° 6]t3J7     fl}, SDI,       ¿S* 13-157t*
 14                                                               LFD
                     *          4*,1 i7l-' *71                                  ±4i471tt3flW
 15     2004.11.           F52Y- ti]- 44 4u1]71-                fl}, SDI,       ±4 13-lFflt Z&W
                                                                  LFD
                     uI°*71jf, ö]          tJ2A}tJ. o]t*7                       ±4 i31t*
 16
       2004.11.15
                             Al**          Qs]        O]37à,    t}, SDI,
                                                                  LFD           ±4 13-lFfìtt
                                                                                       a378z1*
                                                                                ¿Sf2- i3-161t
 17
       2004.11.24              7f                               flF, SDI,       ±4 713-lSZÌt
                                                                  LFD
                                                                                24W    3410W

 18 2004.12.1.                }i7PtJ-1                          t}, SDI,        ±12- A113-lWtt
                                                                  LFD           2435W, 2439W
                                                                                ±4 13-164tt
 19
       2004.1a29      a.7MW         i7}7tQ2I           F4       t}, SDI,        2452M 24EM
                                                                  LFD
                                                                                ±4 14-721t

@ 2004\4 1           27'    t}.4]s1

            o}      ]}ofl     4iIS hB                       M-f4îi 7}è fl fl3I iF
     * *71t1-7Ì. ¶21s*4 o- =                                o]]aj -S               2004\        4A
                  nflt 1]] ír1                           91]*                  $ ÀJAj SDI$ LPD
44 0.5%, 1.2%                 48}si tflfl 1.7%                          ÀS--                    j
                       11A 4 A}] ZjA1]7] AAFÎJ i -%' SDI 91,
LPD 11.571], tfl& 81 a}21* **t0121z1 20O4d 1-71° 44 7.51,
8.571}, 7711 4ÎI.9.-. 'J*F]. t11*°1 FÎ114. 7]    Th- ti] 3 2
'j t1]oflÀ- LPD               i-S--.                               °1    tfl--] 'tD]fl.a.a.
Al' AFA SDI o]aI                     .               ]r-A] 5tz]flo]4j 4K W-°1] S]tJ]           HìP*.

                                                  - 123 -
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       o LPD              0FLE AFOl É                     LFfl 212Ml. 2 )V                  MauII   §E          ItpI             ±k
            LF
       o 24Lj?J
                              SDI
                                  4J
                                       I   L.
                                                AI )F
                                                 Lili
                                                 Ufl
                                                      O
                                                             2]
                                                          O. O4ATh
                                                                     941
                                                                      YftS
                                                                                   Ifl
                                                                                     J2E4tf         w'jg Ì?1 -XUSI
            010f t                                                                                           (J 1]3-139t)
           company                                          Line Control Plan & Status
                                                                        03.03        Current                        04.01
                            02.End               03.0 1     03.02       Target
                                                                                                       Gap
                                                                                                                ¿
                                                                                                                    Target
            CPT              11.0                 10.0        9.0            8.0         8.0           0.0            7.0
            LPD              11.5                 11.5       10.5            9.5         11.5          2.0            8.5
             SEN             11.5                 11.5        9.5            8.5          9.0          0.5            7.5
            Total            34.0                 33.0       29.0           26.0         28.5                        23.0




      © 2O04d 2-W 23ÖJ 4]

                    o]     ].91o9A1 sí]-Qj- OÌ3J]IÖflA1 JS]                                 Z]- A]-1     A]JZ**91 O]Af
      fl
250


                            J$ fl?--]°fl .etFo1                        I-d flo] flS-, Th I 2 26F-i
      %17]- ]- 7I*4 -]* 1Ì1-îJ                                              W171.                              7]     ]91 4
      I 3-W 2-3-W 3'4 LPD AO]]Â] 71]i1f4. ö]. 4F                                                         SDI        'DDM -Jj-t'}
                 $M5i' i-e-, I1 SDI 4.ç7v                              Öfl 7]fl                 '2004.2.23. 14:00 3Af u]
      (LG)'oÌl      S.]



      3. DJJL
       -         Ui2        3AE             ï              0IEL, M/SAl t2I4IOfl etFOI e Noise WV
                            CPT        LPD                    SDI           TOTAL
       1                   1,284      1,644                  1,793           4,721
           M/S             27.2%     34.8%                   38.0%
       2         OlI-t     1,370      1,694                  1,900           4,964
           M/S             27.6%     34.1%                   38.3%
      =>2/26VFX1            XlIMaHi 14A1 t2J                                 f (AOC,EMC,SEC,COMPAL)
                                                                                                              (t 14-561*)

      ® 2004d 3-W 2'-3                             44]]
2V                   ]-]îi& 2004\                         tJ2I.)J    4 A}9] -tfl**V                          SDI 37.7%, LPD
      34.0%, *flI 28.3%)-fi-                                      fl 11 1-2-W4                  u]-o]                   }o]7]-    1




                                                                  - 124 -
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                U Sfl n 44 F- SDI$ LPD 44 0.3%, OA%                                                        F, t}
        4S- 0.7% 1fl Öl]t1. fl   AA]-4O 44Pi'"04 Line Control Plan")$
      jt}    2004\4 17It 4 A} 11  EH1* *i7] .q1.fl        }Ó]fl tñ7t                        ÖJ


        'J*}7Ì J]flr- o]Sf z A]7Y**          4* i-°i; 1t?J--& -r
      1% J-            t1sÌ-71                                   -]s}4. o]
                                          20041d 271-E1 CDT 7P1* Qj-ÙF7]..
                      t SDL1 'HiiEflo]4 ;c}A AfÀ SDI1 o]o1 4f 'CDT
      Top Meeting(3/2)' t}9I z}z, 4Mj SDI o]t2J c.4j ..c]] s]tl] QjJcf.

                                  04jan                      '04Feb                        'O4Jan-Feb
                                          M/S                              M/S                          MIS
       Mpcs;%        Sales       MIS                Sales      MIS                 Sales     MIS
                                          Gap                              Gap                          Gap
         CPT           1.3      27.2%     -1.1%      1.4     27.9%        -0.4%     2.7     27.5%       -0.7%
         LPD           1.6      34.8%     0.8%       1.7     34.0%         0.0%    3.4      34.4%       0:4%
         SDI           1.8      38.0%     0.3%       1.9     38.2%         0.4%    3.7      38.1%       0.3%
       3sub-ttl        4.7      100%      0.0%       5.0     100%          0.0%     9.8     100%        0.0%
        Others         0.2                           0.2                           0.4
       Grand-ttl       4.9                           5.2                           10.2
                                                                                            (±'J A1I3-141S)

       company                  Additional Line Shutdown Plan(J}               jaFej Jill±fl 74ll)
                             Factory            Schedule              Line Reduction    After # of Line
         OPT                Fuzhou i L          01 .'04(?)                  1L                   JUL
         LPD
                       Nanjing 2.5L               01,04                     3L                   8.5L
                      Changwon 0.5L               01,04
                            Busan 1 L           01 ,'04(?)
          SDI                                                              1 .5L                 7.SL
                       Another 0.5L
                                                                                            (±t )il3-141S)

      So, to prevent from profit loss, CDT price has to be increaseld) from 02 '04.


      © 2004\i 3W 15              cf4j94

232                !]AJO1          ]s.]'A] eun                    fl-s]-j., 7'ii*°Ì1 rfl d& t3 4W
                             7P-f& j--t}          3i7M-i71             flS-. 10%îfl*                    tF5i 5%2i
      -n &']i7I. J]t}fl* ÓJ-                          4:.      c4..    oth ..JAa SDI *vv]
      *tH -?110E



                                                     - 125 -
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    I6IS-                  F-z1((D            ELO             O =r
                                                       103 -viciybV                            L-   a -L      '4:
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'1'    4-FB1c
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  - OUOAJGAJ 9UJES 9W14 azunouuR mo mowOsna
  -          4uawdiq asPanui pd
                  L                                                                                                                  -t) (*T9-Pfr
      (EPI        L- 0_i hIOR
               lyIofrcIC O                    iAi EI64                             'IP]        %0L,    EI:iiB Ei % IYIÑiB SAi
        %OL iv1orci(
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                       I                                      IiIg-                                  ?B%9 :tMB  'hbffl- auo/u9A3,
aws awq                      a:unouu mo                        IYajyIopcit-
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                                                       ,awo;sn                     IVICI
           IkIg            I'J-J- -.    1I6t              iSIc 'I:hF2 Ikt a1Ic
                                                              kW003 lvf 51iVj4IV        Ic
      Io         1t I2Iou2 Io-IIo °ÌZ       IoIvIc4 bb14 skcl(     0_i
                                                             aL-I 4g1yo      lo IyI:c o
               ¡BÌM              tJhICl*
                                 MBkIC             Fog P                   1Iv
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                                                                                          [t          *z-KLU3 [eaEg [L{S&                               154k

 iL4g OEo&R,z4z [t4gfl'                                  ft[*                                       *,42[14 k{UFk *fl-W- -Th
 '4a           ,ft-ir                  [1a9   ftz'rr        flzir ',,r ',,LT ,,61 [6..La3
                                                               -ja[t                         zjz                                            kz[

 jgfta                '3iS[-- [jzi9               kckziE Ma     io--& No           -w     {ë-&                                        -

                                 *tL jg[yfr                           'iijg                 W            1iW*.           [o*jg[4 jò-
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161V                             1Y5           IgIy               2                   'ti
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                                                                               Vtaff
                                                                                                                            1


                                                   ZTdPt'                                                                       cv
                                                  ZtcfJ'V(                                      I   6v                          oc
      SJ61                         XÇS             zrcTpv                                       Ç9]                         i 99
      dW61                         LYc6                001                                          9L                          ¿L

mD             ttr& '90V '7fl 'VC] 'IO12 4533E 't10]D1
                                                                                                                    -tk) '*1EPI-E[[ (g9-M1
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          flflofl7fl 2&
       6[fl                                                g$0.5    1IAItE&l0 §!-F. oI AIj#
       a £FAIIJI ?1k                  I2         LM        2fl ?± )FFOI 7JtF7I -'?itFOl 7I
           oF)I IEF 30Ir4.                       J24jg Oflu! 0I 01LF ?!0IJI ['IL0fl, i !ifl Et
       711011M )Fg Et?;] $2-3j0I -JSJ 30IE4. aI     SE!I 1fl011711
       Et7°fl [JjtEOi fE40E t 30I[4. naflA flOI OEM22fl-011MI
             E ?0IEF. EjO1, AI0fl          'foI AIJ     0IEF. 'Ñi A[-J
                                                                       XU1
                                                                        4 WE AI?±a
                                                                          L2F E4:
                                                                                  2
                                                                                               ii                                     7j2i-J




                                                                                             Te1JF
                       MFR23TCO                       15"                              0                    0
                                                      17"117"F                        -1-1                -1-0.5
                                                      19"119"F                        ±2                   -f-1
                       MPR2-)                         15"/17"/17"F                    -2                  -110.5
                       Glare/Anti-glare
                                     "8+D"]           15"                             ±1                  -1-0.5
                       N-Irc-JTc                      17"í17"F                       ±L5                   ±1
                                                      19"119"F                        -i-2                -4-1.5
                       Frequency                      15" (48K-357K)                  ±1                    +1
                                                      19'7F (95K-)'SSK)              -2--3                 -1.5




294                 nJ31 ]JA]   JÓJ4 4ko)] ju 1JJ3Ö]           7}'-îJâ                                                                         -

              jjofl    St%4 Ó- 4 S]-. FUS-E. 20044 3W 29ÖÀo1I- 317i}Oflh]I
      ¿:1     74'?J'ò fl* t}51, 4-ê                          3W 30314 7}1JJ j.EZ}Aft                                                   t}7]
         t]-5]-. }, 4W 1-10'4                                 7i4-      fl]-c 7]-2j-- uflJ o1*. 4Pfl]-
      5, OÇ Z]J2JOflA-] o]flfl                                     i}7]-.         W1 Ji#I12I -1 SDI
                           -t]o]A-] 2004. 4 26.°I1 71I*81-71..                t]-,   o]- t}F1 'D]t-
      SLAj',              SD' Ó}aIS                   .42j            ]SA]   Ìfl 3ÖJ2 4Ag s
              4.

                   ¿(J COT 2FEJ                                                                      AIJ

                                                                                                            Ifl
                        31126W                                                                                        -       -

                                      - ai??_7Ft            tJtt az          7FE                                          -       -




                                      -
                                                                                                                  -


                         3k 29W        2Oil2fI    &4ME         -




                   -     3k SOS1W                                                     :- -
                                           E4?CPT. t2l LPD. SOI                                       -




                         411 1W1 OW

                         4k -                                                                        -i / kaSd
                                 -                                    srio




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         Top Meeting Schedule
         - Date: Apr. 26(16:00H8:30) Top meeting
                  Apr. 27(morning) Green meeting
         - Place:. Shanghai, China
         - Host: SDI                                                                        (±2- 113-142t*)


        © 2004'd 4          26°-2N 44]2I

                      141'iifl 1]'                441                  4A                      fl flE 1,
      20041d     ZA        fl                                     i*               Fin                    fl4}
      t. ILiL 15", 17", 19"CDTi 2004\ï 4                                 7]-z9]      701S42j$ J--34,
      LGI71-t          ]fli        ìiL7-1JÇ'1st Tier")°11       t       *ThR}II }Ù}         1] i-2I Z17}
      ** &]%t}]. ¶IÙ}ITh                           Th A1I         *41YY41 a1*              7Z.E a. vflo]
                           5]%o]                    o. SJat] iflJ                         z]cÌ4j.           -F
      SDI      °]&A.1         -41t '4/26@W) CDT TOP MTG in Shanghai?, 1-17]
      7)-Z}%4 33754. óv1ÌQJ ..o]] sisfl               j.Jt]-
                                          '04.01                                    '04. Apr
          Mpcs;%           Sales          MIS        MIS Gap            Sales         MIS        MIS Gap
               CPT          4.1           27.7%       -0.6%              1.3        27.6%         -0.7%
               LPD         5.4            34.4%         0.4%             1.6        33.2%         -0.7%
               SDI         5.7            37.9%         0.2%             1.8        39.2%          1.4%
          3sub-ttl         14.9           100%          0.0%             4.7         100%          0.0%
            Others         0.7                                           0.2
          Grand-tU         15.7                                          4.9
                                                                                            (±      13-144.1*)

               Size                Type                        SPEC.                             LE
                15"                CV                48kHz, MPR, N-lIC                           38.0
                17"                CV                   MPR, N-lIC                               45.0
                17"                SMF                  MPR, N-lIC                               50.0
                19"                CV                86kHz, MPR, N-ITC                           66.0
                19"                SMF              95kHz38, 1GO, N-ITC                          77.0
       3E Usi Favor for ist Tier is al owed only for 1 Major vendor
        * ist Tier: SEC, AOC, LG, Philips, EMC, Lite-on                                    (±7J 13-1441*)



38) 19" 35khz, 19" 95khz    4Zf 19" P.LiE]t         *?7F      1l] 85        flS.a$ 95 fl.sfl.a9j fl* S1P1t}t'4,
                     iawj* 1re                              1* 4EfT          1Ài      +
       yjeÓj

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        © 2004\4 5W 6                     441 1

236                                   1I4J9j- Th&                 4-W   7fzj4J-Ò1         j7;] LPD             Aa    SDJ°I1 7f
            i4j- oIt,ofl                       t}si, c}4 5-W 7}2'lîPai-Öfl tfltfø                      ]Çj     -
      15"f 17"CDT                         2            9J-'j-, 19"CDTh 3-                 9j-j-ÙfiL, 3j7             -ufl-fl
       flfÓp] ÀJ4 LGizf flf 61] 1H$ Ef                                                           1?1                      *flf
      7]        Ù]tf4 o                       ÀJ       SDIÌ1 noi             -%                 JU2do1]               jJtf
       3. 4           J    5         JF9]f         i
                4      7F?jt Review
           - LPD: Delta, Compal, AOC SECOIIM SDI)F )Fi1                                        l5II       2LFUJ1          1I2
                    FLF6FLF )F21               tFO1 5JAFOII Challenge
           - SDI:                              Open i LIC )F       0It DET/DE )FF0I
                5
                          JFg C} eFfaF
                      )P°l/'F
                         L- O  1
                                                            fl                                                     tF01



           - LPD: 4                JF2JiH SD7E O4 j 40I V. 59I                                        SDI, OPT tjoU1m e
                     n fj
           - OPT: 19"Flat2j yFej-g 01J'4. 19 "Flat LI7FS
                                                      oC                                   C    ' 21e. 19" ESTS]
                +2$ ejthn, Elatg                       XItFAF.                                            (±3t i4-64.S)
            5        JV'°l            xIoI-
       W5             )FEli (15 "/17" +2$, 19 "+3$)
       © )FPJt ÇJ
           - OPT: 6EV 7]EI]'j+BenQ,                              50%
           - LPD: GEH )12lIi, 5W 50%
           - SDI: SEff 7leUj+DeIta                               50%
       © GEH 71aH?1(SEC, AOC, PHS, LOE, Proview, L/on)ii} {t                              7llltJ 7F5F:$1
                                                                                                     (±2- A114-64t.*)


       ® 20O4\ 51 24' 441-I

                      o]           ]]oflA1 AJAj    SDISI %-3Yf 7fJ?è-J'/f-i LPD$ flf'b& «
                                                                                                      fl
p37

       1* ttf71LL                                   LGJ494 tji7}21 7fl]Af        8]    -a


      ?*               tft1-. ö]elJ 1]SB %'                  SDI        1tWF          71°11 7fJfl f*tfa. ]-7] 7f
                    ì]ofl. -tf'4J 74* A îi'-tf.4                                          31v-H 1]tE 7H14 °1flf7]
      .-    *If4                           ¡7]A01%. 2004                   Z]-   A}. -t-         A]fl*40} ]9]7]
      A7qjOfl                          j.z]-- a. 9io]                   f9I%      1    20044 4-W4 &wofl Ztt 9L14JÙ}
      71..            Itl-1d 15", 17", 19"CDT }1*                                 fQJtj    ]   o]ugofl iffl4
                                                                 - 129 -
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     + Jc]- o]                  .J-Aä   SDIÌ]           4°] Olin *1 ..A]-01l fl                               74n
   ÀJAâ
           SDI      VV2                            f'    SDI D/D(Digital Display)                          ÓlIÀ] tSIA
0JFfl4 fIfl 31-Aâtj-                            1z}îi 'CDT Management Meeting (5/24)',                        ]9]A]    Uil

Th-.W £iÖ]Ad 4..                         -°1l     lil      i!11Th

   SEC 2f 7E21t
 - CPT: 6 S                      90Kg UI §8F? 60K011 EHt SEC                            P10(6/il) )F0I 2f £J1
    )f   UI Y±         - 6/14E1 11SE
   SDI0flAI         2F )f2i% )IH Q131}                              AI LPDOVth CPT2}                 0j di

 - LPD: LCESI AIJA[0B SItFeI SECS! SET Street Price)F £½11 3!                                          010fl 21)1 LPD
      2WtI. SEC 7F401                           iII ?kEf
                                       6/1 QIAF8E PHS, LGE                                 2F e}ff                Captive
   flE94O1IM Pay Back
 - SDI: 6/15 WflUF                    (15 '717" +2$). SECZ               71F       t                 1[B     .)I tU
          L7]IO.   M
   °IAAc
  3F 7F2i                 Fi
                         )P42i0I oojxpq B1 3'F )f'J
 - LFE, SECS!
   2iJE1                SECS!     i    )F?iOI            Ef MEU1 )f12FtS SF
                                                                                        OWl
                                                                                                    fl
                                                                                                    tfUl 3f )E
                                                                                                 (±f ]14-65t*)
   ist, 2nd Price-up
          Size           Type                      SPEC.                       Apr(A)     May(B)           Gap(B-A)
           15"            CV             43kHz, MPR, N-ITC                      38.0          40.0            2.0
           17"            CV                MPR, N-ITC                          45.0          47.0            2.0
           17"           SMF                MPR, N-lIC                          50.0          52.0            2.0
           19"            CV             85kHz, MPR, N-lIC                      66.0          66.0            -
           19"           SMF             95kHz, TCO, N-lIC                      77.0          77.0            -



 ® 2004\           6-     2      44

              o]   ']-1°PI fl}i-* %14                               F-         SDI$ LPD7]- flA].o]
7f74 îifl itF                         3O]            111 ?E U]Z]31 ]J L                                      o]fl
   I 7 1'-E1 15"                                17" CDT i*7]-* -I 61]A}I] It-                                          7]

E} 3i7Jl°il         2?            Qj'j-t}7].               t}t]- o].. t}fli-1 o]                           *°] 3Ì-
'CDT A]ï.A-]'O11 SII                            jtl-.



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             Case 4:07-cv-05944-JST Document 2969-6 Filed 11/07/14 Page 49 of 88




       3. SDIQ} LPDJF ::i               Lfl   .n2°u IF            )f    9F1 x6f              ?!oll dBfl,     ai        nE1k
             7I              7F      lSI -2 fl2WOfl EB1-                                        4 Ñ?Jfl2j             OflM
            1tFO1 UIE6ULF.
                                                                           O rl
        A
            -Q DI
       't. mu       fl AE
                5ç Ol   O                     ftH AIjg )1ItHM £E)1JO AF'"
                                              1t                      0qi -n--"i ?!2    Oju
             OI        JF   J@2I SE CF    )IlOIEF. 37flAF Th 1       OI          ?L2               t                           i

             W           4ÌcF. 15"2} 17' )F@ -t?1 6JIIAFOfl flfl $1 ct-s n2Wofl uA]llM $2 J
             -J        OJj2 OM 1, 2 2ZW ?I9I OIJF Ej 5I ?OIE4. (±',J- 13-147t*)

       ® 2004d 61 28-29°AtF 44]1

299                    1]1'i-& 2004\ThE -'iJli7l°11 Ó1.o                     -         -1I      Í-* I1-t1 2004
       \                                 '*- a                           f       «* ÓJ                        i, 15", 1
       7", 19" CDT1%°1l till Th I 4-W°fl i1- 7}'-411'J- 2]$ 5-w0ll 2l- 7}i-}
       tJ-ss         -vaF      ?1 Sn17}-              ilJ* 2F 7f7J,Qj} to}7
                  1l   71 15-] 15", 17" CDTA11* 74 44 1-11 îi-flF7I. JÙ]-
            tl-   0Ì         1Al rI1014AA0fl ¿ltlI                           JI4.
       3. 3rd Price-up (3j )F?iI)
            - Conclusion: Only increase 15", 17E
              (Effects from July 15th after succeeded from SDI to SEC 2nd time price-up)
            - Price Difference: 15" + U$i, 17"F + Usi                                              (±t 113-148t*)


240                      4I1            }7] CDT        -214                  fl 1 7-W 26-27fli t--
                       -Mi SDI                     43i-9          llè    & I 8-W 19-2014                          -      îofl
             **1 f-- 771.
       © 2004d 71 26-27'                       1*Z]-21


2-41                    0]        ]Ö]A-] -f-ä SDI, LPD, fl°IS1 CDT                                         iJ-t- ojz]S

             «]         ]9]cj]          9]     ]rq]        0Ö4                   CDT         }1Ì1* 7t}
       j 4J-'J SDISI 'CDT Meeting *a.'0ll ttE, -2J-& LCD 7}7-Ù},01]                                                          -cil


        1l fl?i            i7}    CDT      *1 2004g 81     A]'5                                                       6-W

       e      *i *                -- £° flj A}1 711 fl*
                                                            - 131 -
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      31*         MSF4. "]                      tflM                      'CDT  A17-fl'S1                              7I4$                    t1-4              ÖA]

      L ¶1'*°1                        tk1L Ö1                    AJ         SDI o]aLs4                                           F1 SDI .A]-Ö}]                  fl
      §1-       tDT Meeting 7A2}fl', tflH1 'CDT A]7Jfl'                                                                          1sflA11 aifl°1
      4.        Ì-A1
          2) fl*
           LI LCD 7F0I UF71l ttl2 2!SLF, )2J8F tFE4 EFE CDT                                                                             20fl Ol
                   -*LCD)E@               ?± J7H7Fe W-21
           L8
           LI
              01

                                      6 t2
                              WatchtFE]

                 Glass MTG)F Anti-Trust LawO1I(LCDAf
                                                                 -7l
                                                                                                          )       X151XI ?E                    1t16fE             j
                                                                                                                                     (tt 14-69tt)

      © 2004d 8-                    17'-18'4 4*1S1

242                                           41          SDI$                    LPDS]
                                                                                             A]A]-zj 7.]Efl7}7.Ó]                            tfl
                                                                                                                                            t-Ii   r4]s]]

      -C          7PJ} 'Ìt* k* 7À0]r1 4                                                                                              2I1L --'} fl
      * 1I4 9jS,a. **2 CDT 7}4 flft}4t1I -]}fl°]
      ó]  ]SJ LPD        T±Yi*    tJ OVfl', t}F t-i "Ì1} tfl}
                                                   7NÖ1




                            --j9 flA-}' -W-011 211 :*QiJ4
                2)I )F                   g Alj )F                                 I-EIi0Ffl                   tF7fl      e±         E              ZtEF.    fl4LF
      SDI/LPDYI- fl                 Lfl- 22Jj(, SEC/LGE)0II)II AI*J JF                                                         ttFXI ?42tLF. AIJ )F
      B                     ('M         )E            7It $23JF fcf,
      o CPT 7Fg §Ll]3i2                               SDVLPD 7FLF                                  cF. AVAJOI ¶1i ftfl                  2WE2I f
      40I 7Ft                    30IE-F. 0I2-j            LHYI     1tU CPT                        AI7J- 'F             eiF0fl V4!t t-j2
      ?!OICF.      17        t[l0             g SDI/LPD                     8F01                  flSI            J-           XIItFEW         28                 0j
      ç4. flI ?ESS!!                                                          0I                  F-- --7tF7I                    %0ICF.
                                                                                                                                                            fl
                                          0I                      31}

      o SEC»-                           il 2U1 flOfl CDT JF                                       LJtFSI ±OI AIJ0fl                           SDI

                                                      Ii
                                                                                                                                        ,


      tU JF            auf EJtFtU              fr-F        2                          On SDIOU                            [4                DI       3!0l[4. ['F
      aA-j SDI          }F          ?±F                          3itXII           -t7Tht1l  2I!F[F.                                (±t 13-152t*)

24g                     t1           AJØ1P 2004'd                                     tf1i7]9-f   2005\       Y         &2fl9±* eS1t1A1 2004
      'd    8-th11Y1-* -WJt}.ai 9-°1 7}'Y1-°JsHJ* fltJ-7). ÙJ-4 fi-,
      U]7] 71--4*fl -911 f=] W}71- r-}' 4e        o-o] tr]- ij-    ]

                 *3's' 7]-774 t}5]                                        *]iA1
                                                                                 L°Jt]-7]. t Ä]-'0 -îi4.
                                                                                    Wi4
      fl                    O]          AgA                           flt}4t ÇJa]4 4o]Ù]cu Ì1QJ 'via
      ?z'jj'3J'        ZJ                                  AE}QJ* 1]4s}7]                                     t}4             ò]2=a ¿JAa SDIS-]             a1II

                                                                                  132 -
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       ]ÓÌ« zEofl.'1                I-îiI4.
             '04.2H-'05 Price Management
        V Aug. '04: Stay current price (fl JF -g-XI)
        V From Sep. '04: Adjustment of Price Guide Line (JfJ0J.Eafpj
       V How to control in slow season
        - ist Vendor takes initiative & 2nd/3rd vendor follow
        - Price audit by weekly(°fl# 7I-JAl) base through Taipei W/L MTG
        - set up penalty system PIIAB Al±Edl
            Capacity control (fJ g): Needed capacity control
       'Short term(Ej)j -'04.E): Working Day Reduction                             4±)
        (More 3-5 days off/month-23--25 days operating)
        Long term(*jJl, '05-): Line Shut Down (j242j 1111±11)                                (±- 2114-7Ott)

       O 2004\ 9-              21'      }4]1

244                   J1%            2004\         371/1-i 44 I*-* 7}-                        ]i         21E 4
      A}1      2004\jE fl4$s]                      0]fl fl ;j7Jtii, 1-N 4*°1I                           r.flt1]A1

      2004'd 6-Wi LIt} 4 4 AF±4Î1+* 71--- 20041d 4trYÌ$ 2005'd 17]
      cfi 44 4 A}fl 17fl                     AgA)-4cj4           4*7}-                 s]-t]-.          2005\ThE.

      JA1 CDT        5j1Ç'50M")S 7}tHi 4t-4 J]±tj-7] #1fl                                                           i
      q-]z1Q. AA}O)4    4*A1i  }oflA1 1i-w ?4°]E 0W r]-,]
      1°141         FA,    t*flF] 'CDT A]flJiA-1', t'}F1                               *H'?t
      al 7JA-}* -Wi St1l
      '04 Capacity control guideline review
                               Plan & Current Status
      company              '03 Top    Current(B) Gap(B-A)       '04.04(C)   Gap(B-C)    '05.01(D)   Gap(B-D)
                          meeting(A)
            CPT              8.0             8.0      0.0           7.0        1.0         6.0         2.0
            LPD              9.5             9.5      0.0           8.5        1.0         7.5         2.0
             SDI             8.5             9.5      1.0           8.5        1.0         7.5         2.0
            Total            26.0         27.0        1 .0          24.0       3.0        21.0         6.0

       '05 Capacty control suggestion
       - reduce the CDT capacity among 3 makers to 50M in '05                                (±l- 113-153tt)

       @ 2004\            10-W 26°J 44191


245                   -]-& 2004d 10-W 4 49] eunÓl 4 4                                   fl
            ]t}        1fl          n CDTA1JfiAp1 4 4 **$ +7]- AA-401
                                                      - 133 -
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                                     4        ]t}fló]                              2004d 113-E1 -flfl 4
      ¿A17i71              !I-.lSHi, Pr'fl7P1-          '7}71 *Z1t]-7I..                           1t} A].Ó1             o]

      SA]              ]1]flo]A 4A                 .%A SDTS1 'CDT MTG MI                             g'o) st1       fjjc-.
           11      fl
       - OlOfi lit- 4- ijTh3J §?                                              4- l00K/)
           r    3ijî± Total 10       5.5M-'l 1      5.2M-*12            4.8M-*1      45M
           R&M
       -           vxJ Et7F W! VSI                                                                          (±Q i4-71t)
      ® 2004d 11                    CDT cfz}1S]


218                  39Jfl                  1'9A1 4 A]-.]                  zJÌofl tflj 17" CDT f1i7f74                        ]3iit]-
               -t-)] o]-         32.7JOfl   tJJSfl 4 AJ Zj-- 7?I°)] 3jflJ. 7]J-7]- êfl].o1ÓJ t]-
      7] lÌ4.                .     tf.g -A1.7]-                            317°Ì] tflt1]A1             7]-70] t--
                                   A}.-Öfl7] 7]-jt}                          4*t]-1 1]S4. °1                         *flF
       1              }3iA1* *tlI
                                                  SDI           [PD          CPI
      1. SEC 17" RE                              $48.90        $50.50       $50.50
                                                  [PD
      3. PHS & [0E 17" RE                        $50.00                                                     (±J- 1Ì3-158t*)

                2004\ 11W i5                 i-11

217                  o]          ]oflA                    a
                                                               jc-o] F7]- 4Aj toflAl *]iS 4-I
           4«4 j-?]t}a. *71*                      -i]t}               14- t}fl4 od Çz 9t                            ]t?ì
      CDT A]-VM* flt}iu,                                1P---i7]-                  3L                ikIIíè
      sij-u}%cf.                   -J-j SDI- z}-S                 =jLzlI2j a..*(Proview)°Ì] tfl1] LPD7]-                                -


      ufl*       fI]S1-      o]]
                                    rfli            1.410]       5)         O]..                  Qj-42.]        iLiJ]. 2
       -.-zf.- Jflf.. (%A]Zj) ÇJ4f                                fftfiL,               A}ZJOII
                                                                                                  }òFt1JTj- -flo]             i7Ij0]1
                                 74     t]S. -4* 7}t]- i}fl H±4-1                                                   V1atching

      Behavior')°]               18]-** '* S1.B., 2005.E CDTA ].0] 4 A]-1                                                tJ ZJ
      *** f'?izHi 2004\                             2005\         1-Wol]    11]d1 A4401                     ]&fli-1]j4         U}

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       CDT M/SO1I            !kt 3)FI 7IIAF9i               AIi        t2iOl   LHtH LPD)FL-bF2OR
                                                                                            -, - - SUFtfltF
                                                                                                     O      j0fl #jtl-
       0, CPT           LGE2F 71dIIi0il                10-] ±1J21 X1)[ ?.Jt           0IStF0 [H@8F2, 01 7IiS              tI1M
       XFJ2I flLfl
       O IIL                         )JJ
                                                  Ii   LPD2I            )F        31]LI]7l   c1tH t*kF         AI0fl, AIJ )F
         Iorc LPDSI                        -?1   X1IIt AIJ0I[.F.                                        (±         3-162t*)


           'IP 2OO4\        12-w 1           4z}-12I


249                 lt]AJø]--Q 2004\4.1°fl ?2MI AI) UIS yÖ)-                                           fÖflÂ       ]AÓ)7-

      *71              £I]7]-         -At].%3i, -)j             611]     12101]    'cfl} 7]7]-z4* 3°S}1] fltf]
      #1          t-hHI 17" CDT ?]7]-t 5O1.                                                      ]$ A}0]           -t]-
      ti-,    ]*Ç1J%           6tfl317-01]             tÌIt} 2OO4\11 9Jfl 7i. t}                               2OO5\Eofl -i
      --- z                                                                                             ni     n
      84%, fl-I 12%, LPD 4%, LGJ4                                            LPD 96%, %Aa SDI$ tfi tZt 2%
      .- -2.]tI-fl4 o-                           sL o]} A]*.                        HE1 'fl *?IJ1A1'i                            ]




      AIE 3i2I }P1 ?i-J0I dI7cJ$'iiS        AjjEIyJd cfl?j XZAF2I ;ie JPIg     n'-g
                  )F4-CF 7fl £QcF. CPTh AI*J LII [HpJ clIAE iiflSJ               M
                     It11 ti ßJfl 5i2W lk ;IeJFJF    ik 4°I I010P }r4n xMaFftc4.
      E!7flOflM SDI           SECS II JIF
                                          g
                                                                   E!        LFE $49         flfl °I        AOC/
      g cHk IAFJF       SF   $51MCF $2              nElLE LPD/SDI 120I 7F 21
      ¶Ofl IPJ AI)I)F 0FLIEt2   UF1         FXI ! )F1       ItPI UFEH VEt. CPI
         L-j 1E1 AIt&iO1 7t7F         $O.5O  $5OZ7E 2J&             j2jjcf.

      3I
           Ò12J
             ?F
                             17" Ofl B+D)
                             SDI
                             LPD
                                                          SEC

                                                          $495
                                                                   ti
                                                                   tSi
                                                                       EMC LGE PLIS AOC L-On
                                                                            $513 $51.5 $52.5 $51.5
                                                                               $50Ç1 boA- $51 5         -
                       4:    CPT                          $495          5fl $515 $515 4S*?!1*L
                                                                                                            (±J- z113-163tt)




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                         2004     t 9JS                                           2005
               1JIAF     CPI        LPD           SDI        Total       CPT       LPD       SDI
                SEC      93%        24% 883%                              12%        4%       t4%
                         1,407          383      13.461     15,251        1.572      524     11,006    11102
               AOC      61.6%      28.3%         10.1%                  .U4»'o H24%T
                         8.060     3,748          1.329      13,137      8,363     2.717       226     11.301
                                                                                                                FELCI.
                LGE      0.0%      99.9%          0.1%                     2%        95%       2%
                                   9,784                7    8.794         169      8.110      169      8,448
                         88%        03% 908%                               8V        5%       S7W
                           541            23      5.541      5,105         567       283     4.815      5,665
               WJ       102%       881°t          17%                     t4g       14%        2%
                           500      4.252            55      4.807          574    8.442         82     4,098
               2)0I     98.8%           0.0       1.2%                     99%           0      1%
                         2,620             -         30      2.650        1,683          -       17     1.700
               JIEI     25.0%      35.6%         39.4%                     20%     32.3%     47.7%
                         1.350     2,193          3232       6375           678     1,094     1.616     3.388
                        247% 348% 404%          285% 339% 376%
                        14478 20382 23554 58514 13605 16156 17931 47702




O 20041d 12-W 29' 44] ]

                                -A 6th         3L7J10]Ì     t1I}               1*7}A* a. vÓ1 i]3iLt5
 .,   z4%yfz           7Fa-'°fl tflfl                          , 2OO5          1-W°fl.E 2004'd 12-v t7]-24*
i**F]. jQfl4. 1141 AS}O] 'rhfl1 «t* M 7J-Alt}71 #i
Y°fl t1]A1.E Js17]-                                                -A    SDW 1°] ¿(Jay Jeong), J.H.                      h,

LPD          JR. 2-, 'JNN, t.}fl                                        -(B-       Lu), ill           II°1(Eddie Mei)*
7J-A}cj.Q. .)J1fl}31 4 A}S                 o].z]' i-o1]A1 nfl HN fl ** *fl 4
4-- -A8]-7]                        °]          t}*W1 'CDT AJUJ1AI's %-ã SDI Ö]AA.Q4
USB*1 42z1             12IA iiisJ 4 A}                                                                   ev-j 7JA]7
        8h




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                                                            CPT               LPD               SPI
                              AOC                                $50             $51              $51.5
                                                              550.5              $51              $50.5
                              SEC                             S49.5             $49.5              $40
                              PCE                                $51             $50              $51.5
                              LOE                                  --              $50              --
                              LOTh                            S50.5                               $52.5
     *J)l LI1@         671]    Jq522.         iTT )1 7F0IEF. LPD                         9      221J          2, Z9             Iil
     2F 81]      .flr2J2I 7I7F             7a1   X1]2f  9)201, n                           EF     2711 CDT UJ1I& Afi
                                  740 7R7Z4E ' Öl
          7LE7FOfl [EFaF XF?JSI )F-,  .-da        )F ¶OI  1t VE.F2 xUej-
     tFEF. CPT9-F SDI. L_fl---L- 0 2]tFg2LF OIa1t j2-fl 7l 7FZ1 i"1L 4
     jE1O1OF NEF.
     37!]     1l.]AF          12       7E    1OlLE
                                   t'I 4'4t11 JFk §f
                                                              C9I
                                                                   a(
                                                                              -7tF7l
                                                                            flQj         JI
                                                                                              tJ2I*2D1,
                                                                                                  f.Ít}9)EF.
                                                                                                                     j]2I      hi
                                                                                                          (±t i3-164t')
     i. aj LLfli 74Il
     OPT Lila:                ±         (-) OfiL]           QUOI                LPD cHa: J.H. Oh (iii), LS. Kirn
     (.k1), SD! LIJE: X1I01               (EIJ), J.H. Choi (M)
      EJ LVII Jfl]Ofl                   7f JAF        1-E1 7fl* °H
                                                       1                                  U&J?QE             2212]      1AF21-?t
     /421 121311 .74 121-a UHUEF.
     ng                 i3la Aj2]                  ta ttFOl aF2l Elli fl                               AFtr4.         ?tAF 'i9J
     -fl1             LFg E2}           -L.F. Q            4AF21, a
                                                                        crr    r_rr,     snx
                                  crr             -a-'-


                                  snr

                                                    uol._.1oI.          r      -
                                                                                                          (±                -164tt)


 (11) 2005'd.                 i44 'fl1-
<A 27>                                  2005½       CDT Y1-                   a]a
î1          7llflAl                             sIti1*                              %.A}                   t714.
                                           i 7}77}°1EFîi,                          tF, SDI,
                                                                                                       ±2- 12-lt* 3*
 1      2005.1.19.                                7A}?]                              LPD                     u13-1051t 2467*
                                                                                                       ±;Q     4-73tt 31*
                                                                                                       ±t 13-loen
 2      2005.2.24.     4AP         A1fl*4          t
                              i}' îi}*(l5": $1, 17/19": $2),
                                                     °1V14,
                                                     ]-*                             LFD
                                                                                                       ±'J 13-1671t 3541*
                                                                                                       ±t 13-lJflt
                                                                                                       ¿Si 14-74t* 3135*
 3      2005.3.29.                 4uII7PA*1, An?..H1 4*                           t}, SDI,            ± 13-l--7oSt
                                                            - 138 -
            Case 4:07-cv-05944-JST Document 2969-6 Filed 11/07/14 Page 57 of 88




                                    zJA}ffl], fl-±Tha 3-fl                             ±J 13-1711* fr-7*
                30.                                                          LPD       ¿si- 14--751t 3145*
                                                                                       ¿si- 14-761* 31'&-9*
      4     2005.4.13.
                                                                         t-F, SDI,          13-1721* 48*
                                                                             LPD
                                                                         t}, SDI,      ¿Si- 13-173-41*
      5     2005A.26.     4A}1       A]7n** fl                 Ö]S7          LPD       ¿Si- 13-1751* 87*
                                                                                       ¿si- 14-711* 3157*
                                                                                       ¿Sf 12-11*
                                                                         *     SDI,    -'si- 13-176-71*
      6     2005.5.24.         fl    jl1--fl-], -Y-t}          J*71I         LPD
                                                                                       ± 14-791* 3161*
                                                                          * SDI,        13-178-1831*
      7     2005.6.28.         fl       7]-Z4 *1,    kf %      f*7M         LPD    ¿Si- 14-811* 3172*
                                                                        (-e]4flS]) %j 14-831*
                                                                                       ¿52- 14-831*
      8     2005.7.20.                   *ni* ii                         *}, SDI,
                                                                             LFD         . 14-841* 31*
                                                                                       ¿St 14-ffil*
                                                                                       ¿52- 13-1811*
                           À]fl** fl
                          zf4i
            2005.9.28. 47}o)1}. -tfl,
                                                            o]tfl,       U, SDI,       ¿St 13-1821*
      9
                                                                        (q]s)LPD       ¿52- 14-m 4-831*
                                                                                       ¿52-14-871*
                                                                                       3197*, 319*
      10    2005.11.2.     -u1l7]-      9j-'-($ 1y-Q1       o]tfl        *F, SDI,          13-1831* 41*
                                                                             LFD
                                                                                       ¿Si- 12-11*
      11    2005.11.21.    c]x 7-J                               J7,4
                                                                         *}, SDI,
                                                                             LFD
                                                                                                     )
                                                                                       ¿52-13-1841*2101*
                                                                        (14fl1) ¿SI- 14-83--931*
                                                                                       ¿52 11-11*       *
                                                                         U, SDI,       ¿52-12-11* 2*
            2(ffi12Cì                -.-fl                                                 1871*
                                                                        (%]4]2]) ¿St 13-1
      12                                                                     LFD
                                         7P4 1} }1                               ¿St 13-l1* ZÏ*
                                                                                       ¿St 14-91 921*

       W 2OO5           1W Î9           z]s

251                o]                2004. 12. 15. LPD9I         JISiN°1 2005. 1. 12.-19.   A]-0]1       louA]
          ì]4- CDT PI7flÌ* 4 %1z]-°PII 1tis]-cf. fl                                   2005. i. ía LPD]

                                          1. 19. S--i V'] 30*1 12A]                   .fl-]*         iL .2.; 2
       A]   30-E1 7A]                  t&I          l#]E. *4F(Howard P1aza)1l11A1               14 £
       *         . tfl%] ö]nflfl             -7HF-°flÌ1 *]-. !EtF, 1. 18. LPD]                  QQo] %4
                                o]nJo] '4, 3             Y]-  4P.] ]*-i                     tJcfl 4
       A      2,          14        flÖ                 2fldfl i8]-7]. ti A}*                    + VcL
                                                        - 139 -
    Case 4:07-cv-05944-JST Document 2969-6 Filed 11/07/14 Page 58 of 88




As for the participants to management meeting,             I    would like to explain what we
previously consensused; We had        better have the limited attendants considering
securing the confidentiality and the value of the management meeting. (ElXF    12I2I
JFI2F UM ?iP±F&I WIXF XlIi)
Therefore, the following is each companies' mutual understanding so far
- Green meeting: 2 people per company(flj0I: IAFt 2A)
- Meeting attendants: 3 people per company(42ljiXF: 1AF5J 3i)
                                                             (±Q- 113-165tt)


            EEJ-, 11419J%-& 2005\ 2}i e]-i]p               A]        7}74 7}Ö]CE}fcu1            f#
uhÌt}7]. ¶4}JiL, M±#9i i}fl7fl  fQj       7J-A}t]-7]
                                                   4
                                                     ]sj 7flJÖ
L              tz t} ó]. 4J' SDI1 'G/S MTG flV tvv            e
i
                                              New
                                                                    (A)-(B)         10
                          Guideline(A)    Guideline(B)
     15"MPR2, SKD             $39             $38                      $1                $34.8
     17"MPR2, SKD             $46             $44                    aS2                 $41.9
    17"Flat TCO, SKD          $51             $49                      $2                $44.3
    19"Flat TCO, SKD          $72             $70                    t$2                 $63.7


5. Capa control
    - Capa Control 74lI F-UptFJI 11 Line Audit ?J
       4-iiTh'J 2J AFJ Notice VOI, Free Pass              EF1 Audit 7F* J2]
                                                           Shut-Down Plan
                    04     *-05E                       -05E ti)         -05E             6fr)
                         8)fl-*6.570               #1 or2(1 .0)                   #1 or2(0.5)
            [PD          9.5)fl-7.57              k%!#2(1 .0)                 FJI 0I#1 #7(1 .0)
            SDI          9.5)fl-7.5)H       -6i#1(0.5), fi#1(0.5)
                                                                                  (±J 14-73tt)
    49-1)  2i0flM       °H7FF ±i&F01 12-1Fi                            ¶iF01 ZJ-AF.
x112R4 FF        F8F0k                     t2M]              2tAF      7I2itFi 7F*
New Guide Linet7F tFJI                       ilI2J LFI     l52t1 MPR2, SIC         24
  4 7I $390fi.k-] $12JtF! $38 JF               tF2, 17E! MPR2, SKD            2] 4
$46011M $22jtFi $44g AU        7FJF0IEaIeJa            fiLIEF l72i Hat, TCO, SKD
      $51011M $2eJF! $490fl t0DtF7I                    199J    Flat, TCO, SKD
$72011M $22JtIi $70011 JuIi&F7l   tFSLIcF.
EEF         AflJ2]24 ff-3o1 Z]-AF      2J AF3           VOI    E]iiH±(Free Pass).
                                                                I


.ja9jol )Fgfl VXI             (Audit)tF)I.    I2]tF            )IlLIEF.
                                                                                  (t- 12-itt)


                                         - 140 -
           Case 4:07-cv-05944-JST Document 2969-6 Filed 11/07/14 Page 59 of 88




      © 2OO5            2-   24          41-1

                     'itJ%& CDT -171-$ Ft]-0l 15"- 1f4, 17" ,ç 1Q".
                                                               .L./ 1- 2

                                    4 1*7]-                                                 11 ¶1 CDT 7F21-& ÖHP+
      4°] 15" 38EÌ, 17"FST 44-, 17" 49v-a-], 19" 7O] W-°]4 %, iJ
      °J-- 1]P1- -917]-4°] uJJj.         -c] r]8]  t]-3i A Al-40] çF*7fl1
         Jto] 3Zl-t]A]. JS]Ù}4 0]  ]S] 7]3jQj 4& 2 14° LPD1 O
      c- o]n, tflLVI-SI                       'CDT A]fl'Ö1I IM

      Aj         22I 6FtS           £JtH, 74 XflÑfl                           tLtEJI III M.             E-Es 20fl71I 474
      7[24       £JtFtFI 9ÀLF.            ,   17"OI )F1                  J0I £HE )fl0ILF. AIj0flÀj            -2 AFI7cF
      LE       J±                  'tPI q4flA-         2Ofl        fflQ 6711 .flOfl [Fk 7F24       r4A1
                                  7F24        15"2]       $1, 17"/19"2]       $201[4. AI5j ÌW0I 0itI
      ¶tFE             3     )j    tf 00fl          EHtflA4     d       )F-7c o-,-i.=
                                                                                yçAIOfl 1I2!J
                                                                                  11          0ILI- AIj
      d7TUI ,Aa                          2Jtk -                        ?2              t2iVE-F.        (±33- 13-168t*)

                 USD                AF°J                                               2     t4]O]E   5f0]
                                                          7]-7f
                    15"             B+D,MPR2              $39                          $38            -$1
                    17"FST          B-i-D. MPR2           $46                          $44            -$2
                    17"             B-i-D. MPR2           $51                          $49            -$2
                    19"             B-W, TCO              $72                          $70            -$2
                                                                                                         (±33- z)]3-168tt)

       o 74                       KEI2            7t7E           )V?J2      nflOfl [Iti )F24       6F52 91-F. n
             EILF SEC /i± I2E1 g                                       M0B 9IF1,       AF    XII 7F24g n Lfl
             J4Efl     PitFOI 2. ME-F [4 2]tFI     tÇ9] 7F24OIVLF. SDI/LPD       2H1 17"
             JIeJFMLF J±± $2-301        g  n    LW       JF24   XE±tF2 V4. 15"Sj
                                                                            21J


             24 40I    $4-5V1-XI     E VE-E. flOUE         Ffl, CPT& 2-LM !i
                Vla m- j9U4, fl7I ?2ì
             bfl.JL-E                          ?1±   AlI  )FQF XIE 2E4.
                                    Jj: OI            I2I0flA1   7tH                       0fl F, 74 AThU 1-Ej i
                                                                        moIn oAi='
           -71121 -faF2i     71AI 3!OICF....ÂFI, iizijg CDTS] =-,.
            fl 7II$HM 7F249J8F 2tFn VE-E. LPD
              ItH 274 *ke.FeJ                   I9I     fl
                                                      j2j01IM 4
                                                                AI7SE
                                                                    -'-Ioo=Je
                                                                             l-i o lia
                                                                           3iLM
                                                                       i7J74n '1IEEcF. (f2joflA4)
                                                                                                      -2I     AI3j2    6
              j0H                   AItE        3!2.             21V[-E.                                (±33- lI3-168.*)


254                  na. ]2flA]             z]Mo]M t94Aofl st]-pj o] 1SI 7P]M 1-ì SN
      --b] 12A]/}Z]               7]-E fl*(Pa1m GardenY]]À-I *A2-°J*     i fl- 2-i--
      9        5,']7i}z]     r}]2 uO3EjoflA1 CDT 4]-]I7} 7l1*]V,*°] FÎ'*.

                                                           - 141 -
            Case 4:07-cv-05944-JST Document 2969-6 Filed 11/07/14 Page 60 of 88




             %}4               O]Ó]]      -2.1tj    4 A}.       iAM711 CDT         'IF**$ 2005\          1          2
                     WAgs              4ufl}9           fo].     f9ju}%4 Od ? 14.
                           2005                         05Jan                                05Feb
                              Agreed
             Mpcs;%                       Sales          M/S         M/S Gap       Sales     MIS       M/S Gap
                CPT            28.5%          0.9       24.0%         -4.5%         0.8      24.1%       4.4%
                [PD            33.9%          1.4       35.1%         1.2%          1.2      35.7%      1.8%
                SDI            37.6%          1.6       41.0%         3.4%          1.3      40.1%      2.5%
             3sub-ttl         100.0%          3.9       100%          0.0%          3.2      100%       0.0%
             Others                           0.1                                   0.1
             Qand-ftI                         4.0                                   3.3
                                                                                   (±7J 1]3-167t', 14-74S*)


        ® 2005d 3W 290.300 cf4]s

255                        AJo1fl 4 A})               u1]fl R                             flÜ}fl4 °d'? gui,
      2005\4 279J +fl cl]F                                      1]   4-°11         4i* *1* LI'
      -W 2} Pr'i7}'-4 #P?-1               I* ?PDF            ].1* 'f}71.. t*°i f
                              Àfl'flj 7JA} è}' Ó1ø} !kNE 2ki71] AAJ4CJ 7J.Ojö]]
      7]-u-C]       171]    -f'?JN* ]1]t}7}.           tSI4.
                                                      °] 4k-   SDIS] 'GIS MTG *flV
      o1]   9]t1]      f9J4
      4.flW$
      - JI2- 4                   tJE    -7I     Í2L

      5. Capa Control
                              4E [fl9I                Meeting         2l/PJ        'F-Ii)
       - Capa Control 31l1             F-Up8FYI        -If Line Audit         Jf
        a 4E1 NoticeVüj, Free Pass.                         E2J Audit        AI
      - )I           241 2nd Step Shut-DownP1-, ÇJF 1)flaF?j Shut-Down.     I9I
                                     F9JJ                     Shut-Down  Plan
                                                    ist Step(ifl)       2nd StepE-6Th
                                        87H-*6.5211
                                                                                           *iÏtLIi 12aF9i
                     [PD               9.52fl-*7.57M                 4flLii                    7F PH
                     SDI               9.53M-7.57M
                                                                                                (±J- 1I4-75t*)


256                   n4. *]îf--& 2005d 4 A].o1]                         -'fl A]3fl*4O]              4-}5i 5*e;i
                    flO         A21n --flS]$                    tfj 4 A} 4A]- fl4.- zfl                         ,   j-


                                                         - 142 -
            Case 4:07-cv-05944-JST Document 2969-6 Filed 11/07/14 Page 61 of 88




       c-4 t-oflA1 A]                                        t}.jo]Ì fl}-" 4**'lÌ 4Jflt ¶7}*fl -îi- 3
      *      11-4. ETh 15", 17", 19"-     CDT 7E          ±-ThR iflF
      7J- 611 íLk}7fl -uEÌt 7J-, 6CJ} iLt R1S  il2H7Ì %1IN+- Y}* AjJ
      .-u}o           ö]-eflf 4°i ¶]t}%cf °Ì                                                          *flFI P1'P* n °iiit tflf
      2} 'CDT Z$nÀ9', t}$ J-'j SDI}                                                                                S]t                                                   so]]


            - 05 -tt                            tal,tl                                                             4' X1±2 5-,±*I
                                                                                                                  'I 4l1l 1M.&ht'1                          lfl1F
                                                                                              de-ci   ta)

           M&-M

                    7.0
                               o5 I



                                      -1
                                            'fl-I (1*)

                                                                       r      O6



                                                                               .
                                                                                        *x1


                                                                                        -
                                                                                               *)                      -   JAF           -Ç'F

                                                                                                                                         SDI
                                                                                                                                 J .I-tcfløl
                                                                                                                                                   %l       t)
                                                                                                                                                                   LPD
                                                                                                                                                                 J.S.Klni

                                                                        7.5        -1
                                                                                                                                         Cn                        LPO
                                                                                                                                                                  J.H.OI,
                                                                                                                                   iicì vuoi
                    u                 -, ce                                             -.      ttl2
           tiM!     244)         -3fl
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                                         5fl fl(543                      -
                                                                       21$     -as
                                                                                   -
                                                                                                                                          N flOi 's
                  -ze' w-&-e-i -aoi1 .S-S}lt-                                                                 -1?AEitI 7LS1
                        'se Gi 'yF7
                  .2e,I-ol!                                                                                       t-qe it        l ofi    -i :ti        Z

                   1S!                                   Jal.t]-C-1




                                                                                                                             <±J- 13-1711*, 14-761*>
                    71-a ;q;31                                          J1j-)

                                                                       11l                            621'JiflZl                   ti1M--                        #.->
                                                                                                                                    4a6'1jf                      -a67flAf

                                  J7TMF$
                                           ir            SI-12. Nl-rc, MPI
                                                            N-lic. MPR
                                                                                                            US39
                                                                                                            US-45
                                                                                                                                         LJ$3S.5
                                                                                                                                         Usll 5
                                                                                                                                                                   USaS
                                                                                                                                                                   UflA
                                       lrp                            N-llC.ME'Ñ                            USW                          USa9.5                    U549
                                       19F                9541-tN-.Ic1Co                                    u871                         U$7O.5                    1)570
                                           w #2 671] Ji-: SEC, AOC, LGE,                                    fl,            ±, -}°I .&
                                                                                                                             <±?J- 13-1711*, 14-761*>

       © 2005k4 4-                              13°J 47}-]


257                       01                    opi 1IJAJîi.& 4-''P1                                        jjxl]o)}       rft} 15", 17" CDT i7P*
      4*$ 4o] -7DFt                                                     o]              4..         ½1J-°1       ti-7-0H -1*     hI1YP* 7j-
      oju}o4 4Aj2J $117}-4* y                                                           afl}4               ¿E011Ai oj.ofzj 0Ìcf. o}                                        tfl
       -          *1101-.-                 7} 4AätF                                     fl1°l ¿]t                   -î]«P*.




                                                                                               - 143 -
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           1.
           15"
                 SflF-.SEC
                                  $36.90
                                                                                2.
                                                                                £5"
                                                                                       SDI .ae$35.50      baro DI OU U
           17" ES                 $43.40                                        17" PS           $43.50   bare alOi U
                                                                                                          $6.5
           17" RF                 $45.90                                        17" RE           $46.50   baro ato, U
                                                                                                          $6.5

           3     LPD-*LGE                                                        4.    LPD-' '2I
           IS"                    $36.50                                        is-'
           1ES                    $4t60
                                  $46.50
                                                                                17" PS           $43.00
                                                                                                 $47.00
           17" RE                                                               17" RE

           5.  CFTT-.AOC                                                         6.    CPT-'   'o,aa
           15"          $36.50                                                  IS"              $37MO
           17" ES       $43_00                  bare 0101 U±                    ¡Y' PS           $43.00
                                                $6.5
           17" RP                 $47,50        bare 0101 LS                    i7' RE           $4&.00
                                                $6.5

                                                                                                           <±3t 13-172tt>

 ® 2OO5d                  26'J t+4:1

                 0]%Ó] 2OO5\                     ¶                    A].3fl*4             4 A}. ?a. 4.fl                Aè


   77Jtf3i AJÒ1 7JS1]                                               tJo                fl7JA        .A]t1- A0Ì fiktcL
  Th 17" CDT 11'}                           tcìJ, AJ-.jZ]-, LGI4     61] ji9ofl a1*} Y'*
%'7fl}T     i}7] --4                     :]9I011A] ,fl7,B,  À]fl 7].74 7}Ö]C.flj4   t}7].
    tt] o]. ]1J ]S°J7* flkF 011Ó tflFSI 'CDT A1',
 ]2.]-A]        flJ               Jflo]4 4fl s]fl f'jJ4
                  r.,.,     ,     W111LiT

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                                tPO                4.245G
                                                      07             4.03«      cx
                                                   652?         .


                                                                     6,100 SoSO
                                                    272
                                                                     4.D74 Ûatt«
                           - ¿ro                  U lOb
                             20T'"..,                 7              0.712
                                tiu                 370     -          202
                                                                                  fo
                                       çwz,j       1,;0T
                                                   2.247             4,14,0

                                                                               th"

                                                                                               <3t 13-175t*, 114-77tt>


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  © 2OO5            5-      24       1*4f
                      jt}czj 2005'd. 7-}1 °1ì L14-°fl af.4
                    îi%E
  -s18fa, AJAj %41- fÛfo4 7J-. Ù 3r71i tfl     51 ¿fl], LPD
$ ÀJAj SDT          446.51 Hi* *1* 'À* -Ù4* Ö. 9J2-, tsI1ÒÌ
                 5 %t41 j4c 4ai O]] F1*?- CDT 4411$ M}1-4- 4
49]                                2OO5\         tJ9]tJ 4 A}'                  **                          t}cL               i
7" CDTI jOA 6th J1                                        -49]                  h7P-*           7E!f2Sr]      HJIO11
Zij7} 7Pt}°]4 *1tFd1 .iL                                                44 *itF1ii S}fl4                            c]- o]
t SIM tvvô] ]--ThI t]-11, J*                                               'CDT GIS MTG MflV, tfl-1
'CDT                     A}', .JAa SDI$               }S]                            ]4j z         -c] 9]

2.     &M P         WJ
  - 7flV 7I5I?J e7F                          LXI    t2l
  - 6) 'i7F9J-t' Xfl2I2LF 7JJ4                                '2F       CAPA'
      LW    '7     9J-,F'   Ofi    Lfl     61* 42I °fl1
3. Capa Control
  - 3QVXI 3EI-7 4j J2J
                                                                                Shut-Down Plan
                                                               1EF2l                   2Et2ll               3E17H
                                                               -10                     -20                  -30
                            8.O(4,0O0)               7.0(3,1 OO)                    6.0(2,6O0J)       5.O(2,2O0)
             LPD                     9.5              8.5(!a1)                    7.59RDIa1)         6.5(FJ1lOLA1)
           SDlIF)                    9.5           &5ÇU/Ni &a0.5)                 8.0(uFiA0.5)       6.5(iM.5)
            ()il)                   11.3             10.3(iA1)
                                                                                                       (±jj X114-79fl)

  f54-1) 'I. CDT Sales Update'                            '    Il. Market Share Reivew'eMO1IA1                 I9I)H1AI
7I         Zj-AFSJ CDT            fuflp               2JtE2 2005aE I2J ZjAF                         Al*j-OflJ4               DF

           OlF7I nl C                       2ItF2SLILh#°flM Olt EJF     t2Ii            OOfl
[fl         1AF@ fl vij 0Lflj°IIJ1I 9itFJJEAI-
                                                          LlLF.  'Ill. Market Informationofi
A1         5L i1211(SEC, LGE, AOC. Lite-On, Proview, Philips)OIl OeJ-HL. 17eii °'/i°i                  I




2LJE1                       1              Th NINI O1Ofl LHH       t9LIEF.
                                                                    Ì    7fl-
-J-iSDI&                        F(SEC),            f31lJF V2Ï1, LPD
                                                   (Proview)2F        LGPcF     ME1
(LGE)2F            I±(PhiNps), naht SFJ AOCZ aol g(Lite-on)n »EH'J 71IOil
                                                              (±?J- 112-Ltt)


Ø 2005d 6'               28'       44'19]



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260                     -j-o] 4 A})
                             -uÙF                     jJÙ}cr
          2OO5\ 7-V'l-i o]3 -171-'* *1u}7]. t]-n 4$ t] Ù}ij71s1 A].3J-
      +S-  tL11Sr8j 41 nÖfl              fl
                            AVJ* flt}4 -o]} o]e%4 ' i
      n. 4 A} 15", 17", 19" CDTS1 n p ilt flItl.ctl                                                                IA11711


      !          f9jÙltl,              1- 312U            4fl             E ntfflol HJkIc] o]Ç o].-
      7ÌTh. 20051d                    t1k1           **°Y'1I °]1--                          7t}%3L, 4 A}9] CDT A
      AF4Ö1 7J4J2 O1tfl74 tÇ             tflAj *9]t4 °1                   olJ
                                                                                                                         fl}t
                  °fl 71B 'lI*$ 'CDT A3jjjLA]'      J--â SDPI 'GIS MTG
      M.V, LsIcj-A1 IIM izJflo1M 4fl        :fti:It*.
      2.E&4
      - 7I2. 7W)Pi e7F                             .xI    t9I
       -                Fe½ti VV2LF, tFY±JI 'LCD Capa7I-' Ofl [EE.                                ojg %Ji ±*
      5. Capa Control
       - 3Q2474 3EF711                 I2I
                             aj!j !
                                                                        Shut-Down Plan
                                                                                  2Ef 711                  371l
                             04L_IUF
                                                         HO
                          8.O(4,OOO)                7.O(3,1OO)                  6.O(2,6OO)              5.O(2,2OO'i)
              LPD             9.5                   8.5(Í        1)           7.59('UI       1)         6.5(I&iIOV1)
            SDI(TclIt         9.5              &5(VJ-'&aU.5)             aorJ/ans)                      6.5(iL1.0)
             ()1I)            11.3                 1O.3(A1)
                                                                                                          (±- 114-SlSt)


      ® 2OO5d 7-             2O   44]1
261                  ]AJO1        4 A}9 $nhÌ3t                        B'U AALFI?1 7}*è
      Ç, 2OO5\           tfif7]i                         fl
      41* £I('TOP MEETING')* 7fl1t]-71.. tf4. o]                                                   SDI     *vv                   a
      .Qf    'G/S MTG        Mfl', 19PV                               Ì1°141.*-             i iB          i!I1*.
      5. TOP MEETING
      - 3t T*                                iOI              tfli2           /*ei                                tdfl       J
      - 8B* TOP MEETINGS                           FO1   I'             ICH       J                9I     (±T2-      4-84tt)




                                                              - 146 -
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      © 2O054 9-           28        44]S1

                    14Pi%ê 20061dE A1**4 AJ-Àj SDI 38.1%, LFD 34.4%, tfl
      25.8%          '}7Ì. tJS AÖ] t4 9d'I- Ó1. 2005\4.E ¶2].J 4A}                                                         sJ-



                     A â11--1                 ftF t-]°14. n4. 20O6d»-t1 4
                       4   3i7.fl.- 2IAHI *flM] 3i7J                                          7j4fl 2utfl
       2. 06      M/S Allocation
             06    31± Total33.4M )IE, SD138%, LPD35%,                                     F26% M/S         2]
                                                   05       M/S                                       06     M/S
                                                            fl              ÑFOl               J-2]
               SDI                 37.7%                41.0%             +3.3°%              38.1%              1 28M
               LPD                 34.0%                34.4%             +Ø4%                34.8%              116M
               CPT                 28.3%                24.6%             a3.7%               25.8%              86M
             06dEl 31±91 4fl                 -j3fl 522m 2Vendor System E?iO1I                    II (± i4-87t)

                     .Th 'l4îit                 H11 tS1]ÂÌE. CDT -M1-TT°fl tE. 7f
                                            4fl]-1
      747].j              fi        n]-5;-, tun   t} 7fzj'i- rofl                                                        t
      -W-S--          tf3i 3L7JjA}           7}}1 ¶1* *4}71.. }L n4.                                                F%' 4*
                                7]ê        S1+°IÌ                7FtF°1   2006\j )j7]77}               4 A}         OE5-1i
      A4}O1f *±tF7].                          t}c4
      D F7 i1                  'tWOlI Llli 3iith          2IAE%
       W )F°1I LHJ Process                         5Ì
        r    Bare/lTG          )F)lOI                   4j-6FO1 2tIEj        ]j2f2i Negoll       Ial
       © CDT Maker 9! Supply h .NlLfl                     I±4        AI
       © JF2]I                      [flJ    LlE1          lI AF!          ?ÌLH         i
        L JFEO1l IJ Supply-Chain *1                                t,c; )F1O1I [FItH 2LIH             J1l
            ELIEI              )F      Balance
              Q )FOl           g        (AOC)            E-J JF4,                  F
                                                                                       ir-i                 (&YJ 14-87St)

      4. Capa Control
       W JI          2IJ               05                   YF 0.5-1311      I-2j Shut-Down           2J
       © t4! )1l1 OI1                  F-Up 6F21          1t 24 AJ Line Audit 'JI                           (±- 14-B7tt)


264                  ti             SDIS+          fcfo] J4jfl 4u}]%fl                                              * Wil

                                                            - 147 -
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A}-Ö]            91fl,          flf]           AJ     SDT1 A}ZJ               tcNo1 tAa:1;i1: L4 *7f A]
 94 ojo]] tflu- A]YdO] OG]Z]                                    OtJ     AJA SDI        tflfI Ji]îi AOC
 .fo]E.ofl                      k]7]-tAfl      tflF -1fl #]*A1C}                                    111*0]           7]91Cj-

 SDI         CPTQI SEC                   j[flOIl EHtlJ 'J1tF9l                         !E} SDI           fljZi VdtI
 fl[-F                AoC/aFoig J '2 flWi-F                                       Mi OlaFfl ItCF. CPT
 SEC                     aljl -itii nial tFXI ?2kLFi!                            itI             SEC7F nial
 ?!OJLF.                                                                                                 (±J         3-181St)


                 o]                EnPJO]]A1    J]]d            ]3i4J- CDT F4]ÀI, -Mi SIN-QI 'TIN
N,          tZZ, LPD9I t1 S.D.                             tfl-1 Mr. t(Zhong), eJ-t                                 7]-           t}%
t]-     ö]. 41    SDftvvl 2pa 111*4 'G/S MTG flV, *fli] 'GSM
              ;4 ]S]' -Th SDIS+ fljsj xz]o]« i--o11    1-214.                                                   ]




  ü31    2005'd 11              2V   44]O

                 o]       S]o         14]%            n7JOÌ] Jflo]                      CDT 7fÓflA1                 if* 21
-jS}7]. tfQP1, flA}                                  fl3"-H'fl 7}21fl                               t1t]-3i
                                                                                                              t},. 3I]QJfl
ni          1CFA7]         1121t} A]-«O] 914                                 7}W.Afl 4. í]A]0].]                    -ii]* t1
t]-               O11    I1]A1                 Wî1 A]--914. °fl:: CDT }fl flARfOfl. t}.
'Ì4IJ1                  iL7-l1-&     17E1 -W-7Ù]-7] WZ}.   -A]z1, tA]zj -j7-  ÜF91** od
      914. o]                             'TA-]'O]] 2] :f9j4.
 o §)l Oi                                       7cfl [E011 UlO f1711               oCF. All jAFxpg E43F                             g
           H )F          JIOfl [USI] Ultfl-           Ol   ÜFW4. a2Jjofl -ftjgQol )FW@USD 19±                                OIAJ
        SDI7F Oj                SEC/EMCOU CH               JF         £½J-       Ó] §lf                             LPD/CPT
      q-j                       1Q      Olr4.
            JF
      LPD EEPJ fl2J fl                   L          .fl22J LGE/PHSOJIJJJ          OJ       LJJOjJ    Jf        j'j               2flf
        3!oja 2UFCE.
      SDI)F           17F aog 2[tl                         ?!OU       LI]Sfl, CPTh 4± j[fl 2IAF                           Sj51      Efl

      7FZ                          ?11 ¶ä1SF2W-F. nXl ZL2j SECOU                         UH                                      Olc.F.
                                                                                                       (±1- I]3-183t*)


© 2OO5\               11-W 21V       44]O]



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                               QJ-S. o]zj            11cMA1               Ì-fl} R-E- CDT7]-74S1 i
 t1o1n %7]-4fl n f''js1-%,u, o1*gó] Wli1iî '1'îi°fl tfljA-
7}fl                          -i     ]** F'1**                            ÖJ
                                                                                          14 o]             J-Aâ   SDI tvvS1 ia
      jj-               2-A]            :1ziiii«                          t*I--1 'GSM ]1' i*1 7J$nA1Ö]]
s1              FÎ1I4.
            p42Fg 2g il240fl [IJtft g! 0ltH ?t2 2LVLE W EFJ0II
          Ell    Aft

     01, 21E ;fS 11E1 $1/PC 2iFxFS 0IELflE1LF CPT9-F LFD k0I AOCOII
     cj            2J*J&FLF. SDIJF )F eiM   LtcI pg 7,iOfl fl811, 'J!t
     CI         12CF.
     SDI               M 2t(AOC/SEC/                           WOII            flÌ e0H)F0I CPT/LPD                        cF     7I    ftH0]I
      t0U)F             eJI EHk '±OI 2V:Ffl                                    i*tI1M               j-tF2CF. SDF
     AOC
     §g j-Ej AIf
                        O]I    Lflfl 7F
                                          y
                                              2J
                                                     jjfF? ?IUI ?!0IE4.
                                                                 9ItFEF. E± SEC/W
                                                                   1fsH CPT9-I- LPD SDI2I
                                                                                                                                 E-Fe i1s21
                                                                                                                                       0I
     0lE1i                         LQ   ?0I[-F.
     EEJ LPD                  LGE7F 11       7f           2iJOfl Lli 2- 0101 4'-tFLF2 #itFCF.
                                                                                    (t 113-184tt)

 © 2005'd 12-s 2O-21R±                                   '*41
                        4JiS 2O05\.                                i71$ H}]1 4 A} A]-'fl--4j-
20O5\                  ii     Apfl***               1I-t}          1 .9P&ì1               I-4} fl4$ U ]31LÜ}fl]                                 -



Qj.c]-.                -'i'$ 2OO5\4.EÌ                                         **ê     1]74]                                   25.5%, LPD

335%, AJAJ SDI 41%                            l-}E}4.                tJ, o}$ 4°1 CDT                               -ufl7.z1           * t1-]
?'7i.                       ¶4 ó]
                                $vv1 ÓJU *4 ift, $7fi&PJ  AJ       SDI

LPD2I JNN°] 4    71-4°fluIÌ jfl      ô]nfl, fl}tl     71E                                                                       '12-w

CDT GSM ]i'   i«, -tJ-ä SDIS+    }f9] 1I1°1M 4fl ¿1811 9J

I. 2O05           7-f Aflfl2]              'U MIS fl
                                                    05      tt7I               O5       IPI
                               CPT                  23.9%                      22.4%                  25.5%

                              LPD                   35.5%                      31.1%                  33,5%

                               SDI                  40.6%                      41.5%                  41%


lu. 7F
CDTSI 7qJ 4J ?±±
                   S:
                                                   0101
                                                                     °
                                                            eule m b.Ç    '               m A1I0lC.        371]         7P4 Ft
01 42
           AXf
                       ifl 4' V201 fl -°'    ,
                                       o , °tPk?J
                                                                                    jgjfxI
                                                                                               F7
                                                                                                     yj
                                                                                                          ?0IE}2 L2J 0IlltE5i V
                                   2-Mffl îfZDfOI Jf                      JOff                                df af.n £Wf.
                                                                                                                      ('1- fl3-186tt)
                                                                    149
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  t60-1)         -i fOL- 7I1OjI
                           L-   7HIi          I2IOII       [l1lI JaJ Lfl@F 7121                     AFtF71I, 24/421      }UH
                        'CDT Sales Update',         tDUiO! 7I2li 24/4                                             5tltF7I
 nJej
 Ulme -u°I8F              Market Share Review', AIjEW    FOIl [[FaF W                              7F7        O1ltFfl AlJ
JF'              SteJ      LR)F VbXl      2II Market lnformation'2                                         51°L'E.Li.
                                                                                                                   I




                                                                                                          (±I- z112-1t')

  F25-1)          i jJxg 2005L1cL_s
                                 7E ÁL         -J      I       L-
                                                               1All71I
                                                                     -
                                                                                                  t2I1H       Ol21       V
                tFLlLF. 4)F7Fg                   LFD DI
                                                      Ç AFMRnI0I
                                                          o.aL'I-i 205                              *JJ7I, 2005       tF
JI            2005E
                        I 2RE7cI ° ° °
                        ?51ÑU Alo on       71ISLILF. fl     F 2005w                                      Al°a
                                                                                                          o O )T = MAI
                                                                                                                   L_ O O
SDIJF 41%, LPDJI- 33.5%,                -FF0I 25.5°/                      J71IEI2SLILF. 6FXIY±, rEkAFb EF                IJF
XF2I UkF                flitF)I   iHH     AI7-l°           s
                                                           A. tJ         2LIcF. 42fjjAjo1I [[Pj 2005d
6Fj7I          tAF2I AIj°°° Alti
                       JTC e,'II                    LPD9J AljTOfl E-                             flLI4 .....fl21j 4:2
7F       2j tF1tFeiM 2OO5                AIJO1I &]EE                                    0j     V217IE,     12I    t7FXFOl
JI2I ÁjJ         .XI&XFfl Ì2I&H 4Efj                                           cF            f24±             YfJF V2
30jaF    z4jLq. 5Ek, frl CDT AI ?fl0IIE                                                      tFJ 7FUF            gtj
 1    71X11     2'oIi r4Jtjo-,"IeC
                            ycMnooc'F2LILF'                                                               (±Q 1i1-1t*)


(12) 2006.E



W 2006d 3               13'31'-14°J4 4*']1

               '-t]J-°] Zf A}-Ì] -} 4ufl 4 fl4-.                                         7J}        ó]zjol]      -flJ 2006
\ fl i**'F1 }o]- HN** - í                                                      t]                2O05d 9-W             ]3i]-
CDT 441a]op1 t9ltì- 4 A}91 AFtFEe t                                                      t$-. i
                                                                                          JÛ}4.                              j
si]4j'j%o]            Aä]ÙJ tTh-fl J-S]                                   fl}a. ó1z tJSJA}tJ AflfJ
                        Ì-- F?J* 4*                                                                                          i
4Ji
     7flÌSÌ
                *-    fl°1] tB * W2J    t'}F* LPD7]- AJAäYcl                        -
                                                                                                 42i AOC°JJ tJJtJ


      -è* t1- tflE. -J- SDI7f AOCÖIÌ tfl- A4 t1-71-. flcf.
ti-, LPD- t   }1] W--ì it4- SDI F- 14
 fQJt}cr          9,P*. °]         fl}nSI J-t -7J- 4-tj 'flA1(GSM}Sfl'
         -e--Ei SDI t}®®] '                     A}-'           1)t           $flA-jo]]             ]tB     -J4



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          7A P&UUjrJ        MIS
        4-ui±2iJ Capa Control
       E 'O5.9 Top OlJR 3ijtf Capa Control                                          Fi          2IL
      4. 3ijtl:   U                  ftj
       E 3t LI2I                     lXF(Chairrnan)                             'OSt SDI->06'4 CFI
       E Ul                   ,F9±                   1]/)               AIOIIJcI        )I or
       E ±F 4 ¶)IUIJ
              UIi               tQFI9J           4         7j       F(*J±)                 2j                (±- ?]Ì493SL 3223)
      o SDI                ELaF2] 7I?+                     6F     AOCJF OPTVx2OK2I                              6F)IE tFLFfl W
           LE.    0I            SDl01J71F            OI1                      ?iQlLI-. SDIS LPD7F SEC
           CPTFJF SECOlI LflI M/S                                           OIb ?12 AOC2}94 AE                             itI SE1-tE
           CElL XH2±tECE. CPTF2} LPD                                2           01011    L1160   1E1     SIAF7F 2ffl 4LF.
      III. amflLifl
       ii       II n 00          E



      o {LFD)2I               0IJ1JI0I     CDT                   0J 5/E0JJ }J SEF                             0flÍtE2CF.
      V. )IEF
      o SDI                                Efl CRI 'aU±                         itI                  ?iOlCF. (±- i3-18&t, 2722)

       t26-1) Ql           IJE af&JPJ  JAF2F2I OF7Iaf CDT CFXE12I      7I2IILICF. Ql .]2]
      ØHM         i2F°fl L1Ik fufl     JJfAf?j0fl 0-i2fl eLJfl7lJF             tSLICF.                          2])I
      ?ixl, tiSDI      0I LFD9-F JAE7F X17F   AOCOflJII CDT        ticti VClfl UILFtLI
      CE. 2ELlL LPD7F         i7E01l EHI,ç=s
                                           men-,I
                                               =ji3n           ol tixF01l [,]aj    ufl
      O°S 's"
      7ra  UIfl 7719                        AOCQfl C-H1                                  EtFkCF2                            JAJF Ql
                  iEj
                                                                           °M

      9j            ])F VCFn iSDl t)E7FthIll fl2lEf, XUEI     tl )1F7l ?-Lk
         ol!SLIC. SfFS o t-AMX1FQ1l
                            L- 00 L- rflj CDT J°ll £7lJ 4 &SLICF....EEL i
             ypg      fa9J 1lUl LU! XE )li                   UI2 LFD Efl
          LFDJF 2QQ6                  5W)Fl                        QflQI                t2i Lrfl±H     7flJtFI 2CEIL        fl,       SDI
             SDIJF                   P)FXl tE          m oc'94.fl7CF Li±                fltE2 VLL2 'iSL1tE.
                                                                                                              (±'1-   IÌ1-1tt, 296)


      4) -SA}-


        71-) «E

270                   ø]       j ¶.W3fl]s]                      }AJîj              1O      °1-j                 71]SI CDT
          -flu 4ufl7fz, Afl çk*7, A]cJ.5i7J                                                             "Pfl** fl ** t1
       su1, tP+tcf*      - A11A1 ¿n A}«O                                                               ltt
271                   Y}fl       ]-nfl
                                     }s]oflA-]        Ì-1 A}F.& Z                                                          oj


      4. CDT 'F1 31J4fl ..A}91 c.p}fl -A114 t1S]7jA} Jo]4
                                                                        - 151 -
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      Ù}r}.E .-A}fl-                      17}Ì .X]A1.- fl ]HÌ*                                 tj           fl4 f.J-
                                 A}                         7J2}      o]iÓ E             $flAp
      4.        1ffThM    tfl                                        4**

272              1d1, CDT                        1o11A1 A}* 4 A] }                             J2
      71A}        QJS1ZLf Ó].o]fl, -s17}Ö11 4f SA]- 5 x]A}. }71 tf711 z
      *           7P1*    8}I 71I$I WÛt7] CDT9] -î *                4fl7}-
            5   4ufl             AjÓ]       a]..a4 4Ufl7}Z j                                    4fl
      tu, i) 71t                 71O#I)                           ii) ÌM71-1 iii) Aj]--Af                  724]-
      iv) flM°]a .3iIti                                 7             ,    y) 7f       NÎISD%              vi) ---'-1$
      ±ji 3L7JJ4                            tF21, vii) ÓlZu k]7P4 *1 tJ-2 --Ó] flÖ14                                  Th
      4111fl si1.nfl717 jL                         JI7Jt}O IZ1ÌC]]7fl -!j'« -- 1A}* tf                                 tLX1

      'k 7]-7fl o-                                      °fl.E       j144.
       d1O)      i JF0fl LHH                      EaIj, )F4'Jt0fl LIIt                  t2i,     P1JF(minimum, floor,
      bottom nrce)OU LH± J2J)E VVSLIE-F. EEt 3H                                      20fl LH?J      oHJp     2jE
      LII   6L0 IZWOfl Lflf   R(primary)                             FOI X1I2±i          MI yofl Lfl           J2lE VV
      -2, 6L11 22L01I21l X1I2(secondary)              NF0I J1l?±i R'1Ii 7F01I :Fit
      ¶V201, 6rH           UF             ±.flZOfl flE[ 7F2I ¶01011 [H!k I24E VVLIL4.
      CDT 'F             9)OA1            )V'°1"-
                                            1 L- O J2O7        .JAf  !t         )F AI
      W n0M fl )P°I                   1   L-- O Ufl7        0fl   LI]8IAj     CO-              tfVSLILF.
                                                                                                        (±?Ì il-itt)

273              Ö]37} 7-O}                            U)]7]-         7]      tfl--S           2IÖ1]A1 °17}
                  4I A°1                                     S'14Ì'1fl ci1at}              pi         z}        opì
      ¿]                   -Ö}-7]-P1            J}J 4 A]-7}                               )JoflA1       IUI-       fl P-
      7J}O1            .A}9I          j-uflö] *7}t* 74 ]irjSi tB--ÖÌ                                    4. CDT E-1
       }oflA]      u       4 4s AflJ, -ufl, 1]5i                                   i-S] t'7J        -rj-    K.. vj-O-}
            t-1]             ,              iiJj1 rUF                          t7        ]7RFiSi *t} *2                    J




274                      o] A]-J                         a7]-e7lÌlkl sI]A]fl z                      AJ] c?i] 4
      *t9-°1] r]]sfl flti 1-i% 4** 4S LÂfl                                              J-cJ.O]] tt]A       *j2]7} o]

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      °4. -?--1, 144ÎIfl                                  tck+°fl           ]]-iL 711l* fl flÙ}
            ,   4J-tJ- fl1*                       tM°I             tV*°1           9JtFt                S]S]
            Ó] flQ4 4A]1]                         A}4Jfl          1-li @fl ]A} -W-fl W}]-
                                                                   o]

                     % AZJØ        7j5Jf8}1A               4'ùffl W}%L £t1-, 5']-J--& 7L-t
        -        ]-2].1 aoJy]- 4-fl                    SUI 4-'1i*°] ±S-lS71 W1I«i 4 47]- --*]-
      ZJAI]7fl           F?-]-ti* -w-*s.] fflGfl         cff ]t} J]* tf7]                       4       zj-   i]
      7* -W-W-2--ç- c?}3L                          ,   t-7]t- ¶--7}
       t1O)          ±Ofl LII1         I)F OI-01Q[1I,          iA1I7II   CDT            Ofl1 ! CDT )FtFf
      M7I   -?ItFOI noii -L- -           n2S
                               -, klth o bzl
                                         7   o 1tHJLi[4
                                                  ci                                     I!AFg °HI
      EF71ifl 2J ?j0fl 2]jAFOfl                   aaJn
                                              i2iO1iM                          SE'-          tFSLIEF. £EJ,
      CDT AIjOi              ±]XF ¿j- iA2j jAi7fl CDT 00 II AAL OL_
                             F                                  AH/4EF2i 7F5U LflB
      )I_          i2itFSLILI AHAaS
                              OLO     '8F)I
                                      C       I2?J OiW 7Ft2ISI 4 Xfl          A1iAF
      gjot         tOitF52      4 J2iOlOW 4AJ6F;i)F §OitFJcI B2k7I [EH]LIEF. fti
       ?         tt2iSi 4°W-           2iF7I MI] = J'Lu1°
                                                     I e C ftJ2]  9J                       §flt IAFQfl EFaF
      04         ÌJ 7t     SEO4, Ej-Pi 24±JjOj- ?±A8EJ).E tj--LEf.                            (±* 'Ml-JSt)


275                          I]4jÓ}%S.. n n* ]lMl qltl-ol CDT Apnfl-                                      i1z

       I-iè          ** fl1-2ItF 4-°l 91tL 4 4       *4* flû]-i}]
       ]AJJ% A47l4 5          --W-i 9JÓIAI P* - *JÓ] 4zf7]              A]J
        ** fli5a ¶a]fl4. CDT A]fl**-fr ra-Û]-?] #]s]-o] sr-]oj          olz-1

      7l?Ft z]- 4a] -ufl 4Aofl 7]t]-o1 A]fl*êÖfl Ja]t]-ii n ]a]A]P]-t]-
       Mèi 7]t]-o4 tJ-2]4- o]o- Z7Ûf9cf rfla] a]c9]À tJ2]'So]
      Àt-]         ¶a]I i**-4 o] viÌl7} °W°1d
                          ]SUz.                   iil- c]-4                                                        -


       j- f*** 7Jtf -ia] gj o}--oj4 ¶a]A]t'}cf 1 ?IR%°fl 7ÌH
        **rfl 4uflY]- Ö1Ó-]4z] fl 1-%i4i                                it7]
                                                       t]-31 -N-fl*** 4?z
                 tNS- A]7a-fl M1 t44 ¶]4fl O]t}7] 4]s]             Û]-5


        t1O) nain AiVWO U]ßI]ÁIE i2ÌtFL1i, iA1i21i CDT AiJ-Oil  J4
               '2
                2c1O4 J7HI31 flnflO0         fl            J9jtkn ai]      I2I[EHDFLF      Z!mUlm     )4--
                                                                                                       o2 M21
                                                                                                           oo
       tfLJEf.                                                                              (±- il-itt)

           j] o]                  fl     -a}% JIYJ            j-ufl             fl tJ-a]a] o]ofl*4sf
      i A}45]t]l                    °-- iL7M.                  t-u-4, 2} W---A}*                    4z]-9] 4u]I

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      'i*** ¶*2.-                                    1t '**Í. VHI7} °L-°1P1 fl* '-î-
      ooÓ
      -n-fl                          u 'd*               ÓI           A}--tfl. 0m                       jL}       oefl ltM
      *tF           J-]2-      SL            ** fl              '} -fl
      -1* v-fl *, 4 +                           jizfl rMtB 4- 4J21}                                         *t            o}i

                      jc} cj 4-ja                      5L7Jó]] c]S]] t1-            A}7]-               7f *-4
      + o] A]--& 1-j1                       eèó] 7J±S}E.          7J-A]tl-7]7]- *°]t]-L3i, Y}                                   oflA

                  iH* A}4}O 7A}0fl7                       B*                     '-SI*            -S-            4Lt4I n
      * ¶-QIAFtJ-0]            rì              -,-

           t16)   F2IAFJ       OjJtF7i &i-fl VEF                 oI
                                                                     = j?j'J
                                                                        r    QJAF& flPj               J2IAF
                                                                           A. oir''- Aloi .1L74X1 Ui-
                                        [4           4A[Ofl7H 1fltfl       m A&-r= -i--i o-,-, aEi      UF»
      E fl LI L4,
      rt28) 'Penalty: ®Other 2 companies wHI attack trouble makers major customers.'g
                        °}fl = Mofl7fl
              OiÇt)-2ciLi__    -,          )E                         jpj           tr         ©21 Lg '2jo
                   g )F       i12!jOflJfl XIIAIUFO4 J2l     X52 ?       AF2I  cfl2!joil
      7fl LD47q             AF7F W     2F      2llAltFO                 Y!!O12          UFXF'                LI1@JLICF.
                                                                                                               (±I- .112-Lt*)


277               o]-'js] 1]*S-E'Ì 31½]îi                      CDT 5'ffl                  :]s1o1IA-1           Afl]-4 ti*1
           .   -t}7 -91Ù11 4cJrF             -1tN* A]-4t]-7]4, V                             tfl A]4 P]-edt]-m
      Wi- ±* t-                       l4.




278               ] a 7]-.     A* flaÌ] .- 1, 0] A}2J         o]Aj-.s] 7]?i*î}                         1O

                  -W 1] ]k-I-2--. 7]5             ]]- oo4 '-t 1I- --
                                                          ]-


      1]
               1-19J°1 tJ-Ê]tJ- A}SJ-. 4* 4ì]o]A]     c7} X7t2,
      t4}'] #V} A1Ij0I i7]7]E t]-%t]- u                                                    1-1              ]-7]-4--s   tifi-°14
      t7I4AOM 9]}                   o] A]-zj flÙfl iI-j%o] ufl                      '}fl ].soflA1 4Aio]
                        71Ìt]-Ji 4                   t4-E] -tOjJ-                 FÎ1                  A}O          J4.


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      L



                       *V14fl fl                 *(2006. 4. 1.       * 7492fl 7fl171 Pi 'À)
           2&      2 (Th-91°fl              34*) o] i&               1A1            fl1?1-2a     UI'M n
      * u]]                        -Q-f4.c-a+F             2004. 12. 31>


           19     (-         *-WVJ4S]        1) QA}Q2                             7JE} ojjj                      4
                                   flÙ]-'fl 7* 1ti} 4* 411 1°i1 flt}è fl                                         'À

      *          ](o]t} '          fl"f $4)t}]4 c A}4 °ft
      A1        Ö}1I4
           7FT1* fl*1                                fl1
           (1    I')

      a -nEI Afl.*                +4         1          ft}o]4 *           711* z11t}t}   t

  r4       #1Àa        k±




279                    fl19& ifl]-S1 WI flt9R71- 'flt}7] 4t]]A1, A]-47]-                                  1119

           1]11 4 IflI 1M U]°11              11}        4e 44$                                 If 11ti-
                             S]-51 Ö]?4aj         17f      d-t}iÌI        *.4t1-ÛHI°t c}4. o]sj ìLfl
                            -]o    o]-of                             j]jx   ni          4Ö2ZZ O] 1j

           *tF4.




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280                       -tktE        fl7}                                            7]E]- o]trJ-
                                                                                         tj-j fltfl
                                                                   71]


                                       ugfl t}7]. t}- t]7f S1°16 4
         7]      4-]tj     S]          7]'},   fl z tA]z JS]PJ Ö-L]4 A}47J] OJ$ z-
         -è %AZ J-]                        fl4 -% flÙUÌOfl 91Ö1A19 -2 A}'Z}7j9I                                          A]-


            1 * ¿]n]u}                    4OA-] IA]Zj9J J]J o}1]E]- -A]a1Qj JÌ]                                  -
                                                                                                                     fl
         si fl°11 n                     'J-?-.E flj-c]-39)


28!                             fl19       1-I dìifl}                     A]-Q47]- 4.. A1-QJ4$                           Od


                tE 71*OO]]A1                J* -1Az12. 18F                 Th&         4 ¿tSI lì         HF.U]
        * - n -sin-ì Aas}e. 7ÂÖLa                                        J-sofl rEfe    t#]*                             *
                                3Ö] Ö1t                    tJS A}Q7]- ME'}                  -siOfl

         ó}      ZJ9]Ö}         2IAA]O]1        S]81-01

                                    A}'4 4 A}Q47]- tJs]- +
                                                          J-9% 7-9-43L t]-t]4.           4. 4}                       Cfl
        A]-z}7}           J2IÖ ta                                   '
        4°Ì i]}L fl 3Ì°1}- fl ÓÌ*ÙJÓ4] V* 48r]-    t7]- ]2=
        -è P7fA1O]E. L-tJ fltfl{9}    fl7]-    tfi - o]u #LI-
        z            tJ5fl. O]W]S)-       i]-o]4        Qflc9 %ctt]-. R A}c4- A}Ó]oJ]A1 o]
                                                             Ü1-



                °I                &i-51, °d--4 A}4- A}O]o]]Pj- o].ØI7Ì 74O]]     no] 7z!j fl
                                  37}5] tj- !-TJ«j flÙ7}           frj4jj. o]-ot   4°14              -




282                      t}, A}'flO] 1* *1]F- *1                              t-         tfl: 7-JS. 77
                     *1 2i-9I -* t]-7}                             tfA-], n                    Tfl --ofl             $
        ;fl} 7]fl fl1-Jz,                   ;                                            1i* 7}Z]7]. s
          I      7]+P<-1îi -?iM EI ¶91* t}Ji 0]d]] tE}4 4                                   D}           31FYOflA1 i

        i 'd1 fli* 7f1JiL .MZ1Î1 7R4I         -W-4 4J- -s  zK-t]-o] ê
        n
        °d%]
                 fl  tJS.]2] M1ct1   *°]4 LAâofl        Ó] 9Jt}E n-*--è
                       fla1í-- Û]-421 -fl tfl. *°i *'-uHL          7HWY1
                                 nD]]   7]F               7]- S1%t« 74 -'-i- wg#]]- *F & n
        -3Ja]7]- S1i                      o}t]4 n         -S.o1] 71e      P-9} t.e '--& siien
      Af%-311        2W1. ia 11. 1131 2WO16830 i}4 4}
      t]1fl 1999. a n 1131 98k-15849 v}'A fl

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           o1441)



                                          fl J-2                t}3i fl             JA] 4 7P-4fl* 1*°4 &
                                                 'Ófl   J-t]-        &].1 7]-2 flA]            7]3Jø)     nj- ¿tÓ]Aj 71-'-1

          fl* 7fiÙ]-ÌL     1flJ fo] 9J  4   -                                            Jö]      7]Z1Ó      Ó*J. A]7]
          u]-4 0].Ó1Z], 4 7}ZVfl1A1 7}1Jfl                                           SJ a7} °J597, 4 7}7J
          fl---- Î1J 147]- }1 fl°] fl uf14z1                                             S-1       ]Ì-] nIAI
          akJ 7}-4 7]fl. "Bn fl4 v]fl                                             -°1 tnE          .a±--o1442)


           (2) 'l       1I19        xfl1J 111°]] s'-t]-                   Ù4J] c-

284                          'B19         1flf ilJtol]AI ¶-flf                   "7f74                  E-     7dù]-

          #1"4 te A}47]- 4.- A}4- fl                                             flo]4 %] 7]-7               '»*i
                                                                                                               fl
                                                                                                                               .


                    fl]-        -î1* 1-.}4. 017]AI                 l-]t '7}7'o]k A}47} *]}-tF
          %1 rfl7]-,                A}}7}               IS1                                               fls] 71iz       o]

          1* 7]-]                3Ó             ifl]] ..-%o]4 *I !, IN*                                 t?] -ofl t]o]
          7I1t1 'è1Ìih]                     £ *-I tfl7]ÀI A}'4ofl                                            ]]-oo         }
            3OUI fl Tao]]                       9LOÓ1            o1 'B 41*               -] 7]-°]I Th!FI443)

285                   o]            '7f            S'diA-I °JS}            7fz      j-SA] 77} o].0Iz]                  l*7]-
                                                 on n$ 7-.& ã]*I 7* ZÜ]-
          *7}'*                                 S-ti- a±*           'dP=-             M-t]-.- ?siAI 1*71*&
               57}7. fl7]-, 71e7]-z, tln                                  2J77]-2   ç. tjoqti-.. flF4)
zas                   20}-'J-S1 A1-'z1-7]-              ;zfl19:     fl1     411 flt]            Ù4- t]-         9,1


            fl J- A4ç.ÖJ -w'is                                            tJoJ ç.fl Ìt7M7Ì--4* 3S]-- 4
          w1j o, ç-j . *'fti- 41*1 tfll-01                                                        7]1,
      t}]tfl4 2006. a 2t «a. 20D4-112Th n %c?:
      "1*a.*          2038. 8. 20. «31 2CO7-2939 fl
      r     2031. 5. &       5L 2W3-102l2         fl
               2.   6. 14.   i5i 2XW-89C5 fl Áj45L%fl 2003. lOE JOE 4Lil 2y-ll8O fl fl

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      421 % 7}21V1 71* 7jÙ]                        tfll, 7}2j1>j-. Qjt]-*(%)*                                           t
      t i*                -   7             AJJ tfl n o]4
           tJ-tj4(A1*3i*i4 2007. 1. 17. «31 200417060                                       ).
                                                                                                fl
                                                                                                 fi, 77].Ó]nE]-9J]]
                                                                                                                        n
                                                                                                                                    $

            fl2                   ].S. '    1I19          11F ill ±-Q]                   -'ff     fl°11 tflitH5)
27                uJ-t] #J 2. 1. 7LJ                               AJ-- '-4- uJ-91- *°], 0] A]-Z3 '141îJ-
      CDTSI         171421, 71-2440]S4t1, 4i421.Ç,                                        '}zs1      ?j-'j-         9j81-!-, AH-A}
      oJ}        421}         *                               z]ofl      *x1- 42111*, :iiz                              -]rk4,
      71J' I-71A]                                                         Ì*] i9Itf%ofl.                             ;fl19    ]I1

                   ¶Öfl 1!} 7}21* À1 *1                                             t}           s'ö)] tflcf
       (3)          1i9           i}iqt .1}3to1j         sUfl}          P1iz] cr-

                   13
                         i19            1]14J       3t0flA-]                    ")j%] AÀ)..*31.t*                            7111
            -o]4                    9              j]-        t"4            -S- 4Oj71- A1c]i 4 '-A}4fl4                     AAjr
      o]4         -uÌ]fl 0J                              A11fl714              tE                 4Th*).À1 7F211 *
                   1J4-*          £R1 31* fl4. A1*** A]-jÖ]]                                                          'dt     +°IÌ
            L1          «ivD** *718}71 4S]]                                  44] fl 4uö]
          fl ]]t                        c?o]]            Ón           fl-s] AJAJ. t-ii £                  711*       1fl       D1
     i fl14A
                              i  »4A}-* '.*- f$ jj
                                    a 1. 71-M                                                         j                 t.   t. t!
     A1]        CDT t?A91 7J±A1]0fl fl 32}J4 tÌ1±fl                                                       71-7t1-             ù1-n
     z]-        ]-ii. 01*            t1] CDTAPfl***                                      14 317J]                    4vfl***
     fl}7]. tJ}31 01*                                    D}iL '11*** A4-Ö)] tJJ fl 7L -]
                        o oa. mÙ}7]
                              o-fl                        AAjo] A]'fl** t?&I] 41 iF +
           3j                      A]           7]-24,         ,    A]1]Ofl ¿]]-                 Ø1 4±1               44

45) t}J- 2O2 7. 12 * 2OW--1û3ii                          -&
45) tfl 2001. a a -'4ii 2000-10212 fl                                  20)1 11. 16. -j    996226 vj7

                                                                   - 158 -
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           R47 o]]s} A]3--.                                   I#1            119         11%'- Zfl3t] ¶Ofl sftf '-n
                      AJ               ]fÙ          UV1 tfl4. E$ i01                                 A/4 44                       Vj]     AgAÌ-ef

           cJ 7- -cj                          5 AJ4cfl              70             -SIÙ             AJW-ZJ-9             }%* *
                      7}-W-tVi*--   7JA]tf5i fl?L]fl                                                            îJu-          1*,

                          119& 11% 1310]] flJ4

                (4) t]-t-]-2 t*UI

290                         A4%O] flE fl-#1-] 71                                   JOJ] 51]-                -9]-. S]-5L                 o1.. -

                }2     4oflA] i;R1-i1Ì91                -9- 7IÌ*}°1 &              -?-            -L n.]}          tI0]1 N
                     ¶4           o]     J-7]7Jo11        o                              B    'a-     -?-°UE. n 4 *Ja]y 4cJ
           sJ S]Afo]} 7]t]-cxJ                  %JÇj-                        #F ?4--1 rJ-ó]                              Ö]       711*       -


                                       n z]- tJ-a]2.] j'71]Zi]9j t]-g-o]4            LA             --ö]    Ó
                                                                                                                        7Ø] 9)4J1
                                                                                                                                             fl
                1o]

                                 !-          A}-3              f n$                                 S2      JflZÖ             17f]
                     ntJn *0] Art]tHrn
291                          i a 7f] tfl-A}fl --M]-- 1*9+ 4°], C'] A]-zJ                                                      flUI               7]

                                       Y91- 7fl]S]-3i -7P1?J                                               ìfl-4-                            4*
                                  k9-1-- 7IÌ*H1               -&    °] '-}ÎJ L 4*4 4& fl ii.3fl- tIM
           S]        flU]. îi4.)
292                          DM,        5I]AJ0L-e fl-Ui 714°]]               '1 CDT1 4u]7                              QJJ}J,
                       --tF t                  -])- £RS]-a.} tS1 01 $0]11 ]HThfl* flf
           7]        4]tj 3flJ A]-7**                                        4*1             t91t}. % CDT A]0j]Aj                            fl
47) t                2fl 5. & « 21O212 -4
482s92aLu2oJ73756w
49) 0] AfaÓflAI 19%'
      ta]47f             ]]9]ÓflA1 A41-
                           -&j
                                       11-
                                            flO]] t
                                                     pt 4}49]cJ]A-] 7]flf
                                                           fl4 3.uJ7f7. 'ft}42fl 7fs], AJ-
                                                                                             4it    fl      cl71        4     .


      'Jt4] tflj Ja]7} ó]öÖi o)]        t11*       -tU--N-  öIÇ         F3]91* *1
      èl2.1 **1 5*fl ll1- fl Ä+-* 1L fl
                                  ó]tj
                                                                              7]4Ó]]         71                    ,
                                                                                                                       rj-]   ]94ofl       ftJjÙf
      71              4          A}-    j7fA]5']71. -2]-Ö3q             VFfl I21* -fl71?F 714A]                         7f S1}                   °I]

      -1             1* n]t}c]
                                                                   - 159 -
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        7f°1I uf.g -fl PjL A}                                   *N}71 #]S I]ÖÛ.                    4$ O$
        '?UF71 #1Ù}o1             }fl      '1-1°fl    -°tt4.
2g3                       ,    '14HJ-& }--I 12IS1 *1*                           '71 ]}°1 t*                     7R}°II
                    vi-U°] Vo] J-]$                  fl *t}4.              01                      ]AJ21-&          7]-7

               jö]-tf A]J.7                    --4 Afl zJ-*o)]                  Ù}       °-]J] J9]9}           tJJo] o]

              -°It9-1, 5'}B          :]s].E.     Ö1A}-E} ti1z}, --4°fl °]]"F1 t*.?xl
                                10011ds1       14îi- i}     t7Izism. J]7 o].o1     r
              -]u                     i*12-. *i]
294                  !], '1A o] A}?i 5}fl 49] uB] 1-*a1,                                  a1]aj      tJs]tf3i %u]-
        .. 4oflì] t]-zo] °] 4J ]A}7ó                    4                                                S]OflA1    1-1
                                                      fl
                                                                                          -,

        ÇJfl 4 A}2] Afl. -uÌI-,                  7]-74 *01

        ;  o] tJs4A]SJ-Si °1°1rn, 7]4îft J9I J7}       *4                                             U}4. EEj-, À]]
        fl J17f-& ti                       47f'1* 7]S-            ÎJ                      *2---       5]7].        ii 01
        ;4 T-1F14 *]-7]. ]+- ti1 t}7].E t]-4 3                                                 o]j jS17}Z49] -AH
                          fl A]-           4 Yf                   fl 9]Afo]
295           na]51 A13** 'fl]E- 4 A} 1\E i-H 4A0]] 7ÌatH 4 A]-
             4 '**4 ME 4 4 71F4 flfl }cfl} flt3i u]]
        2I09]A*      Z}..0]] 7]Sf'1 o]] ti7F o]tg3i J]-- jS]-%tf. pj-
        4Zt] ÀJ.tf              -*L1- 3j]4jOj--Ó] 1*tF                 Sèo]]             fl 774tt A-- N
        ufi     ]IdIIA1       ]tÓ          AAJ        4fl* t]-iL                     01--         «i1 @D]A}-        4
        t]-oj                        zflj ;*;I-î.it     t?* 11*tl] -. A}O] f4

                     A31,      J1s]%7]- ZÏLAaSJ            ùg
                                                                  714°]]             I   '7L
        Uea rn_s. --ö] *-1!I                            50)     *4 JPd I                 o]    42d n-i- }t}s
50)   14Pt1 t LPD
      LPD71-
                          fl LG}2f WTh ì4f %*fl 147f ÓÇ]4 CRT A}--fl fltf°] &Ñj
                     1Ài 7fl4 -tj 3jÓ °1 473 flU &I PI %-14 %°1 LFD +-s-.       ].]ofl 4]-
      '4sH- * tN4] *fl fo]zf 4
                                                       - 160 -
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        fltÇ]ofl ]J4
        4)            ltP           1




297                   A}QZf-01 t*.2-- 71-*                       t}7I4               Ù]-     CTh n            -I    louAi
        7H4* 7J±)2M] n-s s]A]-ou]                                        o]          à,E 4fl.o] 71-11 'A'°1]
              J* u1]7]4                   -?-17}         -11]t    nEÌIt}1                     n} Zfl A}7}
        ¶*U               M-       A}O] V                           * dr              o]]    451)


                                        fltl- Ó})iÓ} A)- .-s]       -uflc}4 Pfl***                                      -


        u117]-249] *i4                   zf 4'4zJ- 7a Wi.- flflS
                                         -* ¶]tj
        A1ZO11A191  t c4ZÖJ,$117}7Ø] Ö»1-71O1 .2JÖfl 24Ù}c    7]-2f4
        i    -5]5i *1 4n               ofl  j4- .. fo] iJ452)

               A13jfl** A]ofl                             fl       +°Th         tI-1         Ai-*-&* *if1
        41s)] 4nfleèo] A]flfl to1]                     fl lfl ? 7$ ju. o].    toul

        ;.Ql 7f, t,A1t]0fl lE ft 4±À]]                                                                  oui        1=l*
        i óafaj A]3»3J** ¶1-?                          1ff1%S1 ASAd, *1!.
       .-Ai   AOouÌAl2l ft -lSS. flfÙF                                                      119     11% 131 ±'â
        a] Jfl Ù5o) tfl4.
            #ì a 7}fl] t54]A}.4 ur uf$ 4ó], IJJ-a] o] A]-2J flt54]
       4*$ 4 * 311            7J7]tj- fPJ $JA5/].. 4°i 1TF
                                            114]                                                              kà


            ofl           454)



      rÌ1d 2009. a a «- 2O3&218 i7A
      A1*1L       2004. 11. 24. 4j31 2CIJ33r-00 7jd

      4'- 2001. 5. a «n 20OD-10212 v}7
       -%Sfl. 'WF'(fl 2009. & 1Z                   714uU °tit 1711, W. flU1                   lfl Af)CI 2]Ù, 7R1, 1k
                                                                                              o] tJ    fl
      eeeu 4fltjo]4                     À17.S.72] n *- n '11?I      5*VI J-AA)q


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301                             o] A]-ZJ   -*t9W 7iflH s1- 1t1                                     y}sm- *
                    7]E]-   A}J-0]] &1              CDT] 7]-24% îi]ais                        *c1t]-z.     Pfl**
                                                       .fl fl]A] '7', 'AJ
                                                                                       PaJ-

                 AAJj Ç- fl tJsJt}o1                                                                 'A]fl       -i-o]

          117117}       7iJÖflA1 fltF °1-t'Il 4!- *Z1*                 o]---              .   tc9 fl14.
302                   -i, ']4]2i-°] 2OO2\)fl-EI CDT                    5J-o)]A-}      11 100%-- fltfn
              7tfl°1 ]fl4 431 9                             Ö]}      oflA1      -                  i41 CDT 7?
      Ö]4 Ajob              tth- A]fl *i'}fl-]                         * JZJÙ] UflAflA]7f                fr-aìf7} J-A

          i4-       o] 's]-4. IIRIQTh-.& CDT'PI                         '01 B- 2fA71- Ifl
      c       rzfi- A]7j-fta7f 4-]s1 7]-70] Ü}S]                    A]Ö)A1 '.Is]-- 7f*WE «fl11 &
          3ê ¡x]4jo]                   4           itF314         ]E.- 7}43i 1- 4r3E                 i4. 7F'-1.
              7}ZÍL         E        7}4J'e         4'±*                      o]-t]      7}Z}        tA11*Ö1Ì

                                                                                                     fl
                                                                                                                 W--W-


      ¿I J-?ttS'J 7°] j9t-]}
      '1? -W- fl]7}7 70Ì
              o]4
                                                     ì.     -4 7EWt°1 «*°] iL31
                                                             Z-]Ù1]t-4- 7]-7JJ -W--W-U]              fl
303                 -JÌ1, *]îi%°] 7312- 7tj-3]                                        71]SL 01 A}23 ¶fl]ofl
                                      tjù}yfl                 -?--J y)-fl]ì]A9                        o1 fltfl
                    4 A]         A         eu         A-J]-QJ i::7n1, 4A}1 mr o
                                                                                51 ÀfliLJè, 4A]-
                            4A}s              7f     J1tÌ1I %Ê]       A] o 11S-- "1°P1 t71I1
          4

      Ø         0J4y]                                   ni      îr          }fl oflA1 fl 7
      n }a- 3o] fl--                           A]           9JS. 4tfo10 tj-4                        Q4- 71*tf1A]
       Y1-- £*8F4. 01 ii}o11A1 it]4]Olfl fs]o] 4-!- &}'4Si ]A}
      SJ- O]S---- jZJt}31 01* 4jtF 1-} -îiU]tF 4-!- ]RÀA]-91 P--
      -& Ifl U], t1-d tlI*tfl.       -u}]fl 4*tEî     4-o] W-41
                4 ¶]4SJ- o]tJ4                      S}4.


      A 1-î- YF                                *1ÙF7I n                      '---- -7I        --     4
               ifl 3*                 4«, 1Ì4AL} 74A1 *°fl           11W, tfl]]' %sl aAÌ7l- 71°1
               fltjch
                                                        - 162 -
                Case 4:07-cv-05944-JST Document 2969-6 Filed 11/07/14 Page 81 of 88




sai                                           *#I
                                      1*-fl tt11A17i
                                 c] A}?:ì                P1 114 :F101
           CF *?i%°1 &z1v} CDT YE.1491         fev] 4UflYf, Alj--* fl, AÄ-
                         ¶-ì].- Jj- SJA}A]]7flAJ Afl,    fl, 7i,   7flW -A
           4-fl t1]-11 7flZ fl-o]] U1i o}t}cf

305                       .4A-},                      CDT )G)ÌÄf1 Vi-Ì]71-'-, AÄJe                  ;fl, A]fl-                -s
           'A9-& 7      AFn0] -Z}31°.   S}O6 -Ofl. iJ'j-o] fl.9-.. CDTS1
             FÌ]7}', AgÂJ%1 i- %* ¶1F°1 1} #1-M fl 11fl 1.7}
           a. CDT A]Of9] A}7-4      7J±A]Y171t}-                                         &]         7Jii}-.            S]-

              A1 -fi]                  fl
                          1c}th 4*°ii tfl1r}-.

           3)



                         '14]<J%-I CDT eu1171-zl                             119& z1111-            *flhIS.} ¶o]] 4}
                     fl *' W -ÌF*% fl#]
306

                                                                         21119& 1fl           3ts1 ¶ofl 4LPflJCE


      4.




       7F       A]             W 32f



397                .- u}$ *°1, '1-1i
                         A-}
                                                                    N CDT         U}A10flA1 7I1               100%      AlU
           *44 l-1Ù}a. 91--,                                     o] A}   fltI            A]7l-0j]                        ]tFI
           4W                  A4] '7} a4a. QJR.                                        W fl71H                    i         *56)
           i22       W    i55S13, 4'&                  A]t57) i9         W i61          z1114i-     H4 [Wa21,           4-
      2005,41. A]S             * 173151)    -] 18a(fl}
                                                  n 7j j4  ôjô
                                                                    U1            flU] fl }-sj *ô] U  'ô]     A]



            t
           Aj ô]         M fl'P-F ej
                     -°M ]tiCL'E}
           q]s] 4eff fl
                                  ¶s}. 91tL Et
                                            'o]
                                               2A.1.
                                                  C
                                                      Aj
                                                     A1t A1tfl(11g71) ff-
                                                           zjs] S.flÀ] e]   As3   jofl fl]7]4 o]
                                                                                                            14(fl
                                                                                                             A8 .ofl
                                                                                                                     fl      ôfAj



           ikI Uil rl]v} *-I 1--]] 9101Ai t*i                               ofl               ¶fl}3 91CL tj3j 01 A3
      flU 7]?Jê 19    11 Zì-2CC6. a 14.Ö1P t2°I1 1t] 3}                           -34     2005. 4. 1. Aba          17315fl
      7fl171 i1 31* flCL oit]. *
      2005. 4 1. tfl            118768fl 7Vtbi I1 3]* fl4. o]tf               L

                                                             - 163 -
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          -$ A-7                  %ö]]             31A]'58)(Ö]t]-          F#n-i'4 f4) ifi. 2. t]- (1)1 ¶'
        ofi
               .1tFo1 $fl $!EtL                tfl: 4]U191 ifl<1- tt} ]Vfl-&
                             3J]Çj.-ö] t111 CRTtÖ] ±tfct CDT         -9.t]x] ó]-t]
          ]-ii       5i Nz]]                    1°i        LQE        41tic]-.




308                   0] A}ZJ             -)fl. îì                              è P']1.2-- * ±& fl&
        * 2lI] -?]-*(CDT)0]4.                                        *]]        tJ-.Q]r]-'-Ö].5J 14i], 15'i-j, 17'iì], 19
         i] i]** 4fl-9-. 1fl4.

              (2)         }tflJ.1 A]7] ial     co      I




309                   ']']îJ -%            SDI$ SY]QJ                           j-, u]4J9j     }CJ flo]A]o]-60) sx]4J
        tfl -+]                            -î-, ''l   ''RI flD]c1 A]7]                       1996. 11. 23.. 4. 4S. i-
        ÀJ-A        SDL     14J          -Aâ   SDI$ 3j]AÓ1                      }cj, 31]4jQJ        }fl   ar_-fl-
               4 42.] flÓIA}7f JA                           ]314]           CDT                9]    7f]       CDT 4z}]
        9]] fl$ AJ±O1 AJ          4]$ J-      fl flt]-si, AA
        7J, 4u1Jf jt]-4,  CRT A}4-    -c18FE4     flu]-7]. k9IÛ]-
         iL   o]4 1O °] CDT y}flo] *51s. 1-      4f- SDI$ 1AJO)
        t*fl                 AJO]        Ù}.tsz-           o]A]o]-         ']        t}-             +'} Thi- -%

58) -:--- 7. 1& ¶V14I-V1                 A1 i-15i --ã] i2i S1u Th 4. 1                         ]E]4-] i.A] 14-7fl *t}]-     -




      $'Aiv1 Ill, a                     ¶ofl             43ofl t4]t}                   -12- 4*
60) tA14 5)                       14)


                                                               - 164 -
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                      ?Â* t]-1cF            îi 1996. 11. 23.4 o] A3                   fltD]] A]7].          .c]-



 310                    £I]4J11 LPD2I              -?- 2001. 6. 30.-& o] A}j                 -Ù.]] A]7
           .- u}$ 2J-o], LPD                LG34                           j4s] CRT A}-4 fl-zL. ]-1
           A}J LPD                  ofl SM 2001. 6. 11. fl]si, LPD- LGj4-E] 4ê sfi 6.
       30,                               1. 44 CRTA}-%4 °flt, - 4
                                            ThS-          7.                                                                    }




                  .   2001. 7. 24. CDT E-1 1SM %S-4  A}j LGi4$ flrf4
           .-EI cfl)j tA                         9J31A±t fl±S                         £]A}7j- 01 A}         *-#]0fl 7
           t]] -& 2001. 4. 19.               2001. 6. 27. 4zD.fIS]                    -I4$             4]]]          A,A1-a}-01

       t± I-                A]-Ofl t]]t]] 2001. 7. 24                                  S1OLE rd$ %14f 4i
           7fO]C4          «d                H1 tvf*z1 *-1                               fl°1 11*-01 n i$7 W-
                        fl 3L                      -r nin îi 'iIIt}                           S]              }S]         Aö]
           Qj5]a.                    ÇJ9j 2001. 6. 30.-fr #JTh]] 7flA]                             .-r]-.


 311               aLLflj --tzf tAci ijo]4 fl o]e tJs]7f i o]4j 4f
       z] viII l fl s]u]t, ¶17]-   o]-j 4'Ù} Q-ifl ]4      o]f4$ jqf4
           o]]    71t]]zJ &jo]4 7]t1-O] 9)t                       3.        230       fl-5]?]4 7Ìci0] *flE 7j4
             .    t@t11 A]-z]-7]-     -]s]z14, r-A}4 A].0]ö]]       Js].- $7Ù}7]. Çi 4,                               -- A}'
       4%o] ¶I-s]o]] S]t].cz                 c-'jtj 7]-744 ti-A] 4i1IEfl. i-%it    - L]°fl                                   W-         -




       .              qJ. Fo.Àk]             ]
                                                 o]-'J 'kg-17]- *z]]. %4iL QJfl]-7] Oj                             A]-O] 9
                 ---°1 0111 fftì.tJcf                -    4oJrf 61)



312                             01 ARI tfl#]-] t7]                           2006. a 14... .4 zfl i- o]4                   ]-

                 %o] Àflfl UI-4 7f?a4- t7I4AIF                                    ,   -i *#7}
                                                                                       o]-'j- e#t
                      °l-7]- *ci                 , 514Iî.I tflFSI t]]K0]A]-7]- V]-$ ]-z]1- CDT ti-                                  -




       z}s]}n 4Sci                      ,    2006. a 14. P}z]t               1s]o1Al     In--ê- t- ci- -wì -
            J-3I]]          A.AJ?L.J               -4       s]f        ,   CDT A]-s7} -cfl *±1u.                       -c
       fo] A1-0                     --4-&]               ]o-]   ]-jQJ%S] o] AJ-z          fl-t               o]-J         53.

.61) ÀI*a 2W4. lt 24. «Jfl- 2W3T-)OO F4 %

                                                                - 165 -
                 Case 4:07-cv-05944-JST Document 2969-6 Filed 11/07/14 Page 84 of 88




            S1tf31 QJfl}7] G1F. A}Ó1 °Mt                         p   o       .iLI8}ol 01 A}      flÙ1-îl21 *Y1
        2006. 3. 14... ..t1-.


                (3)   jjufl

315                                                 A]-Q47} #l'&714             Of    0»$         6JzoÌ]A   4u1I8           4J-


        t4                           1]*    E       oli                    '* 21 lF1*.6       }}A1, Af      SDI, t*
        tesl                                1996. 11. 23.-2006. 3. 14.z}1, LPDS1              %I*i4 2001. 6.
        30.-2006. 3. 14.4121 ½j%°l CDT4W*                                                '?*}7I4         -i1lofl 4nflÙl-

        fl2-. FrI-.i-, 14", 15"CDTiWS- fl#I-1 d7kf°fl                                                 L10tfl-ti               .


                21Va+, 17"CDT%                       1998. 7. 31. 5Jfl           JsJ-E), 19"CDT*19 1999. 1.
        18.            121-el fl E11'ì  .-2- 17"                                            19"CDTn-a- 01              A1


            -1 2006. 3. 14.41 itH 41% CDTI*9] -l*                                            1lti.9-.       Fr+.


        'iì e-,i i.o
            r-1-r'rr
            i




                       $iLA] IV. 1.                                       ¶>i 21tF.,            s9s}                   7E.
        t'4! $7]44 7t]-.4                             (1). (7H)21
314

                                                          t]3i                        1U121 t       *F1         4
                          1V. 2.    tf. (1) e        [n3Jdil af}                            3.0.1G4)o1a. -tiU'*7F
        22   °1tj 7- u}]-7- tiff fMi 11C1 -471*& 35%.5%ó]Cf
        tfPj o] AJ fl7Rit CDT A7Y21                 &                                                              ,   i


            121 tflflb] 2004. 4- 3!}iLA] A1tzj21 UII                                          CDTA]21         -71-
                      í            4°1] U            Aà   1}* kft}7] litE                %*     11}°4 -f71fl
      Altfl 9}12I -') 1W
      a!P3i.M w. i. E (1) flt flu
      (7}) 4t°I 3# trPâl 'tE --47F**                                           71-c.*'ft* 4ftt
                              tH1                                        3.5 - 5.0%

      4%- 4A %*                           41'&U1 trPâ flofl f} ì]4] w. a 4 (1)    [fl3] -1-
      ZFA
            nu 4-tf1°I]                      o] A                fl
                                                         OE5(1t)x3(-7ft: -)=L5, WHP E
                  t )'Pfl**: 0.2(UIt)x3(ff-7}t2D=0.6I, *±t41 flt$: OE3(U1t)x3(-7}+:4j-)-0.9Ój
      a tI1*c? kl                  1.M+OE6fl9=3S-. a2J ÓAJÖ. v1-Ç-                     -îIU°fl zfl}rE
                                                            - 166 -
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           3.5%* aj4tjt}-


        t]-) 7]*fl

315             -47]flofl            1'îi 7]-$fl 0H11 <a 28>1 11*']- z-tf

      <a 28>



          4--â SDI                   2,079,129,417,703        3.5%                72,769,529,619
            ti (LPD)                  621,349,000,000         3.5%                21,747,215,000
                               TWD 6,039,799,493                              TWD 211,392,982
                                                              3.5%
                                     (232,592,678,475)                           (8,140,743,746)
                                     TWD 89,488,243                             TWD 3,132,088
      fl]--J- no]ì]o]-                 (3,446,192,237)
                                                              3.5%
                                                                                   (120,616,728)

      tF%                            TWD 79,677,374
                                       (3,068,375,672)
                                                              3.5%
                                                                                TWD 2,788,708
                                                                                   (107,393,148)
                                     2,939,585,664,087         -                 102,885,498,241

                 * t-FF 3A} N*             -}°1n1rnvD)* 7Fes-.. -1l LN(2011.1.26) ii
                                              «H1flG TWn=3a5Fii)* zj4t}o -14fl a-fl

        +) si-1          F'd--2I 4

516            'l4iîJfl                    flA]-*7}           7L-$1fl ¿]-7                     --S.


       u}) 0JÌ]Zfl            AJ7



317              (1)   -îi      o]    A}      fl-#1i 0]A]-             .   °1-J-°1] tfl1fl]- jj4]0j
         i°I 8HIUI°1] Z}      %°lj- Â]--0}                           i-aN W. 3. 46ofl i4]- s]
65) $2)1 w. 3. +. 7Af* ui-W
  (5)  A}Z}S] Öi4   2 Oi4tGfl U--}            i-?1 °J-1d°I   suoi z]         -î-: ÎcOSÌ loolt.11

                                                  - 167 -
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                                     n-ì 10%             71-fl4.

318                            (2)   l41° tflL 1114111 fl]-                                    Ö]A1Ö}    114111       t:.}cj   fl4
                    2008i9+ 2009kE, LPD66Y- 2007$ 20081d                                             11*-.2-.-       71°1'1°] Z
             4o]                *î- Jii*] 1V. 3. (4). (8). (4)67)011 tE}?f ]-1                                     *]-4 20%t
             4s5-4               .t]AJo]i     Ö]7        fl}--& offl <a                         29>9+ 44.


       <A 29>                                                OJ
                                                                         &--14fl



              411 SDI                       72,769,529,619           10%                       7,276,952,961         80,046,482,580

                    LFD                     21,747,215,000           A 10                    a 2,174,721,500         19,572,493,500
                    -                   TWD 2l1,2,                       . 10
                                                                                         TWD 2l,l39,8              TWD 19J,3,4
                                            (8,140,743,746)                              (a 814,074,374)            (7,326,669,372)
                                        TWD 3,132,088                                     TWD 313,208              TWD 2,818,880
             °JiI ô] A] o]-
                                                                     AlO
                                             (120,616,728)                                (A 12,061,672)              (108,555,056)
                                        TWD 2,788,708                                     TWD 278,870                TWD      Y?,&38
                        z. 0                                         Alo
                                             (107,393,148)                                (a 10,739,314)               (96,653,834)
                   ¶ 711                                                 -                                          107,150,854,342
             u]-)                           'A'@



gig                      (1) S1]419j         J1t]t4(LPD)68)         2009. 6. 8. CRT A}'-V-fl fl11i eHil t]
              r-M o] ? 11 L] z n] E] E(Merdian Solar & Display Co. Ltd3°1] 711 °c}.Etl-3L 2009. 12.
             10.                       4]J           z}jo] 15f-4o)] *$u}.. 4.y]- 3j o]41.9j
                           tfl, 7jap               i11-%-* Td-fl                o]      4ii 11Wa. 4* z1]Ft]

      (6) 7]tf 41(1) qf              (5)2 A}1 tù1-        Af--7f         7-'- : 12] lo ói4
       LPD-             O9'd ORT ÄH$ RF* Ot}                         Affl            q1Ù}.          öf   29d      AfQflA17}
       2W7d$ O8S1 «J71e°Ì'1 71-&- flflcf.
       $%-aA1 W. 3. cf. (8)
      (7f)     -7Ìeo11o1 74J 7g-q-: 1W                            boNi
      (4) Ìe 2'd oj4f vleolQloI *14Qi                          +: 1W-1 2001111
      2SIAI-?J          LFD -t(Li]-s                i)    rf}4t}                2Aj74jf7f jtÓ1c}

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520            (2)J2JF' SDT»IIAI1 }        3I]AJ    fÓj O]ÓL 5I]Ar]Cj
                       ¶fti CDTAPèI1Àf] fl     7t"1] 4 Acj9] F70
          .. +1°l °4*I *i2 3-4'di-
                                  jzOl iL
                                                 t7]4Ó1Q]Ól A}J         -
                                                                               lt
          t-Ö    Zfl.-  $71 37j                      fl71- 4 (jf)0J . A]
          tflfu 9J                 tjtJ] A]7J.-'j'7fl] 7AJ Ó--                              4$ ;7]i AJ7Jfi7} 9)
          t-
          t-                Lfi2]A]             E        Fl 7i$j A}7a                 1&1            fl}t}
                                  fl
                  ,     .                                                                                       CDTA1
            o] ¿11                                                                        .-$ùf      ó]       1] }t
          tf4.n Qjo-] 4fl                                .À]   w. 4. 7f. (2).a] ¶Ö11 44 #1           AÖo] cflt}
          oJ9]a                $zfloflA1 70%* ft}4. 4v, 4                                 iH IV. 4. L] ¶1 4
          4           j-?j P]jS]                         A}tj-t]     I]AÖ]          f$fl óf      <a 30>$

      <a 30>

                                      ÖJ   a]
                                                               4fl      .-4i!].
                                                                                           *fl
                                                                                          3p.         31d I4*1
          4]--    Sf1            80,046,482                     70       24,013,944    276,998,000 5,539,965,000
               LFD               19,572,493                    loo             O       42,371,000         847,437,000
                                                                         2,198,000
                                 7,326,669
                             (Dl33,4)                           70    (TW7,076,1c5)    110,111,000    2,202,227,000

                          108,555                                         32,566
          1] ô] A] o]- (TWD2,818,880)                           70
                                                                       (TWD845,664)
                                                                                       19,981,000         399,636,000
                                   96,653                                 28,996
               o                                                70                     34,472,000     689,442,000
           m-i-m               (TWD 2,,ß38)                            (TWD752,951)
      *        o1e(TVD). 1TWD=3&5it9_.




521                     AJO1               1    2. 7f.                  Afl19& 11%     it l3tl ¶o]] 91i
                            4-                  fl°Ìl tFoth.             l22         ¶*    1*tH11    *3!f      ö]   s]
          Ùj4.



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WE&ft2[L&     fd*    [o   tigc[

                           PiTTOZ   -E    OT




                           &




                                - OLr -
